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                        2023-1750

  United States Court of Appeals
      for the Federal Circuit

       AVAGO TECHNOLOGIES INTERNATIONAL
               SALES PTE. LIMITED,

                                                Appellant,

                           – v. –

                      NETFLIX, INC.,

                                                Appellee.


On Appeal from the United States Patent and Trademark Office,
   Patent Trial and Appeal Board in Nos. IPR2021-01298,
             IPR2021-01334 and IPR2021-01335

              BRIEF FOR APPELLANT


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                           PATENT CLAIMS AT ISSUE

      This appeal concerns claims 1-29 (the "Challenged Claims") of U.S. Patent

No. 10,911,938 (the "'938 Patent"). Claim 1 is representative of independent claims

1, 23, and 27 for purposes of this appeal.

      1.     A system comprising:
      a plurality of computing devices connected via one or more
             networks, wherein the system is configured to receive
             login information corresponding to a first user;
             identify the first user based on the login information;
             retrieve user configuration information corresponding to
                   the first user;
             control provision of a media content streaming service to
                   a first computing device of the plurality of
                   computing devices based on the user configuration
                   information corresponding to the first user;
             update the user configuration information corresponding
                   to the first user based on the provision of the media
                   content streaming service to the first computing
                   device;
             receive login information corresponding to the first user
                   from a second computing device of the plurality of
                   computing devices;
             identify the first user based on the login information
                   received from the second computing device;
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             retrieve the updated user configuration information
                   corresponding to the first user; and
             control provision of the media content streaming service
                   to the second computing device based on the
                   updated         user    configuration          information
                   corresponding to the first user.

      Dependent claim 6 recites the following:

             6.    The system of claim 1, wherein
                   at least one of the plurality of computing devices is
                             configured to dynamically develop the user
                             configuration information corresponding to
                             the first user based on the provision of the
                             media content streaming service to the first
                             computing device.

      Dependent claim 12 is representative of dependent claims 12, 16, 26, and 29

and recites the following:

             12. The system of claim 11, wherein
             at least one of the plurality of computing devices is
                   configured to control provision of the media content
                   streaming service to the first computing device and
                   the second computing device by selecting a version
                   of content, from a plurality of stored versions of
                   content, to be streamed to the first computing device
                   or the second computing device based on the
                   information       identifying     content     reproduction
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                    capabilities corresponding to the first computing
                    device or the second computing device.

      Dependent claim 18 is representative of dependent claims 17 and 18 and

recites the following:

             18. The system of claim 1, wherein
                    at least one of the plurality of computing devices is
                            configured to control provision of the media
                            content streaming service to the first
                            computing device and the second computing
                            device from a server remote from the system,
                            the first computing device and the second
                            computing device.

      The Board found independent claim 30 not unpatentable. Accordingly, claim

30 is not at issue in this appeal.
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FORM 9. Certificate of Interest                                                 Form 9 (p. 1)
                                                                                 March 2023


                     UNITED STATES COURT OF APPEALS
                        FOR THE FEDERAL CIRCUIT

                                  CERTIFICATE OF INTEREST

            Case Number 2023-1750
   Short Case Caption Avago Technologies International Sales Pte. Ltd. v. Netflix
   Filing Party/Entity Avago Technologies International Sales Pte. Ltd.



 Instructions:

     1. Complete each section of the form and select none or N/A if appropriate.

     2. Please enter only one item per box; attach additional pages as needed, and
        check the box to indicate such pages are attached.

     3. In answering Sections 2 and 3, be specific as to which represented entities
        the answers apply; lack of specificity may result in non-compliance.

     4. Please do not duplicate entries within Section 5.

     5. Counsel must file an amended Certificate of Interest within seven days after
        any information on this form changes. Fed. Cir. R. 47.4(c).


  I certify the following information and any attached sheets are accurate and
  complete to the best of my knowledge.


        04/28/2023
  Date: _________________                  Signature:   /s/ Daniel S. Young

                                           Name:        Daniel S. Young
                  Case:
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FORM 9. Certificate of Interest                                                            Form 9 (p. 2)
                                                                                            March 2023


      1. Represented                       2. Real Party in             3. Parent Corporations
          Entities.                            Interest.                   and Stockholders.
    Fed. Cir. R. 47.4(a)(1).             Fed. Cir. R. 47.4(a)(2).         Fed. Cir. R. 47.4(a)(3).
 Provide the full names of             Provide the full names of        Provide the full names of
 all entities represented by           all real parties in interest     all parent corporations for
 undersigned counsel in                for the entities. Do not list    the entities and all
 this case.                            the real parties if they are     publicly held companies
                                       the same as the entities.        that own 10% or more
                                                                        stock in the entities.

                                       ‫܆‬
                                       ✔ None/Not Applicable            ‫ ܆‬None/Not Applicable
Avago Technologies International
                                                                       Broadcom Incorporated
Sales Pte. Ltd.




                                   ‫܆‬      Additional pages attached
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FORM 9. Certificate of Interest                                                   Form 9 (p. 3)
                                                                                   March 2023


 4. Legal Representatives. List all law firms, partners, and associates that (a)
 appeared for the entities in the originating court or agency or (b) are expected to
 appear in this court for the entities. Do not include those who have already entered
 an appearance in this court. Fed. Cir. R. 47.4(a)(4).
 ‫܆‬
 ✔        None/Not Applicable             ‫܆‬          Additional pages attached




 5. Related Cases. Other than the originating case(s) for this case, are there
 related or prior cases that meet the criteria under Fed. Cir. R. 47.5(a)?
 ‫ ܆‬Yes (file separate notice; see below) ‫ ܆‬No   ✔
                                                           ‫ ܆‬N/A (amicus/movant)
 If yes, concurrently file a separate Notice of Related Case Information that complies
 with Fed. Cir. R. 47.5(b). Please do not duplicate information. This separate
 Notice must only be filed with the first Certificate of Interest or, subsequently, if
 information changes during the pendency of the appeal. Fed. Cir. R. 47.5(b).


 6. Organizational Victims and Bankruptcy Cases. Provide any information
 required under Fed. R. App. P. 26.1(b) (organizational victims in criminal cases)
 and 26.1(c) (bankruptcy case debtors and trustees). Fed. Cir. R. 47.4(a)(6).
 ‫܆‬
 ✔        None/Not Applicable             ‫܆‬          Additional pages attached
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                     STATEMENT OF RELATED CASES

      Under Fed. Cir. R. 47.5(a), counsel for Appellant certifies that no other appeal

from the same proceeding at the United States Patent and Trademark Office's Patent

Trial and Appeal Board (the "Board") is or was previously before this Court or any

other appellate court, whether under the same or a similar title.

      Under Fed. Cir. R. 47.5(a), counsel for Appellant states that the Court's

decision in this appeal will affect the following judicial and administrative matters:

CA, Inc. et al. v. Netflix, Inc., No. 3:22-cv-00373 (N.D. Cal. 2022) (transferred from

CA, Inc. et al v. Netflix, Inc., No. 2:21-cv-00080 (E.D. Tex. 2021)) and Netflix, Inc.

v. CA, Inc. et al, No. 3:21-cv-03649 (N.D. Cal. 2021), which have been coordinated.

This appeal arises from inter partes review proceeding nos. IPR2021-01298,

IPR2021-01334, and IPR2021-01335, all titled Netflix, Inc. v. Avago Techs. Int'l

Sales Pte. Ltd.      Proceeding nos. IPR2021-01334 and IPR2021-01335 were

consolidated with and into IPR2021-01298 (the "Consolidated IPR").

                       STATEMENT OF JURISDICTION

      The Board had jurisdiction over this inter partes review ("IPR") under 35

U.S.C. §6(b)(4). The Board issued its Final Written Decision under 35 U.S.C. §318

in the Consolidated IPR on February 6, 2023. Avago Technologies International

Sales Pte. Limited ("Avago") timely filed a petition for review of that decision on




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April 7, 2023. Notice of Docketing, ECF No. 1. This Court has jurisdiction under

35 U.S.C. §§141 and 319 and 28 U.S.C. §1295(a)(4)(A).




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                         STATEMENT OF THE ISSUES

      1.     Whether, in a case involving complex technology, the Board committed

legal error in making findings of obviousness without expert evidence as to how one

of ordinary skill in the art would have interpreted patent claims and references.

      2.     Whether the Board erred by making factual findings when the primary

reference was missing portions necessary to fully understand the reference.

      3.     Whether the Board adopted overly broad claim constructions by:

             a.    construing the term "user configuration information" not to

                   require information related to a user;

             b.    construing the term "based on the provision of the media content

                   streaming service" to encompass actions based on manual input;

                   and

             c.    construing the term "dynamically develop" to encompass all

                   automatic updates.

      4.     Whether the Board's findings that claims 1-29 were unpatentable under

35 U.S.C. §103(a) are supported by substantial evidence.




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                          STATEMENT OF THE CASE

I.    Overview of the '938 Patent

      The '938 Patent is titled, "Method and System for a Networked Self-

Configuring Communication Device Utilizing User Preference Information."

Appx3019; Appx90. The '938 Patent is directed to a system of personal electronic

("PE") devices that can store and update user configuration information ("UCI").

Appx3019.     UCI includes, for example, user-specific device configuration

information or user-specific operational preferences, such as favorite broadcast

channels, favorite websites, or favorite games. Appx3020; Appx3022; Appx97

(3:31-48); Appx99 (7:41-67). The '938 Patent describes that the UCI facilitates use

of the PE devices, such as streaming media content. Appx3022.

      As described in an exemplary embodiment, a first PE device may generate,

update, and store UCI. Appx3020; Appx97 (3:31-48). A second PE device may be

communicatively coupled to the first PE device or the networked devices. Id. The

second PE device may then be enabled to download existing UCI from the first PE

device or networked devices. Id. The downloaded UCI may be used to configure

the second PE device. Id.

      The '938 Patent further teaches that the UCI can be used to control provision

of streaming services. Appx3022-3023; Appx99 (7:41-67). As described in an

exemplary embodiment, the UCI may specify various user specific device



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operational preferences or may specify particular devices that may be accessed to

perform certain operations or to store and retrieve specific data. Id.

      The '938 Patent explains that the networked devices are "self-configuring."

Appx3019; Appx3049. The personal electronic device may enable generation,

updating, or storage of UCI. Appx102 (14:51-67). The generation, updating, or

storage of the UCI may be performed automatically. Id. The UCI may be used to

configure a secondary device. Appx103 (15:1-7). That is, the devices may use the

UCI for configuration without manual input. Appx3049.

II.   Overview of Lee

      Lee, the reference primarily relied upon by the Board, is titled "Development

of a Seamless Data Streaming System Based on User Preference and Device

Information." Appx1129. Lee is directed to a system featuring a home server which

allows streaming of content to multiple devices. Appx3042; Appx1129; Appx3125-

3129. Lee focuses on storing content on a home server to allow each device to access

the content exclusively from the home server so that each device does not need to

download the content again. Appx1129; Appx1132-1135.

      Figure 1 illustrates Lee's system with the vertical line (annotated in blue)

separating Lee's home server system from "external" servers and the Internet:




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Appx3042; Appx1129 (Fig. 1(annotated)); Appx3125-3129. Lee's system includes

the home server, a wired and wireless network, and a number of client devices (e.g.,

PC, TV, Notebook, and PDA). Appx3042; Appx1129-1130; Appx3125-3129.

      Figure 3 depicts an example of Lee's client/server architecture, with the home

server annotated in green and the client annotated in red:




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Appx1131 (Fig. 3 (annotated)); Appx3125-3129. The interactions between the

server and client are illustrated by Figure 5, annotated in the same way:




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Appx1133 (Fig. 5 (annotated)); Appx3125-3129. As shown by Figure 5, a user logs

in from a first client (1), the server transmits a recommended content list to the first

client (2), the first client requests content from the list (3), a server streaming

manager (mislabeled "client streaming manager" in Figure 5) creates a pumping

server (4), and the pumping server streams the requested content to the first

client (5). Appx1133-1134; Appx3125-3129. When the user stops playing content

from the first device, the media player delivers stop point information to the client

manager (6), which sends a log out request, along with the stop point information,

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to the server streaming manager (7). Appx1134; Appx3125-3129. The server

streaming manager then performs the log out (8). Id. When a second streaming

request is received (9), the process is repeated, and if the second request is from the

same user, the server offers to resume playback from the stop point. Id. Figure 81

illustrates the user interface on the client that allows the user to choose whether to

resume from the stop point:




1
  The copy of Lee provided as an exhibit in the IPRs is unclear. Reproduced Figure 8
is taken from the best copy available.

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Appx1134 (Fig. 8 (annotated)); Appx3125-3129. Based on the selection by the user,

the pumping server will stream the content to the user, either resuming from the stop

point or starting over (10). Appx1134; Appx3125-3129.

       As described in the title and throughout Lee, Lee describes a system that

provides multimedia content based on user preference information (e.g., favorite

movies) and device information (e.g., CPU capability). Appx1129; Appx1131-

1132. Lee's system does not automatically determine content recommendations.

Appx1135. In fact, Lee states, "[f]urther studies on determining the preferred

content by automatically figuring out the user's preferences and device character

information are necessary." Id.

III.   Overview of Smith

       Smith is titled "Transcoding Internet Content for Heterogeneous Client

Devices." Appx1375. Smith describes a complex "system for the network-based

transcoding of Internet content in order to improve the accessibility of a wide range

of client devices to the content on the Internet." Appx1378. The system retrieves,

analyzes, and ingests the Internet content into an InfoPyramid framework. Id. The

transcoding system selects the content from the InfoPyramid by assessing the

various content alternatives using content selection algorithms to adapt the Internet

content to the client devices. Id.




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      Smith's focus is real-time transcoding of Internet content.            Appx3095;

Appx1378; Appx3182-3183 (¶123). Smith describes "a network-based solution for

transcoding Internet content" in order to improve the utility of internet devices that

"have limited communication, processing, storage and display capabilities."

Appx1375. Smith's "transcoding system utilizes a policy engine to evaluate the

alternatives for adapting the content to client devices." Appx1377. Smith includes

a single reference to pre-materializing alternate versions of the Internet content,

storing them at the server, and then selecting one of the versions to deliver to the

client. Appx1375-1376.

IV.   Claims at Issue

      The Board's determinations resulted from erroneous claim constructions and

several erroneous findings of fact regarding whether Lee discloses certain elements

of independent claims 1, 23, and 27 and certain elements of dependent claims 6, 8,

12, 16, 17, 26, and 29. With respect to each of the Board's findings for the

independent claims, claim 1 is illustrative:

             1.     [1pre] A system comprising:
             [1a] a plurality of computing devices connected via one
                    or more networks, [1b] wherein the system is
                    configured     to     receive    login     information
                    corresponding to a first user;
                    [1c] identify the first user based on the login
                           information;


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                 [1d] retrieve        user    configuration     information
                         corresponding to the first user;
                 [1e] control provision of a media content
                         streaming service to a first computing device
                         of the plurality of computing devices based
                         on     the   user    configuration     information
                         corresponding to the first user;
                 [1f]    update the user configuration information
                         corresponding to the first user based on the
                         provision of the media content streaming
                         service to the first computing device;
                 [1g] receive login information corresponding to
                         the first user from a second computing device
                         of the plurality of computing devices;
                 [1h] identify the first user based on the login
                         information received from the second
                         computing device;
                 [1i]    retrieve the updated user configuration
                         information corresponding to the first user;
                         and
                 [1j]    control provision of the media content
                         streaming service to the second computing
                         device       based       on   the   updated    user
                         configuration information corresponding to
                         the first user.

Appx103 (15:53-16:11).



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      The Board found independent claim 30 not unpatentable.             Appx58-60.

Accordingly, claim 30 is not at issue in this appeal.

V.    The Board's disavowal of Netflix's expert

      The Board disclaimed any reliance on Netflix's expert, Mr. Gray, in its Final

Written Decision.     Appx11-13.      Avago presented evidence that Mr. Gray's

qualifications fell below the qualifications of a POSITA. Appx3036-3037. The

Board did not resolve whether Netflix's expert, Mr. Gray, met the qualifications of a

POSITA, but nonetheless declined to rely on his testimony. Appx13.

      Even though it had relied on Mr. Gray's testimony in its Institution Decisions,

the Board explained that Mr. Gray's testimony would not have changed its

patentability determinations.   Appx13-14.      The Board reached this conclusion

despite recognizing that attorney argument is not evidence. Appx41 (n.20).

      Given that the Board declined to rely on Mr. Gray's testimony, the Board's

factual findings are unsupported by expert testimony. Appx13-14. The Board,

however, did not reexamine the aspects of its prior findings that were based on

Mr. Gray's testimony. See Appx693-695; Appx754-757; Appx762-764; Appx721-

723; Appx728-732.

VI.   The Board's findings of obviousness

      The Board found that independent claims 1, 23, and 27 were rendered obvious

by Lee for the same reasons. Appx57-58. The Board found that dependent claims 2-



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4, 6-11, 13-15, 17-22, 24, 25, and 28 were rendered obvious by Lee. Appx60-72.

The Board found that dependent claim 5 was rendered obvious by Lee in view of

Glance. Appx72-75. And the Board found that dependent claims 10-16, 26, and 29

were rendered obvious by Lee in view of Smith. Appx75-85. Consequently, the

Board's findings concerning Lee serve as the foundation for its findings concerning

the validity of each challenged claim. The Board's unpatentability findings are based

only on obviousness, not anticipation. Appx86.

      A.     The Board's claim constructions

             1.    The Board's construction of "user configuration
                   information"

      The parties disputed the meaning of "user configuration information."

Appx16. Avago argued that user configuration information should be given its plain

and ordinary meaning, which is "information, related to a user, that is used for

configuration." Appx16. In the Final Written Decision, the Board used Avago's

construction for its analysis. Appx16.

      The Board, however, identified additional disputes about the meaning of UCI.

Appx16-18. First, Avago argued that UCI is unique to a user. The Board found no

support for UCI unique to a user despite the Board quoting the specification's

statement that UCI includes "information pertaining to device configuration and/or

operational preferences specific to the device user and/or various use settings,

network connectivity, service access, secure access information, network and service


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access information and/or preferences that are unique to particular users, and/or

manner of use of available resources." Appx6 (emphasis added); Appx16.

      Second, Avago argued that UCI is limited to information used for

configuration. The Board again found "no support" for this interpretation despite

referencing the specification's disclosure that UCI includes "information pertaining

to device configuration." Appx17; Appx6.

             2.     The Board's construction of "control provision of a media
                    content streaming service"

      All independent claims include the term "provision of a media content

streaming service." Appx18. Although the parties did not propose a construction

for "provision of a media content streaming service," the Board construed the term

to clarify the scope. Id.

      The Board determined that controlling provision of a media content streaming

service "can include, but is not limited to, controlling streaming of media content."

Appx19. The Board further determined that, despite the term containing the phrase

"streaming service," the term does not require streaming.        Appx12 ("[Avago]

erroneously assumes that this requires streaming."). The Board found that this term

means provisioning a service in general, which can include such non streaming

actions as "provid[ing] a recommended content list," providing a "login interface,"

or "perform[ing] other associated functionality." Appx18; Appx54.




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      The Board further determined the meaning of this term when analyzing

claim 18, which requires "at least one of the plurality of computing devices is

configured to control provision of the media content streaming service to the first

computing device and the second computing device from a server remote from the

system, the first computing device and the second computing device." Appx66-68

(emphasis added and omitted). The Board identified that the parties disputed the

scope of this limitation in the context of claim 18. The Board declined to construe

this term to require that the remote server stream content to the client devices

because it found that the claims are not limited to streaming. Appx70.

      Further, the Board interpreted "the claim language to require that a computing

device control provision of the claimed service to the claimed first and second

computing devices, and at least some portion of that service comes from a remote

server." Appx69. Thus, the Board found that the phrase "controlling provision of

the media content streaming service" only requires that some portion of the service

comes from a remote server. Appx69. The Board found that this claim language

was satisfied by the disclosure that "Lee's home server controls provision of the

service to client 1 and client 2, and at least some portion of the service (namely,

content) comes from a remote server (or a third system)." Appx69-70.




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             3.    The Board's implicit construction of "based on the
                   provision of the media content streaming service"

      The Board implicitly construed the term "based on the provision of the media

content streaming service." Appx34-35. This term appears in each independent

claim. Appx103 (15:53-16:11); Appx104 (18:12-36); Appx105 (19:9-37).

      The Board found that this limitation encompasses manual updates from a user.

Appx34. For example, the Board determined that a user's manual update to user

preferences is an update "based on the provision of the media content streaming

service" because the server ultimately updates its database. Appx34. The Board

rejected the testimony from Avago's expert, Dr. AlRegib, that "a manual update to

user preferences, through a user interface, is not the same as the system updating the

user preferences based on provision of the media content streaming service."

Appx34 (citing Appx3131-3132 (¶44)). Despite the plain claim language, the Board

construed the term "based on the provision of the media content streaming service"

to encompass manual actions so long as a server is ultimately updated. Appx34-35.

             4.    The Board's implicit construction of "dynamically develop"

      The Board implicitly construed the term "dynamically develop" in its analysis

of claim 6. Appx60-62. The Board found that "dynamically develop" is satisfied by

automatic updates or updates "as needed." Appx61. The Board found that Lee

discloses dynamically developing the UCI based on its finding that Lee

automatically updates usage history and stop points and makes changes to this UCI


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as needed. Appx61. The Board found that claim 6 does not require anything more

than an automatic update to satisfy the "dynamically develop" limitation. Id. The

Board also found that the dictionary definitions of dynamically did not change its

conclusion even though the dictionaries defined dynamic as characterized by

continuous activity or change. Appx61-62; Appx3079. The Board did not credit

Dr. AlRegib's testimony that recording changes after provision of the content has

stopped does not constitute dynamically updating.              Appx62 (disregarding

Appx3164-3166 (¶¶94-98)).

      B.    The Board's UCI findings

      The parties disputed whether Lee discloses UCI that satisfies claim

elements 1d, 1e, 1f, 1i, and 1j. Appx30.

            1.     The Board's analysis of Lee's user preferences

      The Board found that Lee's user preferences satisfy disputed claim element 1f.

Appx31. According to the Board, Lee's server stores and maintains user preferences

(such as preferred genres and directors). Appx31. After a user logs on, the server

retrieves the corresponding user preferences and provides a recommended content

list to the user. Appx31. "Lee's server sends the recommended content list to [the]

client device the user is currently using." Appx31.

      The Board also found that Lee's user preferences satisfy element 1f, which

requires the system configured to "update the user configuration information . . .



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based on the provision of the media content streaming service." Appx32; Appx103

(15:64-66). The Board recognized that Lee discloses setting user preferences but

not updating user preferences. Appx32. Without relying on expert testimony, the

Board found that an ordinarily skilled artisan would have assumed that a user can

later change the user preferences. Id. Without relying on expert testimony, the

Board found that an ordinarily skilled artisan would have understood that the manual

updates by a user cause a corresponding update to the user preferences stored in

Lee's home server. Appx33-34.

             2.    The Board's analysis of Lee's usage history

      The Board found that Lee's usage history qualifies as UCI and satisfies

disputed claim elements 1d, 1e, 1f, 1i, and 1j. Appx36. The Board found that usage

history is the information the content user has played through the streaming service.

Appx36.

      The Board found that Lee's usage history qualifies as UCI under Netflix's

proposed construction. Appx37. Netflix argued that usage history is UCI because

it "falls within a UCI category identified by the '938 specification," and referenced

the '938 specification's disclosures of "website access information," "use settings,"

and "use of available resources." Appx134-135. Even though none of the items

Netflix identified are usage history, the Board found that Lee's usage history




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qualified as UCI under Netflix's construction because these other types of

information are examples of UCI. Appx37.

      The Board also found that usage history qualified as UCI under Avago's

construction, which requires information, related to a user, that is used for

configuration. Appx38. In finding that Lee's usage history is used to configure the

recommended content list, the Board focused on the single clause in Lee that states

that a user "is presented with a recommended content list created based on usage

history, which is the information of the content the user has played through the

streaming service." Appx36 (quoting Appx1133 (§3.1)). The Board concluded that

Lee's usage history is associated with a user and used to configure the recommended

content list. Appx38.

      Avago and Dr. AlRegib explained why, when read in context, this clause did

not support the Board's finding, but the Board found that Avago's arguments did not

undercut or contradict this teaching without relying on supporting expert testimony.

Appx38-39.    Lee's authors recognized that their system could not determine

preferred content automatically based on user preferences or device information.

Appx1132. In light of this admission by Lee's authors, Avago set forth evidence that

a POSITA would have understood that Lee's recognition that user preferences cannot

be used to determine preferred content automatically also means that usage history

cannot be used to determine preferred content automatically.            Appx3055;



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Appx3139-3141 (¶¶55-56). The Board, however, found that these passages did not

undercut Lee's teaching. Appx38.

      Avago also argued that the usage history described in Lee is simply the

timestamp used to implement Lee's stop point functionality. Appx3053-3055;

Appx3976-3981. Without expert testimony, the Board interpreted Lee as disclosing

that the "Usage History database stores and manages a 'content list' and 'the

timestamp' information." Appx42 (citing Appx1132 (§2.5)). In making this finding,

the Board assumed that the "content list" was different from the "recommended

content list." Appx43 (n.22). The Board also found that the content list includes a

list of all content the user watched. Appx36. From this disclosure, the Board

concluded that Lee discloses that the Usage History database stores a list of

previously viewed content along with a corresponding timestamp identifying the

stop point of the most recent streaming of the content. Appx42-43.

      The Board made these findings without considering the TV-Anytime

Specification, which was not part of the record. Appx48. Lee explains that the TV-

Anytime Specification defines the schema and metadata used in the User History

DB, which "stores/manages content list and the timestamp" information. Appx1132

(§2.5).

      The Board also found that Lee retrieves the usage history, updates the usage

history, and controls provision of the multimedia streaming service based on it.



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Appx44. The Board again relied on its finding that the recommended content list is

created based on usage history and concluded, without expert testimony, that a

POSITA would have understood that UCI should be retrieved before it can be used.

Appx44.     According to the Board, "Lee's server 'retrieve[s]' usage history

corresponding to the user and 'control[s]' provision of the service based on that usage

history (by providing a recommended content list based on that history), satisfying

elements 1d and 1e." Appx37.

      The Board found that Avago's arguments addressing the single sentence in

§3.1 were untimely. Appx39 (n.19). The Board made this finding even though

Avago raised its interpretation in its patent owner response and directly responded

to arguments Netflix raised in its reply. Appx3051-3055; Appx3972-3982.

             3.     The Board's analysis of Lee's user conditions

      The Board found that Lee's user conditions—stop points indicating the point

where contact playback was stopped—satisfy disputed elements 1e and 1j. Appx45.

When a user stops streaming content, the device sends a "stop point" to the server

identifying the point at which playback of the content was stopped. Id. If a user

later selects that content from the recommended content list, then a window pops up

asking if data streaming is to be continued. Id. If the user selects consecutive

playing, the server is notified and streaming resumes. Id.




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      The Board recognized that Lee's stop points could not satisfy the claim

limitations unless they are updated (i.e., playing is resumed then stopped again with

the second stop point recorded). Appx46. That is, the first time a user watches a

show, there is no stop point saved, so the nonexistent content stop point cannot

control provision of the media content streaming service. Appx3144-3145 (¶66).

Even though Lee does not explicitly disclose updating stop points, the Board found,

without expert testimony, that an ordinarily skilled artisan would have understood

Lee to disclose updating a prior stop point. Appx46-47.

      The Board also found that Lee's stop points satisfy limitations 1e and 1j,

which require a system configured to "control provision of a media content

streaming service . . . based on the user configuration information." Appx47-48.

The Board recognized that Lee's system will only resume playing from the content

stop point when the user selects consecutive playing. Id. The Board concluded that

Lee's resumption of playing based on the user's selection satisfies the 1e and 1j

requirement that the update to the UCI be "based on provision of the media content

streaming service" even though the resumption of playing was based on the user's

manual input. Appx32-34.

             4.    The Board's analysis of Lee's client device information

      The Board found that client device information qualifies as user configuration

information and satisfies disputed elements 1d, 1e, 1f, 1i, and 1j. Appx49-56. The



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Board recognized that Lee's client device information relates to characteristics of the

device's hardware and software, such as media codec, display size, and network

bandwidth. Appx51. Even though this information describes the characteristics of

a client device (which could have numerous users), the Board found that this

information constitutes user configuration information. Appx50.

      The Board also found that Lee discloses updating client device information

based on provision of the media content streaming service. Appx54-55. The Board

found that Lee teaches that the client device sends its information each time it

connects to the server. Appx51. Without expert testimony, the Board found that "an

ordinarily skilled artisan would have understood this to mean that Lee updates the

client device information at least when a new device is used or when a previously-

used device's information has changed." Id. The Board made this factual finding

even though Avago's expert testified that Lee does not disclose updating client

device information based on provision of the streaming service. Appx3155-3156

(¶¶79-80).

      The Board disagreed with Avago's argument that Lee discloses that client

device information is updated at login based on the characteristics of the device, not

provision of the media content streaming service. Appx54. The Board agreed with

Netflix that provision of the media content streaming service includes provision of

the login interface. Id. The Board made this finding despite Avago's expert



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testimony that a POSITA would not understand that receiving login information

constitutes provision of the media content streaming service. Appx3069-3071;

Appx3155-3156 (¶¶79-80).

      C.    The Board's obviousness findings for claim 6

      The Board found that Lee teaches the limitations of claim 6, which require

that at least one of the plurality of computing devices is configured to dynamically

develop the UCI corresponding to the first user based on the provision of the media

content streaming service. Appx60. Even though claim 6 requires one of the

computing devices to "dynamically develop" UCI, not just automatically update

UCI, the Board found that Lee's alleged teaching of automatically updating the usage

history and stop points teaches this limitation. Appx61.

      D.    The Board's obviousness findings for claims 17 and 18

      The Board found that Lee discloses "control[ling] provision of the media

content streaming service to the first computing device and the second computing

device from a server remote from the system, the first computing device and the

second computing device," as recited in claim 18. Appx66 (emphasis omitted). The

Board also found Lee disclosed the similar requirements of claim 17, which recites

"a third system communicatively coupled to the system via a network" instead of a

"server remote from the system." Id.




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      The Board found that there was no dispute over what Lee teaches. Appx68.

"Lee teaches that its external server is the source of the multimedia content that is

ultimately streamed to the client devices." Id. Lee's home server acquires content

from the external server and stores or caches at least some of the content on the home

server before streaming it to the client devices. Id. The Board found that Lee's home

server caches content even though Lee does not describe caching or even use the

word cache. See Appx90-105; Appx70. The Board found that Lee's external server

qualifies as the "third system" (claim 17) and the "server remote from the system"

(claim 18). Id.

      The Board found that Lee's system met the requirement that one of the

computing devices is configured to "control provision of the media content

streaming service . . . from a server remote from the system" because the home

server received and stored content from the remote server. Appx67-70. Even though

the claim language requires a computing device to control provision from the remote

server to the first and second computing devices, the Board found that Lee satisfies

this element because some portion of the service comes from a remote server and is

downloaded to the home server which then controls provision of the media content

streaming service to the first and second computing devices. Id.




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      E.     The Board's obviousness findings for claims 12, 16, 26, and 29

      The Board found that claim 12 was obvious in view of Lee and Smith.

Appx76-83. Without relying on expert testimony, the Board found that it would

have been obvious to combine Lee with Smith to arrive at the system of claim 12.

Id.

      The Board recognized that Lee does not disclose all of the limitations of

claim 12. Appx79. The Board recognized that Lee "does not teach selecting a

version of content for streaming from a plurality of stored versions." Id. The Board

stated, without expert testimony, that the subject matter of claim 12 would have been

obvious to a POSITA if a POSITA would have been motivated to configure Lee's

home server to be able to select a version of content from two stored versions of that

content for streaming to a client based on the client's capabilities. Appx79-80.

      The Board found that Smith teaches a method that uses a device's capabilities

and network conditions to supply a device with playable content. Appx80. The

Board found that Smith teaches that content can be transcoded in real-time. Appx81.

Based on a single sentence in Smith, the Board found that Smith also discloses that

content can be pre-materialized and stored at the server. Id. Despite Lee's expressed

concern that "most users' connections are not fast enough to download large chunks

of multimedia data," the Board found that a POSITA would have been motivated to

modify Lee to store two versions of content at the home server. Appx1129; Appx81.



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      The Board did not agree with Avago's arguments, which were supported with

Dr. AlRegib's testimony. Appx82. The Board, without expert testimony, concluded

that a POSITA would have been motivated despite the disadvantages. Id.; see

Appx3183-3185 (¶¶125-127). For example, Smith teaches that the system should

"optimize the selection of the content alternatives" based on a number of factors,

including different target modalities and fidelities, data sizes, and maximum data

sizes "derived from the user's specified maximum load-time and the network

conditions." Appx3183-3184 (¶125) (quoting Appx1377-1378). The benefits of

such optimization would be lost in an implementation that prematerialized the

alternate versions of content, because the disclosed optimization is necessarily multi-

factorial and depends on multiple real-time conditions. Appx3183-3184 (¶125).

Further, Dr. AlRegib explained that, in a home-server based network such as Lee's,

different clients (e.g., a TV, a tablet, a phone, a PC) might all have quite different

capabilities, and that transient network conditions (especially in a Wi-Fi network, as

Lee teaches) can offer significantly different performance at different times.

Appx3184 (¶126). As such, to prematerialize optimized alternate versions, the home

server would have to store dozens of different versions of each piece of content. Id.

The Board found these disadvantages "unavailing" without any contrary expert

testimony. Appx83.




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      The Board found that claims 16, 26, and 29 contain limitations similar to

claim 12. Appx84-85. The Board found those claims obvious for reasons similar to

those regarding claim 12. Id.

      F.    The Board's remaining obviousness findings

      The Board found that dependent claims 2-5, 7-11, 13-15, 19-22, 24, 25,

and 28 were rendered obvious by Lee alone or by Lee in view of Glance or Smith.

Appx87.




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                            SUMMARY OF ARGUMENT

      The Board erroneously found the Challenged Claims to be unpatentable as

obvious. The Board's factual findings of invalidity are not supported by any expert

testimony of one skilled in the art. Given the complexity of the technology at issue,

the Board improperly substituted its own analysis of the references in obviousness

findings.

      The Board compounded its erroneous analysis by failing to rely on a complete

prior art reference. The Lee reference incorporates the TV-Anytime Specification,

which defines numerous terms throughout Lee and explains how the system

functions. The TV-Anytime Specification, however, was not part of the record.

      To fit the unclear and incomplete disclosures from Lee into the claim

language, the Board impermissibly broadened the claim terms "user configuration

information," "based on the provision of the media content streaming service," and

"dynamically develop." Using these broad constructions, without expert testimony

and on an incomplete record, the Board made numerous erroneous factual findings

with respect to what Lee teaches and whether it would have been obvious to combine

Lee with Smith.     The Board's findings that the asserted references invalidate

claims 1-29 must be reversed.




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                                  ARGUMENT

I.    Standard of Review

      The Court reviews "the Board's legal conclusions de novo and its fact findings

for substantial evidence." OSI Pharms., LLC v. Apotex Inc., 939 F.3d 1375, 1381

(Fed. Cir. 2019). The substantial evidence standard asks, "whether a reasonable fact

finder could have arrived at the agency's decision," and "involves examination of the

record as a whole, taking into account evidence that both justifies and detracts from

an agency's decision." Id.

      The Court reviews the Board's claim construction determinations and its

evaluation of the intrinsic record de novo and reviews any underlying factual

findings for substantial evidence. See Teva Pharms. USA, Inc. v. Sandoz, Inc., 574

U.S. 318, 322, 331 (2015); Kaken Pharm. Co., Ltd. v. Iancu, 952 F.3d 1346, 1350

(Fed. Cir. 2020). This standard applies equally to instances where the Board

implicitly construed claim terms. See Samsung Elecs. Co., Ltd. v. UUSI, LLC, 775

F. App'x 692, 696 (Fed. Cir. 2019).

II.   The Board erred in its obviousness determinations

      A.     The Board erred by making unpatentability determinations
             without expert testimony

      The Board's findings regarding the disclosures of Lee and Smith are

unsupported by substantial evidence. In fact, the Board had no expert evidence to

support its conclusion as to how one skilled in the art would have interpreted the


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patent claims and the references at issue. The Board recognized that attorney

arguments have little probative value, Appx41 (n.20), but used Netflix's attorney

argument for the foundation of its findings.

      Together with its petitions,2 Netflix submitted extensive declarations (the

shortest of which was 143 pages) by its expert, Stephen Gray. In its Institution

Decisions, the Board relied extensively on these declarations in assessing the

references. See Appx754-757; Appx762-764; Appx721-723; Appx728-732. Avago

presented evidence that Mr. Gray did not meet the requisite level of skill in the art,

either with respect to his education or his experience. Appx3035-3037. In its Final

Written Decision, the Board disclaimed any reliance on Mr. Gray's testimony.

Appx13. The Board nevertheless proceeded to make factual findings regarding what

one skilled in the art would have understood with respect to the references in the

absence of any supporting expert testimony—and despite contradictory evidence of

Avago's expert. This was error.

      Typically, expert testimony will be necessary in cases involving complex

technology. Centricut, LLC v. Esab Grp., Inc., 390 F.3d 1361, 1370 (Fed. Cir.

2004), cert. denied, 546 U.S. 814 (2005) (holding that, in cases involving complex

technology, one party cannot satisfy its burden of proof by relying only on testimony



2
 Netflix filed three IPR petitions, which were consolidated into IPR2021-01298.
Appx1.

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of non-experts where the other party offered expert testimony). Although the PTAB

need not consider or rely upon expert testimony in all cases, VirnetX Inc. v. Apple

Inc., 665 F. App'x 880, 884-85 (Fed. Cir. 2016), in cases involving technology that

is complex and "beyond the comprehension of laypersons," expert testimony can be

essential. Synopsis, Inc. v. Mentor Graphics Corp., 814 F.3d 1309, 1320 (Fed. Cir.

2016), overruled on other grounds by Aqua Prods., Inc. v. Matal, 872 F.3d 1290

(Fed. Cir. 2017) (quoting Centricut, 390 F.3d at 1369).

      Additionally, the PTAB cannot "simply reach conclusions based on its own

understanding or experience—or on its assessment of what would be basic

knowledge or common sense." Fanduel, Inc. v. Interactive Games LLC, 966 F.3d

1334, 1344 (Fed. Cir. 2020). This case is unlike Belden, in which the PTAB was

"entitled to rely on its own reading" of the prior art concerning "a simple point in a

mechanical field." Belden Inc. v. Berk-Tek LLC, 805 F.3d 1064, 1074 (Fed. Cir.

2015). Nor is this case like VirnetX, in which the PTAB relied upon its expertise

and experience to determine that a POSITA would have understood a prior art

reference to a computer to include a notebook computer but "did not address more

complex questions about computer technology whose resolution would benefit from

essential expert testimony." VirnetX, 665 F. App'x at 888.

      The technology involved is complex. The Board found that the level of skill

in the art corresponds to a bachelor's degree in computer science, electrical



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engineering or a similar field and three years of experience with networked

communication devices, or a master's degree in electrical engineering, computer

science, or a similar field with an emphasis in networked communication devices.

Appx11. The Board excluded Netflix's expert when Avago explained that he was

not a person of ordinary skill in the art for the claimed technology. Appx12-14. The

system of networked communication devices providing streaming media content and

self-configuring based on user preference information is type of complex technology

that requires testimony and analysis from one of ordinary skill in the art. See

Proveris Scientific Corp. v. Innovasystems, Inc., 536 F.3d 1256, 1267 (Fed. Cir.

2008); Aspex Eyewear, Inc. v. Concepts In Optics, Inc., 111 F. App'x 582, 588 (Fed.

Cir. 2004) (finding it to be a "rare case[] where the invention is so simple that expert

testimony is not required").

      The cited references are similarly complex and require explanatory expert

testimony. Indeed, any "claim that the technology is simple is belied by the fact that

both sides believed it necessary to introduce extensive expert testimony regarding

the content of the prior art." Alexsam, Inc. v. IDT Corp., 715 F.3d 1336, 1348 (Fed.

Cir. 2013). Netflix introduced the prior art evidence solely through its expert's

declarations. Appx946-1128. Netflix relied heavily on its expert to describe and

explain the content of the references and their application to the Challenged Claims.

See generally Appx110-384. That the Board itself relied on Mr. Gray's observations



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and analysis of the references when deciding whether to institute the IPRs further

demonstrates that expert analysis is necessary to properly assess Netflix's

obviousness contentions.       See Appx754-757; Appx762-764; Appx721-723;

Appx728-732.

       Having now disclaimed any reliance on Mr. Gray's testimony, the Board

 improperly substituted its own analysis of the references in making its obviousness

 findings. But, as this Court has explained, "in a contested proceeding involving

 'resolution of conflicting private claims to a valuable privilege,' it is particularly

 important that the agency's decision on issues of fact be limited to the written record

 made before the agency." Brand v. Miller, 487 F.3d 862, 868-69 (Fed. Cir. 2007).

 The Board's role in contested proceedings is that of "an impartial adjudicator of an

 adversarial dispute." Id. at 869; see also In re Cuozzo Speed Techs., LLC, 793 F.3d

 1268, 1278 (Fed. Cir. 2015) (recognizing that IPRs are "adjudicatory rather than an

 examination"). Where, as here, the references and the patent claims are not easily

 understandable, "it is impermissible for the Board to base its factual findings on its

 expertise, rather than on evidence in the record." Brand, 487 F.3d at 869.

      The Board's Final Written Decision is replete with findings not supported by

any expert evidence—even where such evidence is required, such as for determining

the understanding of one skilled in the art. See, e.g., Appx32; Appx46; Appx47;

Appx51; Appx57; Appx64; Appx79-82. For example, the Board found that "a


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person of ordinary skill in the art would have been motivated to combine Lee and

Smith to select a stored version of content on Lee's server because it would reduce

computational burden at the server" because a reduction of storage space "is a

predictable engineering tradeoff that would not have meaningfully diminished the

ordinary skilled artisan's motivation." Appx81-82.

      In the absence of credible supporting expert evidence, these findings are not

supported by substantial evidence in the record, and therefore cannot support an

ultimate finding of unpatentability. Cf. Aspex Eyewear, 111 F. App'x at 588 n.8

(attorney argument cannot substitute for testimony of one of skill in the art). This

error alone mandates reversal.

      B.    The Board erred by relying on an incomplete prior art reference

      The Board erred by relying on the facially incomplete Lee reference in making

factual determinations and conclusions on obviousness. Much of how Lee's system

works is governed by the TV-Anytime Specification, which was not part of the

record. The Federal Circuit recognized that the PTO cannot rely on a reference when

the missing portions are "necessary to a full understanding" of the reference. In re

Enhanced Sec. Rsch., LLC, 739 F.3d 1347, 1356, 1357 n.14 (Fed. Cir. 2014).

      The TV-Anytime Specification is necessary to understand Lee. Appx3053-

3054; Appx3983-3984. Lee describes the TV-Anytime Specification as disclosing

critical information for how its system operates. Lee explains that the TV-Anytime



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Specification contains the definitions for the XML Metadata Schema. Appx1130-

1132 ("It has to be constituted according to the XML Metadata Schema defined in

TV-Anytime . . . .") (endnotes omitted). The TV-Anytime Specification provides

the user preferences content classification for the user database. Appx1132 (§2.5)

("Table 1 represents genre details used in this study based on the user preferences

content classification provided by TV-Anytime Specification version 1.1."). Lee

further explains that the User History DB and content database are managed by the

schema defined in the TV-Anytime Specification. Id. ("[User History DB] is

managed by Metadata and follows the schema defined in TV-Anytime

Specification 006."); id. (§2.6) ("Used Metadata Schema follows the Schema

defined in TV-Anytime Specification 006."). Thus, the TV-Anytime Specification

is necessary to understand the relationships and constraints among data in Lee's

system, including the User History DB, mapping table, and the content database,

relied on heavily by the Board in its Final Written Decision. Appx3137-3138 (¶53);

Appx38-44; see, e.g., Appx42-43 ("[W]e find that Lee teaches that its Usage History

database stores a list of previously viewed content along with a corresponding

timestamp identifying the stop point associated with most recent streaming of that

content.").

      Despite these disclosures, the Board summarily dismissed the TV-Anytime

Specification as irrelevant. Appx48-49 ("[T]he TV-Anytime Specification has no



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apparent relevance to the disputed issues in this proceeding.").        The Board's

speculation cannot substitute for actual evidence that the missing specification is

meaningless—particularly, without any expert testimony to support its position.

      This is particularly true where Lee indicates that the missing portions are

relevant and necessary. In addition to the metadata schema definitions, Lee is replete

with defined terms finding their definitions in the TV-Anytime Specification,

including the following terms: "Metadata," "XML Metadata Schema," "Database

Manager," "User Manager," "Mapping Table," "User DB," "Usage History,"

"Content DB," and "User History DB." Appx1130-1132. These definitions and the

associated defined terms concerned critical aspects of the teachings of Lee and are

thus necessary to a full understanding of the reference. For example, without

reviewing the TV-Anytime Specification, the Board found that Lee's "Usage History

database stores a list of previously viewed content" even though the Usage History

database is defined by the TV-Anytime Specification. Appx42-43; Appx42 (n.21)

(equating the User History DB to the Usage History Database); Appx1132 (§2.5)

("User History DB . . . is managed by Metadata and follows the schema defined in

TV-Anytime Specification 006.").

      Despite Netflix's failure to include the TV-Anytime Specification cited by Lee

in any of its petitions, the Board made detailed findings concerning aspects of Lee

that indisputably incorporate the TV-Anytime Specification.         This was error.



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Cf. Enhanced Sec. Rsch., 739 F.3d at 1360 (O'Malley, J., dissenting) ("Where a

reference is proffered by an interested party with control over all information relating

to that reference, it is not too much to ask that the proffer be complete in all material

respects."). This error provides an independent basis for reversal.3

      C.     The Board erred in finding that Lee renders obvious claims 1, 23,
             and 27

      The Board erred in finding that any of Lee's four categories of UCI (1) qualify

as UCI and (2) satisfy all elements of the claims. The Board's conclusion that Lee

renders obvious claims 1, 23, and 27 should be reversed.

             1.     Lee's user preferences do not satisfy the disputed elements

      The Board erred in finding that Lee's user preferences (such as preferred

genres and directors) satisfy disputed claim element 1f. The Board's finding is based



3
  The Board incorrectly found, and without explanation, that Avago's sur-reply
arguments about the importance of the TV-Anytime Specification were untimely.
Appx48. However, Avago raised the TV-Anytime Specification argument in the
patent owner response when explaining that usage history is not UCI and rebutting
Netflix's contention that Lee's Mapping table is used to index the user's preferences.
Appx3053-3054 (criticizing Netflix's expert for failing to explain "how the Mapping
Table is influenced by the TV-Anytime Metadata Schema"). Avago elaborated on
this argument in the sur-reply when further explaining why usage history is not UCI.
Appx3978 (n.4). Avago also raised the missing TV-Anytime Specification
argument in response to Netflix's reply. Appx3978; Appx3983. Avago relied on the
missing TV-Anytime Specification in its sur-reply to respond to these arguments.
Appx3977-3978; Appx3978 (n.4) (explaining that the user database is managed by
the TV-Anytime Specification, which is not part of the petition); Appx3983
("Petitioner argues that it would be obvious to modify Lee to make multiple uses of
the stop point functionality, without even knowing how Lee works.").

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on its erroneous understanding of the plain claim language and on assumptions

unsupported by Lee or expert testimony.

                   a)     The Board committed legal error by broadening the
                          meaning of "based on the provision of the media
                          content streaming service"

      The Board erred in construing this term to encompass manual updates.

Appx34. This error should be reviewed de novo because the parties' dispute relates

to claim scope.

      Under the correct construction, even if Lee discloses updating the user

preferences (as discussed below, Lee does not), those updates are not "based on the

provision of the media content streaming service," as required by limitation 1f.

Appx3048-3049; Appx3969.        The Board found that Lee suggests "manually

updating the user preferences." Appx32. The Board determined that a user's manual

update to user preferences is an update "based on the provision of the media content

streaming service" because the user manually updates preferences using the user

interface, and the home server ultimately updates its database. Id. Manual updates,

however, do not satisfy the claim language because those updates are not "based on

provision of the media content streaming service." Appx3049.

       The Board misconstrued the plain language of the claim. As the Federal

 Circuit made clear in Phillips, a claim construction analysis should start with the

 words of the claims and the specification. Phillips v. AWH Corp., 415 F.3d 1303,



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 1312-13 (Fed. Cir. 2005) (en banc). Claim 1 requires a system configured to update

 the UCI based on provision of the media content streaming service. Appx103

 (15:53-67). This requirement means that the system uses the provision of the

 multimedia content streaming service to update the UCI. Appx3131-3132 (¶44).

 The claim does not encompass manual updates to UCI because it is the system that

 must be updating the UCI and because the update must be based on provision of

 the multimedia content streaming service. Id.

      The Board's construction also conflicts with the specification of the

'938 Patent. Central to the Board's findings is the fact that the specification describes

that the "updating of the user configuration information may be performed manually,

based on user commands for example, which may [be] communicated directly into

the system." Appx101 (11:45-48). In the context of manual updates, however, the

specification explains that the updates are communicated into the system as opposed

to the system being configured to update the UCI as claimed. Appx103 (15:53-67).

The Board ignored that the system must be configured to update the UCI based on

the provision of the multimedia streaming service not merely that the system is

configured to accept updates to the UCI based on a user's manual input. The claims

need not cover every disclosure in the specification. SIMO Holdings Inc. v. Hong

Kong uCloudlink Network Tech. Ltd., 983 F.3d 1367, 1378-79 (Fed. Cir. 2021).




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      The Board's construction also ignores the only expert testimony of record.

Without any conflicting expert testimony, the Board rejected Dr. AlRegib's

testimony that "a manual update to user preferences, through a user interface, is not

the same as the system updating the user preferences based on provision of the media

content streaming service." Appx34 (citing Appx3131-3132 (¶44)). Dr. AlRegib

explained that a POSITA would have understood the claim to require that the system

perform limitation 1f rather than the user's manual input because a manual update to

UCI is not "based on the provision of the media content streaming service to the first

computing device." Appx3131-3132 (¶44).

      The Board's reliance on Lee's user interface is misplaced. Appx34. Lee

discloses that the user can only manually update the user preferences in the user

interface. Appx1131 (§2.1). Even if the interface could be considered part of the

"media content streaming service," the updates are not based on providing the user

interface but instead are based on the user's manual input. Appx3131-3132 (¶44).

                   b)      Lee does not render obvious updating user preferences

       Even under the Board's construction, Lee's user preferences cannot satisfy

 claim 1 because Lee does not disclose or render obvious updating the user

 preferences. Appx3048. Lee only discloses that users can set their preferences in

 a user interface when registering for the service. Appx1131 (§2.1); Appx1133

 (§3.1); Appx32. Recognizing that Lee does not disclose updating user preferences,



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 the Board opines that "an ordinarily skilled artisan would have assumed that these

 preferences can be later changed" and concluded that "such an update would have

 been obvious." Appx32.

      The Board's unsupported assumptions and conclusory obviousness statements

do not provide the reasoned explanation necessary to support a finding of

obviousness. Arendi S.A.R.L. v. Apple Inc., 832 F.3d 1355, 1366 (Fed. Cir. 2016).

The Board did not provide any motivation why it would have been obvious to a

POSITA to modify Lee's system to provide for updates after registration or provide

any explanation of the likelihood of success. Not only did the Board lack any

supporting expert testimony but it ignored Avago's expert testimony that such a

modification would not have been obvious. Appx3132-3134 (¶¶45-46).

             2.     Lee's usage history does not satisfy the disputed elements

      The Board erred in concluding that Lee's usage history qualifies as UCI and

satisfies disputed elements 1d, 1e, 1f, 1i, and 1j. Netflix and the Board relied heavily

on a single clause in Lee while ignoring the context and failing to consider the TV-

Anytime Specification that explains how Lee's system functions. Appx36.

                    a)     Lee's usage history is not UCI

      Lee's usage history is not UCI because it is not used for configuration.

Without expert testimony, the Board extrapolated from Lee's reference to a




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"recommended content list" and concluded that the usage history is used to configure

content recommendations.

      Lee's disclosure demonstrates that Lee's system does not provide

recommendations based on usage history—the list of all content the user previously

viewed—but instead provides recommendations based on user preferences and

device information. Appx3137-3138 (¶53). Lee's title describes that the data

streaming system is "Based on User Preference and Device Information."

Appx1129.     Lee's abstract further confirms that the home server is storing

information such as "user preferences, device character information, the indication

on the exact point the download was interrupted, and other related information."

Appx1129. Lee's conclusion explains that "[t]he proposed system is also capable of

sending highly customized content to different users or different device

environments on a home network by storing/managing user preference information,

device character information, and the content stop point on the home server."

Appx1135 (§4). Notably absent from this list is usage history. Appx3054-3058

(identifying passages in Lee teaching that user preferences are the sole source of

content recommendations).

      Lee even confirms that recommendations based on viewing history are not

possible. Lee explains that "[f]urther studies on determining the preferred content

by automatically figuring out the user's preferences and device character information



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are necessary." Appx1135 (§4). Given that Lee's system cannot automatically

determine preferred content from user preferences and device character information

(i.e., information entered by the user), a POSITA would recognize that Lee's system

similarly cannot automatically determine preferred content from a user's usage

history, which changes repeatedly as the user watches content.             Appx3055;

Appx3133-3134 (¶46).

      Finding    no   support    from   Lee's    express    statements    about   how

recommendations are made, the Board was forced to draw unsupported conclusions

from a single sentence in Lee. Appx38. In finding that usage history is used to

configure content recommendations, the Board relies on Lee's statement that "one is

presented with a recommended content list created based on usage history, which is

the information of the content the user has played through the streaming service and

the details of the user profile." Id. (citing Appx1133 (§3.1)). When read in context,

however, Lee's recommended content list is based on the content the user has played

through the streaming service only insofar as it is based on what the user was last

watching for which there is stop point information. Appx3980-3981; Appx4287-

4288 (80:23-81:21).

      The Board's conclusion is based on the flawed premise that usage history (i.e.,

what Netflix claims is a persistent log of what the user viewed) is stored in the User

History DB. Appx42-43. In its only mention of the User History DB, Lee describes



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that the "User History DB stores/manages content list and the timestamp of the user's

most recent log-on to the server and received streaming." Appx1132 (§2.5). The

timestamp is the stop point information saved to the database when a user stops

streaming. Appx1134 (§3.8). Lee confirms this understanding by explaining that,

upon log out, the server agent "receives stop point information and saves it in the

database." Id. Thus, the User History DB only stores (1) the content list and

(2) timestamp information. Lee's reference to usage history as the "content the user

has played through the streaming service," is merely referencing the information

stored in the User History DB, which is the information used to enable the stop point

functionality, not a log of all content the user has viewed.

      The Board lacks evidence to support its finding that the "content list" stored

in the Usage History database is the list of all previously viewed content. Appx42.

The Board incorrectly conflates the "recommended content list" with the "content

list." The "content list" is defined and managed by Metadata and follows the schema

defined in the TV-Anytime Specification, which is not part of the record.

Appx3137-3138 (¶53). Indeed, the Board even found that the lists are different but

still equated the two. Appx43 (n.22) ("we find that this 'content list' is not the same

as the recommended content list provided to the user").

      At most, usage history is used to index the user's preferences in Lee's Mapping

Table. Appx1132 (§2.4.2). Such indexing does not provide any configuration



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function. Lee explains that the Usage History DB stores and manages content lists

and the timestamp of the user's most recent logon to the server and received

streaming. Id. (§2.5). Lee describes that the server stores user preferences, device

character information, and stop points. Appx1135 (§4). While that information can

be put into separate tables, there is no evidence that Lee keeps a list of watched

content and stores that information in the mapping table.

                    b)     Lee's usage history is not retrieved, updated, or used to
                           control provision of the multimedia content streaming
                           service

      Lee does not disclose that usage history is stored, so it cannot disclose that it

is retrieved. There is no evidence supporting that the "content list" stored in the

Usage History database is the list of previously viewed content. Appx42. The

"content list" is defined and managed by Metadata and follows the schema defined

in the TV-Anytime Specification, which is not part of the record. Appx3137-3138

(¶53). The Board's reasoning mistakenly conflates the recommended content list

with the content list, but the Board even found that the lists are different. Appx43

(n.22).

      Nor does Lee teach updating usage history. The Board's sole finding on

updating usage history is that "Lee teaches 'updating' the usage history when content

is stopped mid-playback." Appx37. Stopping content mid-playback is not usage

history; it is a reference to stop points, which is a different form of alleged UCI.



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      Lee does not teach controlling provision of a media content streaming service

based on usage history. The only process the usage history is used for is to provide

the stop point as part of the streaming resuming request. Appx1134 (§3.6). If the

user chooses to continue streaming, then the content restarts from the stop point. Id.

(§3.9). But this is not controlling provision of the media content streaming service

based on the usage history. Instead, the user's manual input controls the provision

of the media streaming service. Id.

      The Board mistakenly ignored Dr. AlRegib's testimony. Appx39. Even

though Dr. AlRegib explained how Lee's context refutes Netflix's contentions, the

Board substituted its own judgment to find that Dr. AlRegib's testimony contained

"logical errors" and contradicted Lee's "express disclosure." Id. As explained in this

section and the preceding section supra, Lee's context is necessary to understand the

"express disclosure[s]," and the only expert testimony explaining the context was

Dr. AlRegib's.    It was error for the Board to minimize this testimony by

impermissibly relying on its own understanding or experience.

                   c)      Avago's arguments were timely

      The Board incorrectly found that certain arguments Avago made regarding

usage history were untimely. Appx39-40. The Federal Circuit, however, has

explained that "[p]arties are not barred from elaborating on their arguments on issues

previously raised." Chamberlain Grp., Inc. v. One World Techs., Inc., 944 F.3d 919,



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925 (Fed. Cir. 2019). A reply argument is proper if it "cites no new evidence and

merely expands on a previously argued rationale." Ericsson Inc. v. Intellectual

Ventures I LLC, 901 F.3d 1374, 1381 (Fed. Cir. 2018). Under the Board's rules, a

sur-reply may respond to arguments raised in the corresponding reply. 37 C.F.R.

§42.23.

      Avago's arguments in its sur-reply expanded on its previously argued

rationales and directly responded to arguments in Netflix's reply. Avago explained

in its sur-reply why the heavily relied upon clause from Lee did not disclose content

recommendations based on usage history. Appx3952-3998. Avago raised this

argument in the patent owner response (and supporting expert declaration) and

merely expanded upon it in response to Netflix's heavy reliance on the disclosure in

its reply. Id.; compare id., with Appx3006-3101, and Appx3102-3187.

      In addition, Avago's contextual explanation of Lee's §3.1 directly responds to

arguments Netflix raised in its reply. For example, Netflix argued that Avago "has

no response [to §3.1], other than to pretend it does not exist." Appx3428-3429.

Netflix also argued specific interpretations of that section, including that "Lee

generates a recommended content list based on usage history and the user profile."

Appx3429. Avago was entitled to respond to these arguments in its sur-reply. 37

C.F.R. §42.23.




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      Further, Netflix's arguments, in its reply, recognize that Avago raised

arguments addressing §3.1 in its patent owner response. The following arguments

recognize arguments Avago made in the patent owner response with respect to §3.1:

"PO argues usage history is not used for anything" and "PO argues user preferences

are the sole source of Lee's recommendations." Appx3429-3430; Appx3429 (n.6);

Appx3435 (n.9). Avago was not barred from elaborating on these previously raised

arguments. Chamberlain, 944 F.3d at 925.

             3.    Lee's stop points do not satisfy the disputed elements

      The Board erred in finding that Lee's user conditions (stop points indicating

the point where contact playback was stopped) satisfy disputed elements 1e, 1f,

or 1j. Lee does not disclose or render obvious controlling provision of the media

content streaming service based on stop points.

                   a)     Lee does not control provision of the media content
                          streaming service based on the stop points

      Provision of the multimedia content streaming service is not based on the stop

points but is instead based on the user input. The user must decide whether to resume

viewing content from the previous stop points. Appx3146-3148 (¶68); Appx1134

(§3.9). The user is presented with a pop-up window and must select "consecutive

playing" if the user chooses to resume viewing from the stop point. Id. Thus, it is

the user's decision and selection to continue viewing content that controls provision




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of the multimedia content streaming service, not the system's use of stop points.

Appx3146-3148 (¶68).

      The Board's argument that the server controls provision misses the mark.

Appx47-48. Provision of the multimedia content service is not based on the stop

point; it is based on the user's manual selection to continue viewing, which does not

satisfy the plain claim language. Appx1134 (§3.9). As described in Section II.C.1.a

supra, claim 1 requires a system configured to update the UCI based on provision of

the media content streaming service. Appx103 (15:53-67). This requirement means

that the system uses the provision of the multimedia content streaming service to

update the UCI. Appx3131-3132 (¶44). The claim does not encompass manual

updates to UCI because it is the system that must be updating the UCI and because

the update must be based on provision of the multimedia content streaming service.

Id.

                   b)      Lee's stop points are not updated

      Lee's stop points can only control provision of the media content streaming

service if they are updated. The first time a user watches a show, there is no content

stop point saved, so in this instance, the nonexistent content stop point necessarily

cannot control provision of the media content streaming service.          Appx3059;

Appx3144-3145 (¶66). Thus, the stop points must be updated for the service to be




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able to control provision of the media content streaming service based on the stop

points. Id.

      Lee, however, does not disclose updating the stop points. The Board even

recognized that Lee lacks such a disclosure. Appx47. The Board concluded without

expert testimony that a POSITA would have understood Lee to suggest updating the

stop points. Appx46-47. The Board offered no obvious analysis or rationale to

explain why such a modification would have been obvious to modify Lee in the

manner suggested.         Appx46-47.     The Board's unsupported assumptions and

conclusory obviousness statements do not provide the reasoned explanation

necessary to support a finding of obviousness. Arendi, 832 F.3d at 1366.

               4.    Lee's client device information does not satisfy the disputed
                     elements

      The Board erred in finding that Lee's client device information qualifies as

UCI and satisfies disputed element 1d, 1e, 1f, 1i, and 1j. Client device information

is not UCI and is not updated by the provisioning of media content.

                     a)       Client device information is not UCI

      Lee's client device information is not user configuration information because

it relates to clients, not users. Lee consistently distinguishes between "users" (people

using the system) and "clients" (hardware devices on which users consume media

content). Appx1130-1131. Client device information is managed by the Device Info

Manager, which "determines the client device information such as media codec,


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CPU capability, display size, and other such factors from the media player codec or

devices' system information." Appx1131 (§2.2.2). The client device information

does not depend on the user but is the same regardless of which user is operating the

device.

      The Board committed legal error by broadening UCI to encompass client

device information not related to a user. Appx17; Appx52. The Board's broad

construction finds no support in the record.        The claim term itself is user

configuration information, which necessarily requires that the information is for a

user. The specification explains that UCI includes "information pertaining to device

configuration and/or operational preferences specific to the device user and/or

various use settings, network connectivity, service access, secure access

information, network and service access information and/or preferences that are

unique to particular users, and/or manner of use of available resources." Appx99

(7:49-60). Avago's expert explained that, "device configuration information that

relates to no particular user[] is not UCI[] as that term is used in the Challenged

Claims." Appx3122-3123 (¶35). The Board's interpretation that UCI covers device

information that is the same regardless of the user is legal error and should be

reversed.




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                   b)     Client device information is not updated

      Even if client device information qualifies as UCI, Lee does not teach

updating the client device information based on provision of the media content

streaming service. Appx3071. As discussed above, claim 1 requires that the system

updates UCI (in this case, client device information) based on use of the system.

Lee, in contrast, does not teach that client device information is updated by the

provisioning of media content. As shown in Figure 5, upon login, the client provides

client device information to the home server. Appx1133. Indeed, the Board found

that the client device sends its information each time it connects to the server.

Appx51. The Board also found, without expert testimony, that an ordinarily skilled

artisan would have understood this disclosure to mean that Lee updates the client

device information at least when a new device is used or when a previously-used

device's information has changed. Id.

      This finding, however, does not satisfy the claim language requiring that the

update is "based on provision of the media content streaming service." At most, Lee

teaches that client device information is changed by a user by changing the device

and transmitted to the server upon login. Appx1131 (§2.1). Lee does not disclose

that any aspect of the provision of the media content streaming service results in an

update to client device information. Appx3157-3158 (¶81). Lee's client device

information is updated by Lee's system at login, before Lee's system identifies the



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user, retrieves any UCI, or provides any media content streaming service. Id.

Because the client device information is only transmitted at login, it cannot be

updated based on provision of the multimedia content streaming service. Appx3155-

3156 (¶80).

      The plain language of the claim further demonstrates the Board's error.

According to the structure of the claim, provision of the media content service is

controlled based on the UCI (element 1[e]), and the UCI cannot be retrieved until

the user has logged in (elements 1[b]-1[d]). Appx3157-3158 (¶81). Under the

Board's finding, the alleged UCI (client device information) is updated at login

(element 1[b]), before provision of any media content streaming service

(element 1[e]). Thus, the client device information cannot be updated based on

provision of the media content streaming service, as claimed, because it is updated

before the provision of the media content streaming service has begun.

                   c)     Avago's arguments were timely

      The Board incorrectly found that Avago's arguments in the sur-reply were

untimely. Appx55-56. Avago presented arguments in its sur-reply that expanded

on its arguments that the client device information could not satisfy the plain

language of the claims. Appx3952-3998. These arguments merely expanded on

those raised in the patent owner response in which Avago explained that antecedent

basis requires that the UCI identified in limitation 1[d] must be the same for the



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remaining limitations and that client device information cannot satisfy this

requirement.        Appx3990-3991; compare id., with Appx3045-3048 ("under the

principle of antecedent basis, the same UCI must satisfy each of these limitations"),

and Appx3070-3071 ("this interpretation cannot be squared with the claim language

itself").

       D.      The Board erred in finding that Lee renders obvious claim 6

       Claim 6 recites, "at least one of the plurality of computing devices is

configured     to     dynamically   develop    the   user   configuration   information

corresponding to the first user based on the provision of the media content streaming

service to the first computing device." Appx103 (16:34-39). The Board erred in

finding that Lee discloses the elements of claim 6.

               1.      Lee does not disclose dynamically developing UCI under the
                       correct construction

       The Board committed legal error by reading out the term "dynamically" from

the claims. To "dynamically develop" the UCI based on provision of the media

content streaming service as claimed, the system must be configured to continuously

change the UCI based on provision of the media content streaming service. This

understanding is the plain meaning of "dynamic."               Appx3376; Appx3382;

Appx3386. The only expert testimony regarding the meaning of the term dynamic

explained that a POSITA would understand "dynamic" to mean continuously




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changing and that recording changes after provision of the content has stopped is not

dynamic. Appx3166 (¶98).

      Even assuming that Lee discloses the limitations of claim 1 (it does not), the

Board did not identify any disclosure in Lee that describes continuously changing

any alleged UCI based on provision of the media content streaming service. In

analyzing claim 6, the Board referenced its discussions about usage history and stop

points, in the context of claim 1, but did not make any further findings with respect

to the term, "dynamically develop." Appx61. The Board did not interpret dependent

claim 6 as requiring anything more than claim 1. This is error. 35 U.S.C. §112(d)

("a claim in dependent form shall contain a reference to a claim previously set forth

and then specify a further limitation of the subject matter claimed"); Am. Piledriving

Equip., Inc. v. Geoquip, Inc., 637 F.3d 1324, 1335 (Fed. Cir. 2011) ("[W]here, as

here, the claims describe the same relationship using different terms, the assumption

is that the term in the dependent claim has a narrower scope.").

      The Board's description of updating stop points and usage history further

demonstrates that the updates are not dynamic. Regarding stop points, the Board's

finding that Lee discloses "updating a prior stop point when a user resumes

previously played content before stopping playback" is not supported by substantial

evidence. Appx46. Instead, Lee discloses only that the changes to the stop point are

recorded after provision of the content has stopped. Appx3079. Specifically, Lee



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discloses that after it receives "the request to stop/quit the data streaming to Media

Player 1, the Pumping Server is stopped by a stop/quit event and sends the stop point

to the Server . . . to store and manage." Appx1134 (§3.6). The Board cited no other

disclosure in Lee or expert testimony that contradicts Lee's express disclosure that

provision of the streaming service is stopped before the stop point information is

stored in the database. Appx3079; Appx3166 (¶98). Such an after-the-fact update

cannot be UCI dynamically developed based on provision of the media content

streaming service. Id.

      Regarding usage history, the Board found that usage history is updated "when

content is stopped mid-playback." Appx37. For the same reasons that Lee's stop

points do not satisfy the requirements of claim 6, Lee's usage history does not satisfy

the requirements of claim 6.

             2.     Lee does not disclose dynamically developing UCI under the
                    Board's construction

      The Board's finding that Lee discloses dynamically developing UCI lacks

substantial evidence even under the Board's construction of "dynamically develop."

The Board found that only Lee's usage history and stop points satisfy this claim.

Appx61. For the reasons discussed above, neither Lee's usage history nor stop points

are updated at all, let alone automatically updated.

      Not only are the Board's findings not supported by any expert testimony, but

the Board compounded its error by disregarding Avago's expert testimony. Appx62.


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The Board did "not credit [Dr. AlRegib's] testimony because Dr. AlRegib [did] not

discuss matters within his technical expertise. Id.; Appx3164-3166 (¶¶94-98).

Dr. AlRegib's testimony, however, is squarely within his expertise. Dr. AlRegib's

testimony, in paragraph 95, discussed how the "alleged UCI cited by [Netflix] is not

updated at all, let alone automatically updated," incorporating his earlier testimony

on this issue. Appx3165 (incorporating Appx3131-3134 and Appx3155-3162).

Dr. AlRegib's testimony, in paragraphs 96 through 98, discussed his interpretation

of the term, "dynamically," and how dictionary definitions supported his

interpretation of how that term is used in the context of the technology disclosed in

the '938 Patent. Such testimony is within Dr. AlRegib's technical expertise, and it

was error for the Board not to consider it. Teva Pharms. USA, Inc. v. Sandoz, Inc.,

574 U.S. 318, 332 (2015) ("[e]xperts may be examined to explain terms of art, and

the state of the art, at any given time").

      E.     The Board erred in finding that Lee renders obvious claims 17
             and 18

      In finding that Lee renders obvious claims 17 and 18, the Board erred by

rewriting the claim language. The Board found that the element, "at least one of the

plurality of computing devices is configured to control provision of the media

content streaming service to the first computing device and the second computing

device from a server remote from the system," only required that "Lee's home server

controls provision of the service to client 1 and client 2, and at least some portion of


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the service (namely, content) comes from a remote server." Appx66; Appx69. This

interpretation cannot be squared with the plain language of the claim.

      The Board's findings on claims 17 and 18 should be reviewed de novo because

the parties' dispute relates to claim scope with respect to "control provision of the

media content streaming service . . . from a server remote from the system." Even

under a substantial evidence review, the Board's determination is erroneous.

      The Board's factual findings regarding Lee's disclosure were undisputed.

Appx68. The Board found that Lee's "external server is the source of the multimedia

content that is ultimately streamed to the client devices." Id. The Board correctly

found that "Lee's home server acquires content from the external server." Id.

Critically, the Board found that "the home server controls provisioning of the service

by providing a recommended list of content and streaming content to the client

devices using that list." Id.

      Lee's system, however, cannot satisfy the claim limitations. Claim 18 requires

that "at least one of the plurality of computing devices is configured to control

provision of the media content streaming service to the first computing device and

the second computing device from a server remote from the system." Appx104

(17:47-53) (emphasis added). That is, the provision of the media content streaming

service must be received at the first computing device from the remote server. Id.;




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Appx3086; Appx4296 (89:14-24). The Board found that the home server, not the

remote server, controls provision of the service to the client devices. Appx68.

      The plain language of claims 17 and 18 contradicts the Board's contention that

"the claim does not preclude content being cached on Lee's home server after it is

received from the external server and before it is provided to the client devices."

Appx70. The plain meaning of "configured to control provision of the media content

streaming service to the first computing device . . . from a server remote from the

system," requires the remote server to provide the media content streaming service

to the first computing device. The claim identifies the sender (the remote server)

and the recipient (the first computing device).

      The Board wrongly found that "claims 17 and 18 do not use antecedent basis

to indicate that the control referenced in these claims is the same as the control

recited in claim 1." Appx69 (n.29). Claim 1 recites "a plurality of computing

devices . . . configured to . . . control provision of a media content streaming service

to a first computing device." Appx103 (15:53-63). Claim 18 further limits this

claim 1 recitation by requiring that "at least one of the plurality of computing devices

is configured to control provision of the media content streaming service to the first

computing device and the second computing device from a server remote from the

system." Appx104 (17:47-53). Thus, the controlling provision in claim 18 is the

same controlling provision referenced in claim 1. This claim 18 recitation cannot be



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satisfied by the home server controlling provision of the media content to the

computing devices, as taught by Lee.

      Claims 17 and 18 are similar to the claims in Apple Inc. v. MPH Technologies

Oy, 28 F.4th 254, 261 (Fed. Cir. 2022). In Apple, the disputed claim recited

"intermediate computer configured to receive from a mobile computer a secure

message sent to the first network address." Id. The Federal Circuit held that the

plain meaning of this term requires the mobile computer to send the message to the

first network address, not merely that the first network address ultimately receives

the message. Id. The Federal Circuit explained that "[t]he proximity of the concepts

links them together, such that a natural reading of the phrase conveys the mobile

computer sends the secure message to the first network address." Id. (emphasis in

original).

      Here, like Apple, the proximity of the terms "to" and "from" in claims 17

and 18 links them together such that the natural reading of the phrase conveys that

the server remote from the system provides the media content streaming service to

the first computing device. The plain language establishes provision from the

remote server, not provision from the home server. Appx3173 (¶113).

      For Lee to satisfy these claims, it must disclose first and second computing

devices receiving provision of the service from the remote server, not just from the

home server. Appx3086. Lee teaches nothing of the sort. Lee teaches that, in the



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disclosed system, all content is provided from the home server itself (not any

external server) to the clients. Id.; Appx1129; Appx3173-3174 (¶114).

      Indeed, the use of the home server as the streaming platform is the entire

purpose of Lee's proposed system.       Appx3174-3178 (¶115).       Lee identifies a

problem that "most users do not have fast enough connections to quickly download

multimedia data." Appx1130 (§1). To solve this problem, Lee proposes the system

of Figure 1, in which all content (including content received from an external server)

is first stored on the home server, and then streamed from the home server to the

clients. Appx3174-3178 (¶115). Figure 1 illustrates this solution in which the only

device with a connection to an external server (separated from the home network by

the annotated vertical line in the figure reproduced above) is the home server itself.

Id. This provision from the home server does not satisfy the plain language of the

claims.

      F.     The Board erred in finding that Lee and Smith render obvious
             claims 12, 16, 26, and 29

      The Board's finding that it would have been obvious to modify Lee in view of

Smith to arrive at the inventions of claims 12, 16, 26, and 29 is not supported by

substantial evidence. Appx76-85. The Board erred by construing the complex

Smith reference and concluding, contrary to the only expert testimony of record, that

a POSITA would have been motivated to modify Lee in light of Smith.




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      Claim 12 requires that "at least one of the plurality of computing devices is

configured to control provision of the media content streaming service to the first

computing device and the second computing device by selecting a version of content,

from a plurality of stored versions of content, to be streamed to the first computing

device or the second computing device based on the information identifying content

reproduction capabilities corresponding to the first computing device or the second

computing device." Appx104 (17:4-14) (emphasis added). Claims 16, 26, and 29

contain similar limitations requiring selecting a version of content, from a plurality

of stored versions of content, to be streamed to the first device. The Board

acknowledged that "Lee does not teach selecting a version of content for streaming

from a plurality of stored versions." Appx79. The Board instead relied on Smith to

teach this limitation, finding, without expert testimony, that a POSITA would have

found it obvious to combine Lee with Smith's teachings of "pre-materializ[ing]

alternate versions of the Internet content" to store alternate versions of content on

Lee's home server. Appx76.

      To prove a claimed invention obvious, however, "it is not enough to simply

show that the [prior art] references disclose the claim limitations." Transocean

Offshore Deepwater Drilling, Inc. v. Maersk Contractors USA, Inc., 617 F.3d 1296,

1303-04 (Fed. Cir. 2010). The Board must also show that a skilled artisan "would

have been motivated to combine the prior art" to achieve the claimed invention with



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"a reasonable expectation of success in doing so." Personal Web Techs., LLC v.

Apple, Inc., 848 F.3d 987, 991 (Fed. Cir. 2017). This includes "identify[ing] a

reason that would have prompted" a skilled artisan "to combine the elements in the

way the claimed [] invention does." KSR Int'l Co. v. Teleflex Inc., 550 U.S. 398, 418

(2007). The Board's review of the prior art—supported only by attorney argument—

lacks substantial evidence to support its conclusion that a POSITA would have been

motivated to combine the elements as claimed.

      First, as Avago's expert explained, adopting Smith's pre-materialization mode

would run counter to Smith's preferred mode of operation. Appx3183 (¶124).

"[E]ven if a reference is not found to teach away, its statements regarding

preferences are relevant to a finding regarding whether a skilled artisan would be

motivated to combine that reference with another reference." Polaris Indus., Inc. v.

Arctic Cat, Inc., 882 F.3d 1056, 1069 (Fed. Cir. 2018); Apple Inc. v. Samsung Elecs.

Co., 839 F.3d 1034, 1051 n.15 (Fed. Cir. 2016) (en banc). Smith's preferred mode

of operation is to transcode content dynamically in real-time. Appx3096; Appx3183

(¶124). Smith "propose[s] that the transcoding system utilizes a policy engine to

evaluate the alternatives for adapting the content to the client devices."         Id.;

Appx1377 (§4). The policy engine gathers capabilities of the client and senses the

network conditions to define the transcoding options for the client. Id. (§4.1).




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      In fact, Avago's expert explained that Smith's pre-materialization mode

nullifies many of the advantages of Smith. Appx3183-3184 (¶125); Appx3096.

Smith teaches that the system should "optimize the selection of the content

alternatives" based on a number of factors, including different target modalities and

fidelities, data sizes, and maximum data sizes "derived from the user's specified

maximum loadtime and the network conditions." Id.; Appx1377-1378 (§4.2). The

"benefits of such optimization largely would be lost in an implementation" that pre-

materialized the alternate versions of content "because the disclosed optimization is

necessarily multi-factorial and depends on multiple real-time conditions."

Appx3183-3184 (¶125); Appx3096-3097. Modifying Lee to incorporate Smith's

pre-materialization would eliminate Smith's benefits. See Polaris, 882 F.3d at 1069.

      Second, the structure of Lee's system demonstrates that a POSITA would not

have been motivated to adopt Smith's pre-materialization. Appx3097. In a home-

server based network such as Lee's, different clients (e.g., a TV, a tablet, a phone, a

PC) might all have quite different capabilities. Id.; Appx3184 (¶126). To pre-

materialize optimized alternative versions, the home server would have to store

different versions of each piece of content (e.g., a movie, song, etc.). Id. A POSITA

would have recognized that in a home-server based system, storage is limited, while

client load is generally low (with rarely more than a few users consuming content

simultaneously). Appx3184-3185 (¶127).



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      The Board set aside Avago's expert testimony and responded to Avago's

arguments with the red herring argument that claim 12 does not require that all

versions of content be stored on Lee's home server or that content to be streamed

always be selected from the stored versions. Appx82. Even if the Board's reading

of claim 12 is correct, a POSITA would still not be motivated to modify Lee to adopt

Smith's prematerialization mode given the storage and bandwidth constraints of

Lee's system in light of Smith's solution that provides dynamic, real-time

transcoding. Appx3184-3185 (¶127).

      The Board's suggestion that the inferior combination still supports Netflix's

rationale is not the correct analysis. Appx83. "[O]bviousness concerns whether a

skilled artisan not only could have made but would have been motivated to make"

the modifications necessary. Belden Inc. v. Berk-Tek LLC, 805 F.3d 1064, 1073

(Fed. Cir. 2015) (emphasis in original). "The benefits, both lost and gained, should

be weighed against one another." Henny Penny Corp. v. Frymaster LLC, 938 F.3d

1324, 1332 (Fed. Cir. 2019) (citation omitted) (emphasis in original). The weighing

of tradeoffs "is consistent with the longstanding principle that the prior art must be

considered for all its teachings, not selectively." Id. The Board lacks any analysis

of the tradeoffs associated with adopting Smith's pre-materialization. Instead, the

Board concludes, based on attorney argument alone, that a POSITA would have been

motivated. The Board's conclusion is despite the only expert testimony of record



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explaining the many reasons why a POSITA would not have been motivated to

modify Lee as Netflix alleges. Appx3182-3186 (¶¶123-130). The Board's reliance

on Netflix's attorney argument despite contrary expert testimony does not rise to the

level of substantial evidence.

                                 CONCLUSION

      For these reasons, the Board's determination that claims 1-29 are unpatentable

should be reversed or, at a minimum, vacated and remanded.

                                            Respectfully submitted,

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                Addendum
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Final Written Decision                                                      2/6/2023   Appx1

U.S. Patent No. 10,911,938 to Karaoguz et al. ("the                                    Appx90
'938 Patent")




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Trials@uspto.gov                                               Paper 44
Tel: 571-272-7822                                 Date: February 6, 2023


        UNITED STATES PATENT AND TRADEMARK OFFICE
                        ____________

         BEFORE THE PATENT TRIAL AND APPEAL BOARD
                        ____________

                           NETFLIX, INC.,
                             Petitioner,
                                  v.
    AVAGO TECHNOLOGIES INTERNATIONAL SALES PTE. LIMITED,
                        Patent Owner.
                        ____________

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                         Patent 10,911,938 B2
                            ____________


Before KRISTEN L. DROESCH, NATHAN A. ENGELS, and
JULIET MITCHELL DIRBA, Administrative Patent Judges.

DIRBA, Administrative Patent Judge.




                             JUDGMENT
                         Final Written Decision
            Determining Some Challenged Claims Unpatentable
                           35 U.S.C. § 318(a)




1
  IPR2021-01334 and IPR2021-01335 have been consolidated with the
instant proceeding.




                                Appx1
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IPR2021-01298
Patent 10,911,938 B2

      In this inter partes review, Netflix, Inc.2 (“Petitioner”) challenges the
patentability of all thirty claims of U.S. Patent No. 10,911,938 B2 (Ex. 1001,
“the ’938 patent”), which is assigned to Avago Technologies International
Sales Pte. Ltd (“Patent Owner”). For the reasons explained below,
Petitioner has shown that claims 1–29 of the ’938 patent are unpatentable,
and it has not shown that claim 30 of the ’938 patent is unpatentable.

                              I. BACKGROUND
      A. History of this Proceeding

      This is a consolidated proceeding. In July and August of 2021,
Petitioner filed three petitions requesting inter partes review of the ’938
patent: in IPR2021-01298, Petitioner challenged claims 1, 2, 6–9, 17–20,
22, 23, 25, and 30 (Paper 2 (“Pet.”)); in IPR2021-01334, Petitioner
challenged claims 3–5, 21, 24, 27, and 28 (Paper 18 (“1334-Pet.”)); and in
IPR2021-01335, Petitioner challenged claims 10–16, 26, and 29 (Paper 19
(“1335-Pet.”)).3 In support of each petition, Petitioner submitted a
corresponding declaration from Stephen Gray. See Ex. 1003 (declaration
from the 1298 IPR); Ex. 1030 (declaration from the 1334 IPR), Ex. 1031
(declaration from the 1335 IPR). After reviewing the preliminary record in
each proceeding, we determined that Petitioner had demonstrated a
reasonable likelihood that it would prevail in establishing the unpatentability


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  Petitioner also identifies Netflix Streaming Services, Inc. as a real party-
in-interest. Pet. 76.
3
  We refer to these proceedings as “the 1298 IPR,” “the 1334 IPR,” and “the
1335 IPR,” respectively. In this Decision, we use prefixes “1334” and
“1335” to denote papers originally filed in the 1334 IPR and 1335 IPR,
respectively. We do not use a prefix for papers filed in the 1298 IPR.

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                                    Appx2
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of at least one claim challenged in that proceeding, and we instituted the
requested inter partes reviews. See Paper 14 (“Inst. Dec.”); Netflix, Inc. v.
Avago Techs. Int’l Sales Pte. Ltd., IPR2021-01334, Paper 15 (“1334-Dec.”);
Netflix, Inc. v. Avago Techs. Int’l Sales Pte. Ltd., IPR2021-01335, Paper 14
(“1335-Dec.”). After institution, we consolidated the 1334 and 1335 IPRs
with this proceeding (the 1298 IPR), terminated the 1334 and 1335 IPRs,
and ordered the parties to supplement the record of this proceeding with the
petitions and necessary exhibits from the 1334 and 1335 IPRs. Paper 16
(Consolidation Order).
      During trial, Patent Owner filed a Response (Paper 23, “PO Resp.”),
and in support, Patent Owner submitted testimony from Ghassan AlRegib
(see Ex. 2018). Petitioner then filed a Reply (Paper 31, “Pet. Reply”), which
cited an additional declaration from Mr. Gray (see Ex. 1039). Finally,
Patent Owner filed a Sur-reply (Paper 32, “PO Sur-reply”). In addition,
Patent Owner deposed Mr. Gray and filed the corresponding transcripts (see
Exs. 2019–2020), and Petitioner deposed Dr. AlRegib and filed the
corresponding transcripts (see Exs. 1041–1042).
      With our authorization (Paper 36), Petitioner filed a table identifying
arguments in Patent Owner’s Sur-reply that are allegedly untimely (Paper
38), and Patent Owner responded (Paper 39). For the reasons explained
below, we agree with Petitioner that the Sur-reply includes untimely new
arguments, but we determine that those arguments would not have been
persuasive even if they had been properly raised. See infra § II.E.1.b.ii
(addressing Lee’s usage history).
      An oral hearing in this proceeding was held on November 10, 2022,
and a transcript of the hearing is included in the record. Paper 43 (“Tr.”).


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                                    Appx3
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Patent 10,911,938 B2

Petitioner objected to slides 46–51 of Patent Owner’s demonstratives
(Paper 42), but we dismiss those objections as moot (see infra Part III).

         B. Related Matters

         The parties indicate that the ’938 patent has been asserted in two
district court lawsuits: CA, Inc. v. Netflix, Inc., 2:21-cv-00080 (E.D. Tex.)
and Netflix, Inc. v. CA, Inc., 3:21-cv-3649 (N.D. Cal.). Pet. 76; Paper 6
(Patent Owner Mandatory Notices), 1. As noted above, IPR2021-01334 and
IPR2021-01335 challenged the same patent and have been consolidated with
this proceeding. The parties identify no other related proceedings.

         C. The Grounds

         We instituted trial on the following grounds of unpatentability:
           Claim(s) Challenged                35 U.S.C. § 4    Reference(s)/Basis
    1–4, 6–9, 17–25, 27, 28, 30               102(a)          Lee 5
    1–4, 6–11, 13–15, 17–25, 27, 28, 30       103(a)          Lee
    5                                         103(a)          Lee, Glance6
    10–16, 26, 29                             103(a)          Lee, Smith 7

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  The Leahy-Smith America Invents Act (“AIA”), Pub. L. No. 112-29, 125
Stat. 284, 285–88 (2011), revised 35 U.S.C. §§ 102, 103 effective March 16,
2013. We refer to the pre-AIA versions of §§ 102 and 103, but our findings
would be the same if we had applied the current versions of these statutes.
5
  Lee, Yun-Ju, et al., “Development of a Seamless Data Streaming System
Based on User Preference and Device Information.” SERA’06: Fourth
International Conference on Software Engineering Research, Management
and Applications (IEEE 2006) (Ex. 1004). We are persuaded that Lee
qualifies as prior art. See Ex. 1004, 1; Ex. 1015 ¶¶ 8–11 (cited in Pet. 10).
6
     US 6,947,922 B1, issued September 20, 2005 (Ex. 1016).
7
  Smith, John R., et al., “Transcoding Internet Content for Heterogeneous
Client Devices.” ISCAS ’98: Proceedings of the 1998 IEEE International

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See Inst. Dec. 3; 1334-Dec. 4; 1335-Dec. 4.

       D. Summary of the ’938 Patent
       The ’938 patent is titled “Method and System for a Networked Self-
Configuring Communication Device Utilizing User Preference Information,”
and the application that led to this patent was filed on March 30, 2020,
claiming the benefit of a provisional filed on June 12, 2007. Ex. 1001, codes
(22), (54), (60), (63).
       Figure 1A (reproduced below) shows an exemplary system according
to an embodiment of the invention. Ex. 1001, 3:49–51.




Symposium on Circuits and Systems (IEEE 1998) (Ex. 1017). We are
persuaded that Smith qualifies as prior art. See Ex. 1017, 1; Ex. 1018 ¶¶ 8–
11 (cited in 1335-Pet. 12).

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As shown above, Figure 1A includes “a personal electronic (PE) device 102,
a local wireless device 104a, a local networked device 104b, a remote
device 104c, and an access point 106.” Ex. 1001, 3:51–54. This figure also
includes several networks (108, 110, 112, 114, 116, 118) that connect these
components. Id. at 3:55–60. The Specification states: PE device 102 may
be “a [s]martphone, a cellphone, a PDA, [or] a multimedia device” (id.
at 4:9–15); local wireless device 104a may be “a high-definition television
(HDTV) set, a dedicated audio system, and/or a digital video player device”
(id. at 5:1–5); local networked device 104b may be “a personal computer
(PC), a printer, scanner, and/or fax device” (id. at 5:28–31); and remote
device 104c may be substantially similar to local devices 104a and 104b (id.
at 5:32–35).
      The ’938 patent states that a first PE device may generate, update,
and/or store “user configuration information” (e.g., Ex. 1001, 3:31–33,
code (57)), and a second PE device may download that user configuration
information and configure itself using that information (e.g., id. at 3:42–48,
code (57)). “The user configuration information may comprise information
pertaining to device configuration and/or operational preferences specific to
the device user and/or various use settings, connectivity, and/or use of
available resources.” Id. at code (57). It can also include other information:
      The user configuration information may comprise, for example,
      information pertaining to device configuration and/or
      operational preferences specific to the device user and/or
      various use settings, network connectivity, service access,
      secure access information, network and service access
      information and/or preferences that are unique to particular
      users, and/or manner of use of available resources. For
      example, the user configuration information may specify
      various user specific device operational preferences, comprising


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      favorite broadcast channels and/or website, favorite games,
      game status information, and media consumption settings.
      Exemplary media consumption settings may comprise file types
      and/or video or audio presentation preferences, website access
      information, user interface configuration preferences, and/or
      directory information. The user configuration information may
      also specify particular devices, for example, the remote
      device 104c, which may be accessed to perform certain type of
      operations and/or to store and retrieve specific category of data.
Id. at 7:49–67.

      E. Challenged Claims
      All claims of the ’938 patent (i.e., claims 1–30) are challenged in this
consolidated proceeding. Of these, claims 1, 23, 27, and 30 are independent.
Independent claim 1 is illustrative:
             1.    [1pre] A system comprising:
            [1a] a plurality of computing devices connected via one
      or more networks,
            [1b] wherein the system is configured to receive login
      information corresponding to a first user;
            [1c] identify the first user based on the login
      information;
            [1d] retrieve user configuration information
      corresponding to the first user;
            [1e] control provision of a media content streaming
      service to a first computing device of the plurality of computing
      devices based on the user configuration information
      corresponding to the first user;
            [1f] update the user configuration information
      corresponding to the first user based on the provision of the
      media content streaming service to the first computing device;
             [1g] receive login information corresponding to the first
      user from a second computing device of the plurality of
      computing devices;

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            [1h] identify the first user based on the login information
      received from the second computing device;
            [1i] retrieve the updated user configuration information
      corresponding to the first user; and
            [1j] control provision of the media content streaming
      service to the second computing device based on the updated
      user configuration information corresponding to the first user.
Ex. 1001, 15:53–16:11 (references added in brackets).

                                 II. ANALYSIS

      A. Legal Standards

      A patent claim is unpatentable under 35 U.S.C. § 103(a) if the
differences between the claimed subject matter and the prior art are “such
that the subject matter as a whole would have been obvious at the time the
invention was made to a person having ordinary skill in the art to which said
subject matter pertains.” KSR Int’l Co. v. Teleflex Inc., 550 U.S. 398, 406
(2007). The legal question of obviousness is resolved on the basis of
underlying factual determinations including (1) the scope and content of the
prior art; (2) any differences between the claimed subject matter and the
prior art; (3) the level of ordinary skill in the art; and (4) when in evidence,
objective evidence of obviousness or nonobviousness.8 Graham v. John
Deere Co. of Kansas City, 383 U.S. 1, 17–18 (1966). One seeking to
establish obviousness based on more than one reference also must articulate
sufficient reasoning with rational underpinnings to combine teachings. See
KSR, 550 U.S. at 418.



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  The record does not include allegations or evidence of objective indicia of
obviousness or nonobviousness.

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      In an inter partes review, the petitioner has the burden of proving
unpatentability by a preponderance of the evidence. 35 U.S.C. § 316(e).
That burden never shifts to the patentee. Dynamic Drinkware, LLC v. Nat’l
Graphics, Inc., 800 F.3d 1375, 1378 (Fed. Cir. 2015).
      We implement procedures to facilitate a just, speedy, and inexpensive
resolution of the proceeding (see 37 C.F.R. § 42.1(b)), and to that end, we
place limitations on the contents of reply and sur-reply briefs and the parties’
oral hearing presentations. Any arguments presented in the Reply or Sur-
reply that are not fairly responsive to arguments raised in the preceding
merits brief are untimely and forfeited. See id. § 42.23(b) (limiting scope of
replies and sur-replies); Trial Practice Guide9 73–74 (explaining that “replies
and sur-replies can help crystalize issues for decision” but cannot “proceed
in a new direction with a new approach” or belatedly raise new issues or
evidence); see also Trial Practice Guide 73 (explaining that a petitioner
“may not submit new evidence or argument in reply that it could have
presented earlier, e.g. to make out a prima facie case of unpatentability”).
Similarly, any arguments for patentability that Patent Owner did not raise in
the Response are forfeited. See Paper 15 (Scheduling Order), 9 (cautioning
Patent Owner that “any arguments not raised in the response may be deemed
waived”); 10 Trial Practice Guide 52; see also In re NuVasive, Inc., 842 F.3d
1376, 1380–82 (Fed. Cir. 2016) (holding that argument raised in the


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  PTAB Consolidated Trial Practice Guide (Nov. 2019), available at
https://www.uspto.gov/TrialPracticeGuideConsolidated.
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   See In re Google Tech. Holdings LLC, 980 F.3d 858, 862–63 & n.8 (Fed.
Cir. 2020) (explaining that “forfeiture is the failure to make the timely
assertion of a right” and noting that the court and parties have sometimes
used the term “waiver” when applying the doctrine of forfeiture).

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preliminary response but not raised in a patent owner response was waived).
We limited the parties’ oral hearing presentations to arguments made in their
briefs. Paper 37 (Order Setting Argument), 2–3; Tr. 4:16–18; see Trial
Practice Guide 85–86. Any new arguments raised at oral hearing are
untimely and also forfeited. See also Dell Inc. v. Acceleron, LLC, 818 F.3d
1293, 1301 (Fed. Cir. 2016) (holding Board erred by relying on argument
first presented at oral hearing).

      B. The Level of Ordinary Skill in the Art

             1. Adopted Level of Skill
      Our reviewing court has explained that “the level of skill in the art is a
prism or lens through which a judge, jury, or the Board views the prior art
and the claimed invention.” Okajima v. Bourdeau, 261 F.3d 1350, 1355
(Fed. Cir. 2001) (citing Al-Site Corp. v. VSI International, Inc., 174 F.3d
1308, 1324 (Fed. Cir. 1999)). “This reference point prevents these
factfinders from using their own insight or, worse yet, hindsight, to gauge
obviousness.” Id.
      Petitioner asserts that the level of ordinary skill in the art corresponds
to: (1) “a bachelor’s degree in computer science, electrical engineering, or
[a] similar field” and “three years of experience in networked
communication devices,” or (2) “a master’s degree in electrical engineering,
computer science, or a similar field with an emphasis in networked
communication devices.” Pet. 14 (citing Ex. 1003 ¶¶ 49–51). For purposes
of the Institution Decision, we adopted Petitioner’s proposal. Inst. Dec. 7.11


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   Unless otherwise noted, the 1334-Petition, the 1335-Petition, the 1334-
Institution Decision, and/or the 1335-Institution Decision include

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      Patent Owner largely agrees with Petitioner’s definition, but submits
that an ordinarily skilled artisan would have had experience in “streaming
content” rather than “networked communications.” PO Resp. 19 (citing
Ex. 2018 ¶ 22). According to Patent Owner, Petitioner “disregards the
import of the claims, which unquestionably are directed to the use of [user
configuration information] to control provision of streaming content services
rather than any particular networking protocols or technology.” Id. at 20.
Patent Owner explains that the distinction is important because Petitioner’s
expert, Mr. Gray, has less than three years of experience with streaming
content. Id.; see also Tr. 49:16–24.
      Petitioner responds that “[t]he field of the ’938 patent is networked
communication devices.” Pet. Reply 34 (citing Ex. 1001, 1:57–61).
Petitioner submits that Patent Owner fails to identify any support in the
Specification for limiting the field to streaming content, and Petitioner
contends that the Specification contains only two passing references to
streaming. Id. (citing Ex. 1001, 5:34, 6:51). Patent Owner did not respond
to these arguments. See PO Sur-reply 35–36.
      Having considered the parties’ arguments and the evidence of record,
we agree with Petitioner’s proposal and determine that the level of ordinary
skill in the art corresponds to: (1) a bachelor’s degree in computer science,
electrical engineering, or a similar field and three years of experience with
networked communication devices, or (2) a master’s degree in electrical
engineering, computer science, or a similar field with an emphasis in
networked communication devices. Accord Inst. Dec. 7. We are persuaded


substantially the same contentions, analysis, and/or determinations as the
Petition and the Institution Decision in the 1298 IPR.

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that this definition comports with the level of skill necessary to understand
and implement the teachings of the ’938 patent.12 The Specification of the
’938 patent specifically states that the field of the invention relates to
networked communication devices (Ex. 1001, 1:57–61), and it describes the
networks connecting those devices (e.g., id. at 1:65–2:52, 5:50–7:40). As
Petitioner notes (see Pet. Reply 34), the Specification includes only a few
passing references to streaming. See Ex. 1001, 2:39–41 (noting that cellular
services include features such as “video streaming”), 5:29–35 (noting that
local service resource 104a may provide multimedia streaming to PE
device 102), 6:47–51 (similar). As a result, we do not agree that an
ordinarily skilled artisan would have had three years of experience in
“streaming content.” See PO Resp. 19. Patent Owner’s contrary argument
relies exclusively on the claim’s recitation of “control[ling] provision of a
media content streaming service” (id. at 19–20), but as we explain in more
detail below, Patent Owner erroneously assumes that this requires streaming.
See infra § II.C.

             2. Mr. Gray’s Testimony

      The parties’ arguments regarding the level of ordinary skill in the art
reveal a second issue. Patent Owner argues that we should not consider


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   We have focused on the ’938 patent because the parties identify no other
persuasive evidence. See Tr. 49:25–50:8. For example, neither party
identifies evidence regarding the various factors that can inform this inquiry.
See, e.g., Ruiz v. A.B. Chance Co., 234 F.3d 654, 666–67 (Fed. Cir. 2000)
(identifying factors). Also, Patent Owner’s reliance on Dr. AlRegib’s
testimony on this topic (see Ex. 2018 ¶¶ 22–23) is unavailing because he
provides only unsupported, conclusory assertions. See 37 C.F.R. § 42.65(a)
(conclusory expert testimony is entitled to little or no weight).

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Mr. Gray’s testimony because he has a degree in economics and lacks a
technical degree as required by both parties’ definitions (PO Resp. 20–21),
i.e., a bachelor’s or master’s degree in computer science, electrical
engineering, or a similar field (Pet. 14; PO Resp. 19). Patent Owner is
correct that Mr. Gray does not have the technical degree required by our
articulation of the level of ordinary skill. See Ex. 1003, 161 (identifying a
degree of “BS, Economics”). Petitioner asserts that Mr. Gray’s work
experience qualifies him as a person of ordinary skill in the art under either
party’s definition, but does not squarely address his lack of a technical
degree. See Pet. Reply 34–35. But see Tr. 40:1–41:1 (Petitioner arguing
generally that Mr. Gray’s “years of work experience” are “comparable to
that undergraduate degree”), 38:13–17 (Petitioner arguing that Petitioner’s
definition allows more or less education), 46:3–13 (Patent Owner arguing
that the Petition does not allow for less education).
      We cannot rely on Mr. Gray’s testimony regarding the knowledge and
understanding of an ordinarily skilled artisan if he does not “at a minimum
possess ordinary skill in the art.” Kyocera Senco Indus. Tools Inc. v. Int’l
Trade Comm’n, 22 F. 4th 1369, 1376–77 (Fed. Cir. 2020) (“To offer expert
testimony from the perspective of a skilled artisan in a patent case—like for
claim construction, validity, or infringement—a witness must at least have
ordinary skill.”). In this Decision, we decline to rely on Mr. Gray’s
testimony. We need not (and do not) resolve whether he qualifies as an
ordinarily skilled artisan because, as shown by our analysis below, relying
on his testimony would not have changed our patentability determinations.
Given Lee’s disclosure, Petitioner’s contentions, and the technology at issue,
we need not rely on Mr. Gray’s testimony in this proceeding. See Fanduel,


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Inc. v. Interactive Games LLC, 966 F.3d 1334, 1344 (Fed. Cir. 2020)
(stating that Board does not need to rely on expert testimony in reaching its
factual findings); Belden Inc. v. Berk-Tek LLC, 805 F.3d 1064, 1079 (Fed.
Cir. 2015) (“Even in court . . . ‘expert testimony is not required when the
references and the invention are easily understandable.’ And Board
members, because of expertise, may more often find it easier to understand
and soundly explain the teachings and suggestions of prior art without expert
assistance.” (quoting Wyers v. Master Lock Co., 616 F.3d 1231, 1242 (Fed.
Cir. 2010))).

      C. Claim Construction

      We interpret claim terms using “the same claim construction standard
that would be used to construe the claim in a civil action under 35 U.S.C.
282(b).” 37 C.F.R. § 42.100(b). Under the principles set forth by our
reviewing court, the “words of a claim ‘are generally given their ordinary
and customary meaning,’” as would be understood by a person of ordinary
skill in the art in question at the time of the invention. Phillips v. AWH
Corp., 415 F.3d 1303, 1312 (Fed. Cir. 2005) (en banc) (quoting Vitronics
Corp. v. Conceptronic, Inc., 90 F.3d 1576, 1582 (Fed. Cir. 1996)).
      In the Petition, Petitioner addresses the construction of “user
configuration information” and “computing device,” which both appear in
each independent claim. Pet. 15–18. Petitioner contends that “user
configuration information” (“UCI”) “may be satisfied by (but is not
necessarily limited to) any of the following, either individually or in the
aggregate: information pertaining to (a) device configuration, (b) operational
preferences specific to the device user, or (c) various use settings including
connectivity and/or use of available resources.” Id. at 15–16. Petitioner

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further contends that “computing devices” is a means-plus-function term.
Id. at 16–18. In its preliminary response, Patent Owner did not address the
meaning of UCI, but disagreed with Petitioner’s construction of “computing
devices” and argued that claim 30 instead recites means-plus-function
limitations. Prelim. Resp. 36–51.
      In the Institution Decision, we provided our preliminary analysis of all
three claim construction issues. Inst. Dec. 8–13. First, we agreed with
Petitioner’s understanding of “user configuration information,” and we
explained that the Specification of the ’938 patent demonstrates that it “is a
broad term that includes, for example, device configuration information,
user preferences, and information regarding the way in which resources have
been used.” Id. at 9 (citing Ex. 1001, code (57), 7:50–52, 7:55–67, 14:56–
59). Based on the record at that stage, we determined that we did not need
to further delimit the scope of that term in order to evaluate Petitioner’s
unpatentability grounds. Id. Second, we determined that the term
“computing device” is not a means-plus-function term (id. at 10–11), and
third, we determined that independent claim 30 recites nine means-plus-
function limitations (id. at 11–13).
      At trial, neither party disagrees with the latter two determinations.
See PO Resp. 25 (expressly agreeing with claim 30 determination); Pet.
Reply; PO Sur-reply 6. Accordingly, for the reasons previously explained,
we reject the Petition’s contention that “computing device” is a means-plus-
function term, and we conclude that independent claim 30 recites nine
means-plus-function limitations. See Inst. Dec. 10–13. We provide
additional discussion of our conclusion regarding claim 30 in connection
with our substantive discussion of that claim. See infra § II.E.3.


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      As for “user configuration information” (or “UCI”), the parties
discuss the meaning of this term in their briefs. See PO Resp. 22–25; Pet.
Reply 31–34; PO Sur-reply 1–6. Patent Owner argues that this term should
be given “its plain and ordinary meaning, which is ‘information, related to a
user, that is used for configuration.” PO Resp. 22. Patent Owner explains
that, while the examples cited by Petitioner and relied upon by the Institution
Decision “can be UCI, those types of information are UCI only in cases
where they satisfy the plain and ordinary meaning of that term.” Id. at 23;
see also Tr. 50:13–20. Petitioner submits that Patent Owner attempts to
improperly narrow the claims. See Pet. Reply 31–33.
      We need not resolve these arguments because, even assuming that
UCI is “information, related to a user, that is used for configuration,” as
Patent Owner contends, we find that Petitioner has shown that the
challenged claims would have been obvious over the cited references. See
Nidec Motor Corp. v. Zhongshan Broad Ocean Motor Co., 868 F.3d 1013,
1017 (Fed. Cir. 2017) (noting that “we need only construe terms ‘that are in
controversy, and only to the extent necessary to resolve the controversy’”
(quoting Vivid Techs., Inc. v. Am. Sci. & Eng’g, Inc., 200 F.3d 795, 803
(Fed. Cir. 1999))). We explain this finding in our analysis of the disputed
UCI limitations. See infra § II.E.1.b.
      However, Patent Owner appears to indirectly advocate for a different,
narrower construction of this term, and we disagree that the term UCI should
be further limited. In particular, Patent Owner appears to argue that certain
information does not qualify as UCI because it is not “unique” to a user or
because it is not used to configure a “device.” See, e.g., PO Sur-reply 28–29
(arguing that UCI “must be specific to the user”); Tr. 54:1–55:13 (arguing


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that UCI must be “unique to that user”), 116:19–26 (arguing that device
information does not “update the next device”). Patent Owner does not
explain why “information, related to a user, that is used for configuration”
would need to be unique to a user (as opposed to being associated with a
user) or used to configure a device (as opposed to configuring something
else, such as the service recited by the claims). Patent Owner does not
directly address its implied constructions, and its arguments provide no
support for them. We also discern no such support. The Specification
indicates that “user configuration information” is a broad term. It states that
UCI “may be utilized in facilitating use of the PE device 102 by a particular
user to perform requested tasks, and/or in identifying and/or authenticating a
user,” and it provides a list of exemplary types of UCI, including device
configuration information, user preferences, and information regarding
content (e.g., “website access information” and “use settings”). Ex. 1001,
7:41–8:6. Further, the term UCI does not have a particular meaning in this
technical field that would impose additional requirements. See Tr. 56:13–
57:11. As a result, to the extent Patent Owner contends that UCI must be
unique to a user and used to configure the user’s device, we disagree.
      The parties also dispute whether and when something qualifies as “the
same UCI to satisfy each of the [claim limitations].” PO Resp. 24–25; see
Pet. Reply 33–34; PO Sur-reply 5–6. Patent Owner contends that the scope
of “the” UCI includes only a particular type of information for a given user,
but Patent Owner agrees that this UCI can be “updated” by changing only a
subset of the information. See Tr. 60:22–61:3, 62:10–20 (providing example
of adding a genre of movies to the user’s preferred movie genres); see also
id. at 59:21–63:6, 117:25–118:4. Petitioner contends that “the UCI”


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includes all types of information for a given user. See Tr. 34:3–15. We
need not resolve this dispute because we find that, even applying Patent
Owner’s understanding (as we do in our analysis), Petitioner has shown that
the challenged claims would have been obvious. See infra § II.E.1.b
(addressing disputed UCI limitations).
      Finally, we address the meaning of the phrase “provision of a media
content streaming service,” which appears in all independent claims.
Neither Patent Owner nor Petitioner proposes a construction for this phrase,
but we clarify some ambiguity relating to it. In particular, some of Patent
Owner’s arguments appear to equate this phrase with the streaming of media
content. See PO Sur-reply 30 (equating “the provisioning of the media
content streaming service” with “the provisioning of media content”); see
also Pet. Reply 28–29 (arguing Patent Owner conflates concepts). This
appears to be premised on Patent Owner’s understanding that the Petition
maps “provision[ing] . . . the service” to Lee’s streaming, rather than an
implied claim construction. See, e.g., PO Resp. 53–54 (arguing that the
Petition maps the service to streaming); Tr. 64:20–25 (arguing that the
Petition maps the service to streaming content), 114:4–16 (similar). But this
misunderstands the Petition’s contentions, which instead map the claimed
“provision[ing] . . . the service” to Lee’s service, which provides a
recommended content list, streams content, and performs other associated
functionality. See, e.g., Pet. 30–36, 42, 50–53; see also infra §§ II.E.1.b.i
(addressing phrase in context of Lee’s user preferences), II.E.1.b.iv
(addressing phrase in context of Lee’s client device information). Moreover,
to the extent Patent Owner advocates an implied construction of this phrase,
we disagree that it means streaming. The claimed phrase is “provision of a


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. . . service,” and the words “media content streaming” specify the type of
“service” provided. Thus, we determine that “control[ling] provision of a
. . . service”, as recited in the claims, can include, but is not limited to,
controlling streaming of media content.

       D. Summary of the Prior Art

              1. Lee (Ex. 1004)

       Lee describes “a server-client streaming system that enables seamless
multimedia content download.” Ex. 1004, Abstr. Lee’s system includes a
home server and multiple clients, i.e., “multimedia devices, such as personal
computers (PCs), televisions, laptop computers, and personal digital
assistants (PDA) [that] connect to the home network.” Id. § 1. The system
receives multimedia content from external sources, stores that content in the
home server, and plays it on the clients. Id. § 1.
       Figure 3 (reproduced below) provides a high-level block diagram of
the components of Lee’s system. Ex. 1004 § 2.




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As shown above, Figure 3 depicts: (1) a server that includes a server
streaming manager, user database, content database, and a pumping server,
and (2) a client that includes a client streaming manager, a user interface,
and a media player. Id. §§ 2.1–2.7.
      Figure 5 (reproduced below) depicts the operations performed in
Lee’s system. Ex. 1004 § 3.




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As shown above, Figure 5 shows Lee’s server exchanging information with
two clients, and it identifies ten exemplary steps performed by these
components. Id. at Fig. 5.
      In step 1, the first client (“client 1”) sends a login request to the
server. Ex. 1004 § 3.1. The server identifies the corresponding user with a
“user ID and password.” Id. If the user is a new user, a user profile is
created and saved. Id.; see id. at Fig. 6* (showing sample screen for “setting
up user preferences”). 13 In addition, the client sends “[d]evice



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   We find that an ordinarily skilled artisan would have understood Lee as
including a typographical error that swapped the illustrations for Figures 6

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[i]nformation” to the server. Id. at Fig. 5; see also id. §§ 2.2.2–2.2.3
(explaining that device information is sent to server).
      In step 2, the server sends a recommended content list to the client,
and from it, a user selects content for streaming. Ex. 1004 §§ 3.2–3.3,
Fig. 5. The list is based on: (1) “usage history, which is the information of
the content the user has played through the streaming service” and (2) “the
details of the user profile, which is based on the information set by users
regarding their preferred content title, actor and actress, director, producer,
and genre.” Id. § 3.1. In addition, the list is divided into content that is
“playable” on the device (or “activated”) and content that is “unplayable” (or
“inactivated”). Id. § 3.2. The server bases this determination on “the device
character information of the client that requests the streaming service,”
which can include “multimedia device playable media code, CPU capability,
display size, bit transmission rate, media playable time, network bandwidth,
etc.” Id.
      Client 1 then selects content for streaming (step 3), and the server
creates a pumping server and transmits content to client 1 for streaming
(steps 4 and 5). Ex. 1004, Fig. 5; see id. §§ 3.3–3.5. At some point, the user
stops playback of the media content (step 6), which causes “stop point
information” to be delivered to the server and saved in its database (steps 7
and 8). Id. at Fig. 5; see id. §§ 3.6–3.8.
      In step 9, a second client (“client 2”) seeks to resume streaming of the
paused content. Ex. 1004 § 3.9. To do this, client 2 first repeats steps 1 to 3.
Id. at Fig. 5; see id. § 3.9 (explaining that client 2’s process is similar to


and 7, so we refer to Figure 7 as Figure 6*. Accord Inst. Dec. 17 n.9;
Pet. 25.

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client 1 and that device information is sent to the server to determine
whether client 2 can handle the playback). If it is the same user on both
devices, streaming can be resumed at the prior stop point. Id. § 3.9. Finally,
in step 10, client 2 stops media playback. Id. § 3.10.

              2. Glance (Ex. 1016)

      Glance generates personalized content recommendations. Ex. 1016,
code (57). These recommendations are based on “implicit ratings” that are
determined from a user’s past interactions with other content. Id. at code
(57), 1:65–2:41, 3:26–31; see also id. at 2:2–5 (explaining that a benefit of
using an implicit rating is that it “is collected substantially non-intrusively
and at very low cost to the user”). In addition, Glance’s recommendations
can also be based on “explicit ratings,” which are provided by the user, for
example, when signing up for the service. Id. at 3:31–37; see also id. at
1:24–29. Glance teaches that user profiles and recommendations can be
organized by genre. Id. at 3:48–51, 4:5–14. For music content, for example,
the genres may include “jazz, classical, rock, pop, etc.,” and the “frequency
of recommendations per genre can be made to correspond to the relative
frequency with which the user listens to the respective [music] genres.” Id.
at 3:48–54.

              3. Smith (Ex. 1017)

      Smith describes “a network-based solution for transcoding Internet
content” in order to improve the utility of internet devices that “have limited
communication, processing, storage and display capabilities.” Ex. 1017,
Abstr.; see id. § 1 (exemplary devices are “personal digital assistants
(PDAs), hand-held computers, Internet-ready phones, and WebTVs”).


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      To that end, Smith describes a policy engine that “gathers the
capabilities of the client, the network conditions and the transcoding
preferences of the user and publisher” and, using that information, selects an
appropriate version of content “to be delivered to the client device.” Id. § 2;
see also id. § 4.1. “Various constraints of the devices affect the selection of
the content.” Id. § 4.1.3. For example, “the display, storage and processing
capabilities of the client devices eliminate the selection of individual
versions of the content.” Id. Smith contemplates versions of content that
differ in modality (e.g., video and an image) and/or fidelity (e.g., for video,
differing “[s]pacial size, temporal size, playback rate, [and/or] bit-rate”). Id.
§ 3.1. Smith states that its system may be deployed at a server, in which
case “[t]he system can pre-materialize the alternate versions” of content,
store those versions at the server, and then “merely select[] the versions of
the content to deliver to the client.” Id. § 2.

      E. Obviousness Ground Based on Lee Alone

      Petitioner contends that the subject matter of claims 1–4, 6–11, 13–15,
17–25, 27, 28, and 30 would have been obvious over Lee. Pet. 18–53; 1334-
Pet. 58–76; 1335-Pet. 62–68, 72–78.
      Patent Owner contends that Petitioner fails to show that Lee teaches
or suggests the UCI required by all claims. PO Resp. 25, 29–60; see id. at
61. In addition, Patent Owner contends that Petitioner’s showing for
independent claim 30 is insufficient (id. at 60–61), and Patent Owner
separately addresses dependent claim 6 (id. at 62–64), dependent claim 7 (id.
at 64–66), dependent claim 8 (id. at 66–67), dependent claims 9 and 25 (id.
at 67–68), and dependent claims 17 and 18 (id. at 68–77).



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             1. Independent Claim 1

                    a. Undisputed Limitations

      Petitioner contends that Lee discloses elements 1pre, 1a, 1b, 1c, 1g,
and 1h. Pet. 18–25, 43–46. Patent Owner does not dispute these
contentions. See PO Resp. For the reasons that follow, we are persuaded
that Petitioner has shown, by a preponderance of the evidence, that Lee
discloses these elements.
      Claim 1 begins: “A system comprising: a plurality of computing
devices connected via one or more networks . . . .” Ex. 1001, 15:53–55
(elements 1pre and 1a). Petitioner contends that Lee discloses these aspects
of the claim because Lee’s home server and client devices teach the claimed
“computing devices.” Pet. 18–20 (citing Ex. 1004, Figs. 1, 3, 5, Abstr.,
§§ 1, 2, 3, 3.10–4). We agree. Lee describes a system that includes a home
server as well as multiple client multimedia devices, such as a PC, TV,
notebook or PDA. E.g., Ex. 1004 § 1, Fig. 5. Accordingly, we find that Lee
discloses elements 1pre14 and 1a.
      Claim 1 next recites “wherein the system is configured to receive
login information corresponding to a first user” and “identify the first user
based on the login information.” Ex. 1001, 15:55–57 (elements 1b and 1c).
Petitioner contends that Lee discloses these limitations. Pet. 21–25.
According to Petitioner, Lee’s client receives login information (“user ID
and password”) from a user via the client’s user interface and Client



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   We need not determine whether the preamble (i.e., “[a] system,
comprising”) is limiting because Petitioner has sufficiently shown that Lee
teaches this aspect of the claim. See Vivid Techs., 200 F.3d at 803.

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Streaming Manager. Id. at 21–22 (citing Ex. 1004 §§ 2.1, 3.1, Figs. 3, 7*).15
Petitioner asserts that the client provides this login information to the server,
and the server uses it to identify the user. Id. at 23–25 (citing Ex. 1004
§§ 2.4.2, 3.1, Figs. 3, 5). We agree. Lee teaches that a user interface
receives a user’s input and provides “log-in information (user ID and
password) [to the Client Streaming Manager in the client] when the user logs
on.” Ex. 1004 § 2.1, Fig. 3. Lee’s server receives this information from the
client device and “identifies the user based on user ID and password.” Id.
§ 3.1, Fig. 3; see id. § 2.4.2, Fig. 5. Accordingly, we find that Lee discloses
elements 1b and 1c.
      In addition, claim 1 recites “receive login information corresponding
to the first user from a second computing device of the plurality of
computing devices” and “identify the first user based on the login
information received from the second computing device.” Ex. 1001, 16:1–5
(elements 1g and 1h). Petitioner contends that Lee discloses these
limitations because Lee’s server receives the original user’s login
information from a second client device (using the same login procedure
previously discussed) and thereby identifies the user. Pet. 43–46 (citing id.
at 18–25, 30–36; Ex. 1004 §§ 1, 2.1, 3.1, 3.9, Fig. 5, Abstr.). We agree. As
noted with respect to element 1b and 1c, we are persuaded that Lee discloses
receiving login information and identifying the user based on that
information. Moreover, Lee teaches that this same user can login using a




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   As noted above, we find that an ordinarily skilled artisan would have
understood Lee to have inadvertently swapped the images corresponding to
Figures 6 and 7, so we refer to Figure 6 as Figure 7*.

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second client device (“client 2”). Ex. 1004 § 3.9, Fig. 5, Abstr.
Accordingly, we find that Lee discloses elements 1g and 1h.

                    b. Disputed Limitations

      Petitioner contends that other limitations of claim 1—i.e., elements
1d, 1e, 1f, 1i, and 1j—are also taught or suggested by Lee. See Pet. 25–42,
46–53. Patent Owner disagrees. See PO Resp. 29–60.
      These disputed limitations all relate to “user configuration information
corresponding to the first user.” They recite:
            [1d] retrieve user configuration information
      corresponding to the first user;
            [1e] control provision of a media content streaming
      service to a first computing device of the plurality of computing
      devices based on the user configuration information
      corresponding to the first user;
            [1f] update the user configuration information
      corresponding to the first user based on the provision of the
      media content streaming service to the first computing device;
                                 *     *      *
            [1i] retrieve the updated user configuration information
      corresponding to the first user; and
            [1j] control provision of the media content streaming
      service to the second computing device based on the updated
      user configuration information corresponding to the first user.
Ex. 1001, 15:58–16:11 (emphases and element references added).
      Petitioner contends that Lee discloses element 1d. Pet. 25–30; see
also id. at 29–30 (arguing obviousness in the alternative). Specifically,
Petitioner contends that the claimed “user configuration information”
(“UCI”) is taught by: (1) user preferences, determined from Lee’s user
profile, (2) usage history, i.e., identification of content previously played by


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the user, (3) user conditions, i.e., content stop points indicating where
content playback was stopped, and/or (4) client device information, such as
media codec, CPU capability, and display size associated with a particular
client device. Id. at 25–27 (citing Ex. 1004 §§ 2.2.2, 2.4.2, 2.5, 3.1–3.2,
Fig. 6*). According to Petitioner, Lee’s server stores and manages each of
these types of user configuration information for each user. Id. at 27–29
(citing Ex. 1004, §§ 1, 2.4.2–2.5, 3–3.2, 3.6–3.9). Petitioner contends that
an ordinarily skilled artisan would have understood Lee to disclose that the
server retrieves this information from its database so that it could be used, as
further described below with respect to element 1e. Id. at 29–30 (citing id.
at 30–36).
      Petitioner next contends that Lee discloses element 1e. Pet. 30–36;
see also id. at 35 & n.6 (arguing obviousness in the alternative). First,
Petitioner contends that Lee’s server provides recommendations to a user
based on the user’s preferences, usage history, and client device information
(and those recommendations are shown on a content list) and streams
content to the user (via client 1) using that list. Id. at 30–33 (citing Ex. 1004
§§ 1, 2, 3–3.5, 4, Fig. 5, Abstr.). Second, Petitioner contends that Lee’s
server controls the manner in which content is streamed to a user (via a
client device, such as client 1) based on the content stop points (i.e., user
conditions). Id. at 33–35 (citing Ex. 1004 §§ 3, 3.3–3.9).
      Also, Petitioner contends that Lee teaches or suggests updating the
UCI, as required by element 1f. Pet. 36–42. In particular, according to
Petitioner, Lee teaches updating: (1) usage history by tracking what the user
has watched and using it for recommendations (id. at 37–38 (citing Ex. 1004
§§ 2.4.2–2.5, 3.1–3.5)), (2) user conditions by storing the stopping point


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when a user stops playback and logs off (id. at 39–40 (citing Ex. 1004
§§ 3.7–3.8)), and (3) client device information by storing and retrieving
information about client 1 (id. at 42 (citing Ex. 1004 §§ 2.2.2–2.2.3, 2.4.2,
3–3.2)). See also id. at 37–40 (arguing obviousness in the alternative
regarding usage history and user conditions). Further, Petitioner contends
that it would have been obvious in light of Lee’s teachings to update user
preferences manually via Lee’s user profile interface. Id. at 40–42 (citing
Ex. 1004, Fig. 6*). In the alternative, Petitioner contends that it would have
been obvious in light of Lee’s teachings to automatically update user
preferences based on the user’s viewing habits. Id. at 41–42.
       Finally, Petitioner contends that Lee discloses elements 1i and 1j in
two ways, as discussed above with respect to other elements of claim 1.
Pet. 46–53 (citing id. at 25–46); see also id. at 47, 49, 51, 53 (arguing
obviousness in the alternative). Specifically, Petitioner first contends that,
after the user logs into a new client device (i.e., client 2), Lee’s server
provides a recommended content list to client 2 based on the updated user
preferences, usage history, and client device information. Id. at 47–48, 51
(citing Ex. 1004 §§ 3.2, 3.9, Fig. 5). Petitioner also contends that Lee
resumes playback on client 2 based on the updated user conditions (i.e., stop
points) and updated client device information. Id. at 48–49, 52–53 (citing
Ex. 1004 §§ 3.6–3.9, Fig. 8).
       Patent Owner responds that Petitioner fails to identify any single
aspect of Lee that qualifies as UCI and satisfies each and every limitation of
the claim. PO Resp. 29–60. Patent Owner argues that “Petitioner provides a
scattershot explanation of why some UCI allegedly satisfies some limitations
. . . while other UCI allegedly satisfies other limitations . . . , with no


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coherent theory.” Id. at 30. According to Patent Owner, “Petitioner
purports to identify in Lee five alleged types of UCI: (1) user preferences,
(2) usage history, (3) user conditions, (4) client device information, and
(5) content recommendations,” but “[n]one of these types of information . . .
can satisfy each limitation of [c]laim 1.” Id. at 31–32 (citing Pet. 25–27, 30–
33; Ex. 2018 ¶ 42). Patent Owner argues that Lee’s user preferences cannot
be the claimed UCI because they fail to satisfy element 1f. Id. at 32–35.
Patent Owner also argues that Lee’s usage history fails to quality as UCI and
fails to satisfy elements 1d and 1e. Id. at 35–42. Patent Owner next argues
that Lee’s user conditions fail to satisfy element 1e. Id. at 43–48. Patent
Owner further argues that Lee’s client device information fails to qualify as
UCI and fails to satisfy elements 1d, 1e, and 1f. Id. at 48–55. Finally,
Patent Owner argues that Lee’s content recommendations also fail to satisfy
the claim’s limitations. Id. at 55–59.
       Having considered the parties’ arguments and evidence, we are
persuaded that Petitioner has shown, by a preponderance of the evidence,
that Lee teaches or suggests each of elements 1d, 1e, 1f, 1i, and 1j. In
particular, we agree with Petitioner that Lee’s user preferences, usage
history, user conditions, and client device information each teach the
claimed UCI, and that each of these mappings satisfy each claim limitation
(i.e., elements 1d, 1e, 1f, 1i, and 1j).
       Below, we address each type of UCI in turn.16 Based on our findings
regarding any one of these types, we would determine that Lee teaches or
suggests elements 1d, 1e, 1f, 1i, and 1j.


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  We do not address Patent Owner’s arguments that Lee’s recommended
content list does not qualify as UCI (see PO Resp. 55–59) because we do not

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                         i. Lee’s user preferences

      Petitioner maps Lee’s user preferences to the claimed UCI and
contends this satisfies elements 1d, 1e, 1f, 1i, and 1j. Pet. 25, 27–32, 40–42,
47–48, 50–51; see also Pet. Reply 1 (summarizing relevant portions of
Petition). Patent Owner argues that this mapping is deficient because Lee
fails to teach “updat[ing]” user preferences “based on the provision of the
media content streaming service to the first computing device,” as required
by element 1f. PO Resp. 32–35; PO Sur-reply 7–11.
      Having considered the parties’ arguments and evidence, we are
persuaded that Petitioner has shown, by a preponderance of the evidence,
that Lee’s user preferences teach the claimed UCI, and Lee thereby teaches
or suggests elements 1d, 1e, 1f, 1i, and 1j.
      Lee’s server stores and maintains user preferences (such as preferred
genres and directors) for each user. E.g., Ex. 1004 §§ 1, 2.1, 2.4.2; see also
id. at Figs. 3–4 (showing that user preferences are stored in the server’s
“User Database” and managed with “User Manager”). After a user logs on
to the server, the server retrieves the corresponding user preferences and
provides a recommended content list to the user based on those preferences.
Id. §§ 3.1–3.2; see also id. §§ 1 (“This system is stored in a home server so
users can get media content recommendation depending on their preferences
. . . .”), 4 (similar). Lee’s server sends the recommended content list to
whichever client device the user is currently using. Id. §§ 3.9, 4, Figs. 5, 8.
From this, we find that Lee teaches that the home server retrieves user
preferences and controls provision of its service to client 1 and client 2 based


understand the Petition to include such a contention. Accord Inst. Dec. 19–
22 (summarizing the Petition’s mapping of UCI).

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on the user’s preferences. Accordingly, we are persuaded that Lee’s user
preferences teach the claimed UCI and satisfy elements 1d, 1e, 1i, and 1j.
      In addition, we are persuaded that Lee’s server updates the user
preferences, as required by element 1f, because Lee indicates that its server
updates its database when a user makes a manual update to his preferences.
In particular, Lee expressly teaches that a user can set his preferences in a
user interface when registering for the service (Ex. 1004 §§ 2.1, 3.1,
Fig. 6*), and an ordinarily skilled artisan would have assumed that these
preferences can be later changed by the user (see, e.g., id. at Abstr.
(referencing “storing/managing” user preferences), § 1 (proposing a system
that provides “intelligent recommendation[s] regarding the media content
[users] want based on the user preferences stored on the home server”)). As
a result, we find that Lee suggests manually updating the user preferences
using its user interface, and we find that such an update would have been
obvious in view of Lee. See Pet. 40–42; Pet. Reply 4–5; Perfect Web Techs.,
Inc. v. InfoUSA, Inc., 587 F.3d 1324, 1329 (Fed. Cir. 2009) (“[W]hile an
analysis of obviousness always depends on evidence that supports the
required Graham factual findings, it also may include recourse to logic,
judgment, and common sense available to the person of ordinary skill that do
not necessarily require explication in any reference or expert opinion.”).
Moreover, an ordinarily skilled artisan would have understood that a user’s
manual update to his preferences would have caused a corresponding update
to the preferences stored in the user preferences database of Lee’s server.
See Pet. 41–42 (explaining that an ordinarily skilled artisan would have
found it obvious to update the user profile at the server when user
preferences change); see also Ex. 1004 §§ 2.1 (stating that the user interface


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provides user preferences to client streaming manager), 2.2.3 (stating that
soap processor in client streaming manager sends user preferences to the
server’s soap processor), 2.4.3 (stating that server soap processor stores user
preferences in the server’s user manager), Fig. 3 (showing Lee’s server as
including a user preferences database).
      Furthermore, we are persuaded that Lee’s server updates its user
preferences “based on the provision of the media content streaming service
to the first computing device,” as element 1f also requires. See Pet. 40–42;
Pet. Reply 4–5. Petitioner maps the “provision of the media content
streaming service” to Lee’s provision of its service, and we agree with
Petitioner that this includes the user interface for updating user
preferences.17 See Pet. Reply 4; see also Ex. 1004 § 3.1, Fig. 6* (exemplary
display for registering user preferences), Fig. 8 (illustrating user interface as
also including recommended content list). As a result, we find that Lee
suggests that the server updates user preferences “based on the provision of
the media content streaming service to the first computing device” because
the server updates user preferences as a result of (and using) the user
interface. See Pet. Reply 5 (“Lee’s system updates the user preferences at




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   We note that Patent Owner did not disagree with this contention. See PO
Sur-reply 7–10; Tr. 66:8–68:1, 69:14–71:9. To the extent Patent Owner
contends that the Petition includes a different or contrary contention (see
Tr. 64:20–25), we disagree (see, e.g., Pet. 40–41). See also supra § II.C
(explaining that “provision of the media content streaming service,” as
recited by the claim, is not limited to streaming). We find that Lee’s service
includes both its content streaming as well as functions that facilitate this
streaming, such as its logon screen, user preference registration, and content
recommendations.

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the server where they are stored based on provision of streaming service
because the interface is part of the streaming service.”).
      Patent Owner’s contrary arguments are unavailing. See PO Resp. 33;
PO Sur-reply 7–10. Patent Owner argues that “allowing a user to manually
update preferences clearly would not satisfy the requirement that the system
of [c]laim 1 update the UCI ‘based on the provision of the media content
streaming service to the first computing device’” (PO Resp. 33 (emphasis
omitted)); however, as explained above, it is Lee’s server that updates its
database based on the provision of its service.
      Patent Owner also attempts to distinguish Lee on the grounds that
Lee’s updates are based on manual input by the user “rather than” the
provision of the service (PO Resp. 33; PO Sur-reply 9), but this is a false
dichotomy. Lee’s preferences are updated based on both the user’s manual
input and the provision of the service, and Patent Owner fails to identify
sufficient support for its assumption that the claimed “update” can only be
“based on” one of these. Patent Owner relies on Dr. AlRegib, who testifies
that “a manual update to user preferences, through a user interface, is not the
same as the system updating the user preferences based on provision of the
media content streaming service” (Ex. 2018 ¶ 44 (emphasis added)), but this
testimony misses the mark. A user’s update is “not the same as” the server
updating its database as a result of that update, but this does not undermine
Petitioner’s contention that the server makes an update.
      Relatedly, in connection with dependent claim 6, Patent Owner asserts
that the “update” recited by element 1f must be an “automatic update” (PO
Resp. 63), and to the extent Patent Owner also advances this argument for
independent claim 1, it is unavailing. Patent Owner does not identify


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support in the intrinsic record for its contention that the “update” recited in
the claim excludes manual updates (i.e., those initiated by a user), and we
agree with Petitioner that the Specification would not support such a
construction. See Pet. Reply 2. Indeed, the Specification describes both
“automatic” and “manual” updates of UCI. Ex. 1001, 11:44–57, 13:25–32;
see also id. at code (57), 3:37–40, 14:60–62. Patent Owner responds that
none of these passages address updating UCI “based on the provision of a
media content streaming service” specifically (PO Sur-reply 7–8 (emphasis
omitted)), but the Specification includes no reference to such an update. Cf.
Ex. 1001, 11:44–57 (contemplating manual updates “based on user
commands” and automatic updates “based on pre-determined conditions”).
Ultimately, Patent Owner identifies (and we perceive) no support in the
intrinsic record for requiring the claimed “update” to be an automatic one
that does not result from user input.
      Finally, Patent Owner’s reliance on Dr. AlRegib’s testimony (see
Ex. 2018 ¶ 44) is unavailing because it suffers from the same problems. See
also infra § II.E.1.c.
      Accordingly, we find that Lee’s user preferences teach the claimed
UCI, and that Lee teaches or suggests elements 1d, 1e, 1f, 1i, and 1j. For
brevity, we do not address Petitioner’s alternative contention that it would
have been obvious to automatically update’s Lee user preferences (Pet. 41;
Pet. Reply 5–6) or Patent Owner’s critiques of that contention (see PO
Resp. 34–35; PO Sur-reply 10–11).

                         ii. Lee’s usage history

      Petitioner maps Lee’s usage history to the claimed UCI and contends
this satisfies elements 1d, 1e, 1f, 1i, and 1j. Pet. 25–32, 36–39, 47–48, 50–

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51; see also Pet. Reply 6–7 (summarizing relevant portions of Petition).
Patent Owner argues that this mapping is deficient because: (1) Lee’s usage
history fails to qualify as UCI, and (2) Petitioner fails to show that Lee
teaches “retriev[ing]” usage history, as required by element 1d, and
“control[ling] provision of a media content streaming service” based on the
usage history, as required by element 1e. PO Resp. 35–42; PO Sur-
reply 12–22.
      Having considered the parties’ arguments and evidence, we are
persuaded that Petitioner has shown, by a preponderance of the evidence,
that Lee’s usage history teaches the claimed UCI, and Lee thereby teaches
elements 1d, 1e, 1f, 1i, and 1j.
      Lee teaches that a user “is presented with a recommended content list
created based on usage history, which is the information of the content the
user has played through the streaming service,” and the user’s preferences
(as noted above). Ex. 1004, § 3.1. The server’s user database stores usage
history for each user. Id. at Fig. 3 (showing “Usage History” in server’s
“User DB”); see also id. §§ 2.4.2 (stating that mapping table, which stores
user IDs and passwords, indexes the “Usage History”), 2.5 (“User History
DB stores/manages content list and the timestamp of the user’s most recent
log-on to the server and received streaming.”). Lee’s server sends the
recommended content list to whichever client device is currently being used.
Id. §§ 3.9, 4, Fig. 5. Lee teaches that the recommended content list depends
on the current usage history and, for example, identifies content previously
stopped mid-playback on a different device. Id. § 3.9, Fig. 8; see also id.
§§ 1, 4 (explaining that Lee’s system “enables the seamless data streaming




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of large amounts of multimedia content even if the user switches to another
device or client”).
       From this, we find that Lee’s server “retrieve[s]” usage history
corresponding to the user and “control[s]” provision of the service based on
that usage history (by providing a recommended content list based on that
history), satisfying elements 1d and 1e. We also find that Lee teaches
“updat[ing]” the usage history when content is stopped mid-playback,
satisfying element 1f. We further find that Lee teaches retrieving that
updated usage history and controlling the provisioning of the service to a
second device based on the updated usage history, satisfying elements 1i and
1j.
       Patent Owner’s contrary arguments are unavailing. See PO Resp. 35–
42; PO Sur-reply 12–22.
       Patent Owner first argues that Lee’s usage history does not teach the
claimed UCI. PO Resp. 35–41. Patent Owner begins by arguing that
Petitioner fails to show that usage history qualifies under Petitioner’s
construction (id. at 35–36), but we disagree. Patent Owner incorrectly
assumes that the Petition is premised on a contention that usage history
qualifies as UCI because the Specification states that UCI includes “use of
available resources.” See PO Resp. 35–36 (arguing that the Specification
uses the term “resources” to refer to processing resources, memory
resources, and the like); see also PO Sur-reply 12–13. But the Petition
instead contends that UCI is broad enough to include Lee’s usage history, as
shown by the different types of information that all qualify as UCI. See
Pet. 15–16, 25–26 (quoting from the ’938 patent and emphasizing “website
access information” “use settings” and “use of available resources”); see


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also Pet. Reply 7. So, even assuming arguendo that Patent Owner is correct
that the Specification uses “resources” to refer to something different than
content, we still agree that Lee’s usage history qualifies as UCI under
Petitioner’s construction. Indeed, Patent Owner’s expert agrees that usage
history can be UCI if it is used for configuration. See, e.g., Ex. 1041,
246:23–247:5, 250:14–251:2.
      Patent Owner next argues that Petitioner fails to show that usage
history qualifies as UCI under Patent Owner’s construction (PO Resp. 37–
41), but we disagree. Lee’s usage history is “information, related to a user,
that is used for configuration” because it is associated with a given user and
is used to configure the recommended content list. See also supra § II.C
(addressing construction of UCI). Patent Owner’s argument to the contrary
is premised on the contention that Lee fails to “configur[e] [] anything based
on the usage history.” PO Resp. 37. In particular, according to Patent
Owner, “[n]othing in Lee . . . even suggests that usage history provides
content recommendations,” and “Lee plainly teaches that user preferences
. . . are the sole source of Lee’s content recommendations.” Id. at 37–39
(citing Ex. 1004 §§ 1, 2, 2.4.2, 4; Ex. 2018 ¶¶ 54–55). But this argument is
belied by the reference itself. Lee expressly states that a user “is presented
with a recommended content list created based on usage history, which is
the information of the content the user has played through the streaming
service,” as well as the user’s preferences. Ex. 1004 § 3.1 (emphasis added);
see also, e.g., id. § 2.4.2, Fig. 3. Patent Owner cites to several other
passages of Lee, but none undercut or contradict this teaching. See PO
Resp. 37–39 (citing Ex. 1004 §§ 1, 2, 2.4.2, 4).




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       Patent Owner points to Dr. AlRegib’s testimony in support of its
arguments, but this testimony is unavailing. See Ex. 2018 ¶¶ 50–59. In
particular, we assign little to no weight to the cited testimony18 because it:
(1) discusses matters outside of Dr. AlRegib’s technical expertise (such as
the content or sufficiency of Petitioner’s contentions), (2) includes the same
logical errors as Patent Owner’s arguments, and/or (3) is contradicted by
Lee’s express disclosure. Indeed, Dr. AlRegib acknowledges the salient
disclosure in Lee, but simply—and without explanation—concludes that it is
insufficient. Id. ¶ 54 (testifying that “the bare statement . . . falls far short of
providing a [person of ordinary skill in the art] with any reason to believe
that Lee’s disclosed system can provide content recommendations based on
usage history”). We give little weight to this testimony because it is
insufficiently explained and, more importantly, is contradicted by Lee’s
disclosure.
       In its Sur-reply, Patent Owner seeks to address the salient passage of
Lee in an attempt to reconcile its contentions with Lee’s disclosure (see PO
Sur-reply 13–21), but we agree with Petitioner that those arguments are
untimely and, thus, forfeited.19 See Paper 38 (Petitioner’s chart identifying

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   There is one exception: we credit Dr. AlRegib’s testimony regarding an
ordinarily skilled artisan’s understanding of the term “resource.” See
Ex. 2018 ¶ 51.
19
   Patent Owner contends that it addressed the salient passage in its
Response by quoting from it. E.g., PO Sur-reply 14 n.3 (citing PO
Resp. 35). We disagree. The argument presented in the Response is clear:
Patent Owner quotes different passages from Lee and asserts that “[o]ther
than these passages, Lee provides no teaching or suggestion of how content
recommendations are generated or provided.” PO Resp. 38–39 (citing
Ex. 1004 §§ 1, 2, 7). But see Ex. 2018 ¶ 54 (quoting passage not addressed
in the Response). Patent Owner’s attempt to change its argument in its Sur-

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new arguments); Paper 39 (Patent Owner’s responsive chart); see also supra
§ II.A. Although Patent Owner attempts to frame the new arguments as a
critique of Petitioner’s failure to “explain this sentence within the context of
Lee as a whole” (PO Sur-reply 13–14 (citing Pet. Reply 9)), we do not agree
that any such explanation is required. Cf. Pet. 31–32 (including relevant
contention); Inst. Dec. 17 (summarizing Lee’s teachings as disclosing that
the recommended content list is based on the usage history). Notably, in this
Decision, we need not (and do not) rely on the arguments presented in
Petitioner’s Reply (to which Patent Owner’s untimely arguments are
allegedly responsive). See Pet. Reply 9–12.
      But even if Patent Owner’s argument had been properly raised, it
would not have been persuasive. In the Sur-reply, Patent Owner argues that
the “usage history” referenced in Lee’s Section 3.1 is simply just the
timestamp used to implement Lee’s stop point functionality. PO Sur-
reply 16–21. In support, Patent Owner reasons that Lee’s User Database
includes “a list of preferred content that the user enters through the User
Interface,” but “Lee’s discussion concerning ‘usage history’ is less clear.”
Id. at 16–17 (citing Ex. 1004 §§ 2.1, 2.4.3, 2.5). Patent Owner asserts that
the “User History DB, which is part of the User DB, ‘stores/manages’ two
things: (1) ‘content list’ and (2) ‘the timestamp of the user’s most recent
log-on to the server and received streaming.’” Id. at 17–18 (quoting
Ex. 1004 § 2.5). According to Patent Owner, this “timestamp” is the “stop



reply is improper. See Trial Practice Guide 73–74 (explaining that a party
may not “proceed in a new direction with a new approach as compared to
the positions taken in a prior filing” and noting that a “sur-reply that raises a
new issue . . . may not be considered”).

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point information,” which is saved to the database when a user stops
streaming and used to resume playback on a different device. Id. at 18–19
(citing Ex. 1004 § 3.8, Fig. 5). According to Patent Owner, “[n]othing in
Lee states that this timestamp information is retained beyond the need to
implement Lee’s stop point functionality.” Id. at 19; see also id. at 18
(arguing that Lee does not support Petitioner’s contention that “[w]henever
the user receives streaming media, it is stored in the User History DB as a
persistent log” (quoting Pet. 37)).
      We disagree with Patent Owner’s understanding of Lee. 20 In Figure
3, Lee provides a block diagram of Lee’s system, and an excerpt of this
figure showing the server is reproduced below:




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   Although Patent Owner relies on Lee’s disclosure, Patent Owner cites no
supporting evidence other than its expert’s conclusory statement. See PO
Sur-reply 17 (citing Ex. 2018 ¶ 54). It is well settled that attorney arguments
and conclusory statements have little probative value. See, e.g., Icon Health
& Fitness, Inc. v. Strava, Inc., 849 F.3d 1034, 1043 (Fed. Cir. 2017)
(“Attorney argument is not evidence.”); 37 C.F.R § 42.65(a) (conclusory
testimony is entitled to little or no weight).

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Ex. 1004, Fig. 3 (excerpt). The excerpt of Figure 3 (above) depicts the
components of Lee’s server. Of note, the top left of the figure shows that
Lee’s server includes: (1) a “User DB” that has “User Preference” and
“Usage History” databases, and (2) a “Contents DB” that has “Contents
Metadata” and “A/V Contents” databases. Lee teaches that the Usage
History database21 stores and manages a “content list” and “the timestamp”
information. Ex. 1004 § 2.5; see PO Resp. 17–18 (agreeing with this
understanding). From this, we find that Lee teaches that its Usage History
database stores a list of previously viewed content along with a



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   Given the context of Lee, we understand “User History DB” to refer to
the “Usage History” database depicted in Figure 3. Patent Owner appears to
share this understanding. See PO Sur-reply 17 (referring to “the User
History DB, which is part of the User DB” and citing Figure 3 in support).

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corresponding timestamp identifying the stop point associated with most
recent streaming of that content. This understanding is consistent with the
remainder of Lee’s disclosure. See, e.g., Ex. 1004 § 3.1 (stating that the
usage history and user preferences are used to provide a recommended
content list).
       Patent Owner’s contrary arguments focus on the timestamp but fail to
consider that the Usage History database also includes a content list (see PO
Sur-reply 17–20), which shows that Lee stores an identification of content
with the corresponding stop points. Ex. 1004 § 2.5, Fig. 3. Indeed, Lee’s
reference to a “content list” indicates that this database is capable of
identifying multiple items of content (id. § 2.5 (emphasis added)), and Lee
makes it clear that the content itself is stored elsewhere (id. at Figs. 3–4).22
Patent Owner argues that Lee fails to teach storing an identification of all
content ever streamed by the user (see PO Sur-reply 18; Tr. 72:15–20,
74:24–26), but that argument is inapposite. Finally, Patent Owner suggests
that Figure 8 indicates that Lee only stores a single stop point (see PO
Resp. 19), but we disagree. Although the text of Figure 8 is illegible, it
depicts a content list as a table. Ex. 1004, Fig. 8. The third row is
highlighted and partially obscured by a popup window that has a short
message and two input boxes. Id. Lee provides the following explanation:
              Multimedia content that was stopped will be displayed on
       top of the user interface and a pop-up window appears asking if

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   In addition, we find that this “content list” is not the same as the
recommended content list provided to the user. The latter is created based
on both the usage history and the user preferences (i.e., the two portions of
the User Database). See, e.g., Ex. 1004 § 3.1, Fig. 3. We observe that Dr.
AlRegib expressly recognizes that Petitioner understands Lee in this way
and does not disagree. See Ex. 2018 ¶¶ 84, 86.

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      data streaming is to be continued. If the user selects
      “consecutive playing,” the server agent is notified and
      streaming resumes. If the user does not select consecutive
      playing, content will be started all over from the beginning.
Id. § 3.9. From this, we understand Figure 8 to show a pop-up window,
displayed after content was selected from the content list, that asks whether
to resume streaming from the previous stop point (i.e., “consecutive
playing”) or to begin streaming at the beginning of the content. See id.
§ 3.9, Fig. 8. The third row of the table is selected in the figure, and Lee
states that “[m]ultimedia content that was stopped will be displayed on the
top.” Id. Thus, we understand this disclosure to indicate that stop points are
stored for at least three different items of content.
      Finally, Patent Owner argues that the Petition fails to allege that Lee’s
server “retrieve[s]” usage history and “control[s]” provision of the service
using it, as required by elements 1d and 1e (as well as 1i and 1j). PO
Resp. 41–42 (citing Pet. 29–36, 50–53). We disagree. Accord Inst.
Dec. 19–21 (summarizing the Petition as expressly including those
contentions). In connection with element 1d, the Petition: submits that UCI
(including usage history) is stored at the server; contends that an ordinarily
skilled artisan “would have understood that UCI should be retrieved before it
can be used” by the server; and references the discussion of element 1e.
Pet. 29; see also id. at 25–26 (mapping UCI to usage history), 27–28
(asserting that Lee’s server stores “Usage History” (emphasis omitted)). In
connection with element 1e, the Petition explains how the usage history is
used by the server to control provision of the service (id. at 30–32), and it
specifically explains that the recommended content list is “created based on
usage history” (id. at 31–32 (emphasis omitted)).



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      Accordingly, for these reasons, we find that Lee’s usage history
teaches the claimed UCI, and that Lee teaches elements 1d, 1e, 1f, 1i, and 1j.

                        iii. Lee’s user conditions (i.e., stop points)

      Petitioner maps Lee’s user conditions (i.e., the stop points indicating
the point where contact playback was stopped) to the claimed UCI and
contends this satisfies elements 1d, 1e, 1f, 1i, and 1j. Pet. 25–30, 33–35, 39–
40, 48–50, 52–53; see also Pet. Reply 16–17 (summarizing relevant portions
of Petition). Patent Owner argues that this mapping is deficient because Lee
fails to teach “control[ling] provision of a media content streaming service”
based on content stop points, as required by elements 1e and 1j. PO
Resp. 43–48; PO Sur-reply 23–27.
      Having considered the parties’ arguments and evidence, we are
persuaded that Petitioner has shown, by a preponderance of the evidence,
that Lee’s user conditions teach claimed UCI, and Lee thereby teaches or
suggests elements 1d, 1e, 1f, 1i, and 1j.
      Lee’s server sends a recommended content list to whichever client
device is currently being used. Ex. 1004 §§ 3.1–3.2, 3.9, Fig. 5. After a user
selects content from that list, the server begins streaming that content to the
device. Id. §§ 3.3–3.5. When the user stops streaming and logs off the
service, the device sends a “stop point” to the server identifying the point at
which playback of the content was stopped. Id. §§ 3.6–3.8; see also id.
§§ 2.2.1, 2.2.2. If a user later selects that content from the recommended
content list, then “a pop-up window [is presented] asking if data streaming is
to be continued.” Id. § 3.9, Fig. 8. “If the user selects ‘consecutive playing,’
the server agent is notified and streaming resumes.” Id. § 3.9. From this, we
find that Lee teaches that its home server stores and retrieves a content stop

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point that allows a user to pause and resume streaming of the same content
on different devices, satisfying element 1d. We also find that Lee teaches
controlling provision of its service based on this stop point, satisfying
element 1e.
      We further find that Lee teaches updating the stop point, retrieving the
updated stop point, and controlling streaming based on the updated stop
point, satisfying elements 1f, 1i, and 1j. In particular, Lee states that a user
may begin content streaming from a stop point or from the beginning of the
content (Ex. 1004 § 3.9), and Lee states that a stop point is stored when the
user stops streaming and logs off (id. §§ 3.6–3.8, Fig. 5). Thus, we find that
an ordinarily skilled artisan would have understood Lee to disclose updating
a prior stop point when a user resumes previously played content before
stopping playback. See also, e.g., Ex. 1004 §§ 1 (stating that “users
receiving the data streaming service . . . are assured of seamless access to
such multimedia content even if they switch devices”), 4 (explaining that its
system “enables the seamless data streaming of large amounts of multimedia
content even if the user switches to another device or client”).
      In addition, even if we had not found that Lee teaches updating a stop
point, we would have been persuaded that Lee suggests this. See also
Perfect Web, 587 F.3d at 1329 (affirming district court’s finding that claim
“would have been obvious as a matter of common sense,” without relying on
expert testimony, where it was undisputed that prior art disclosed the
claimed steps and the “potential value” of repeating them was clear).
Indeed, it would have “enable[d] known usage models,”23 such as pausing

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  Patent Owner agrees with Petitioner that “starting or stopping a movie
multiple times was known in 2007.” PO Sur-reply 23.

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and resuming content several times. Pet. 35 & n.6; see also KSR, 550 US at
421 (“A person of ordinary skill is also a person of ordinary creativity, not
an automaton.”).
      Patent Owner presents two arguments to the contrary, but both are
unavailing. First, Patent Owner argues that Lee does not teach stopping and
resuming multiple times (PO Resp. 43–44), but we disagree as explained
above. Although Lee does not specifically address stopping and starting
multiple times, we are persuaded that an ordinarily skilled artisan would
have nonetheless understood Lee’s disclosure to teach or suggest this. See
Pet. 30, 34–35, 53; Pet. Reply 17–18. Patent Owner’s reliance on Dr.
AlRegib’s testimony is unavailing because he discusses the sufficiency of
Petitioner’s arguments rather than an ordinarily skilled artisan’s
understanding of Lee. See Ex. 2018 ¶ 66; infra § II.E.1.c (explaining that
such testimony is unhelpful). Moreover, even if Patent Owner were correct
that it was merely “possible” to accommodate stopping and resuming
multiple times with Lee’s system (PO Resp. 44 (emphasis omitted)), we
agree with Petitioner that incorporating this capability into Lee’s server
would have been obvious, for the reasons explained above. See Pet.
Reply 17–22.
      Second, Patent Owner argues that Lee controls streaming based on
user input rather than “the presence or absence of any stop point” (PO
Resp. 45–48; PO Sur-reply 24–27), but this is a false dichotomy. Lee
streams content based on both the user’s input and the content stop point,
and Patent Owner fails to identify sufficient support for its assumption that
the claimed “control” can only be “based on” one of these. In other words,
although we agree with Patent Owner that Lee will only resume playing


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from the content stop point when the user selects consecutive playing (see
PO Resp. 45–47), Lee teaches that, after the user selects consecutive
playing, the server controls the streaming of that content based on the
content stop point, as the claim requires. See also Pet. Reply 22–23
(explaining why the claim does not prohibit user input); § II.E.1.b.i
(addressing a similar false dichotomy relating to user preferences). We
disagree with Patent Owner’s argument (see PO Sur-reply 24–25) that the
server does not perform the control. It is the server that uses the stop point
to select where in the content to begin streaming.
      Patent Owner’s reliance on Dr. AlRegib’s testimony (see Ex. 2018
¶¶ 66–69) is unavailing because it is premised on the same logical errors and
addresses the sufficiency of Petitioner’s contentions rather than how an
ordinarily skilled artisan would have understood Lee’s disclosure. See infra
§ II.E.1.c. Moreover, Dr. AlRegib’s testimony appears to be premised on
the assumption that element 1e requires “automatic[] control” or prohibits
user involvement (see Ex. 1041, 171:19–173:5), but the claim includes no
such limitations. Cf. PO Sur-reply 24 (“The question is not whether the
claim does (or does not) allow any user input,” but whether the user’s
decision “controls the provision of the media streaming.”).
      Finally, in its Sur-reply, Patent Owner contends that Petitioner failed
to include or consider the “TV-Anytime Specification,” referenced in Lee,
undermining Petitioner’s argument that it would have been obvious to
modify Lee as proposed. PO Sur-reply 23–24. This argument was not
presented in the Response and is not fairly responsive to the Reply, so it is
untimely. See supra § II.A. But, even if it had been timely presented, it
would not have been persuasive because the TV-Anytime Specification has


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no apparent relevance to the disputed issues in this proceeding. See
Ex. 1004 §§ 2 (stating that user preferences are managed by metadata
“constituted according to the XML Metadata Schema defined in TV-
Anytime”), 2.5 (referencing TV-Anytime’s method of classifying content),
Fig. 2 (depicting TV-Anytime at the top of the transport stack above TCP
and IP).
      Accordingly, for these reasons, we find that Lee’s user conditions
(i.e., stop points) teach the claimed UCI, and Lee teaches or suggests
elements 1d, 1e, 1f, 1i, and 1j.

                        iv. Lee’s client device information

      Petitioner maps Lee’s client device information to the claimed UCI
and contends this satisfies elements 1d, 1e, 1f, 1i, and 1j. Pet. 25–32, 42,
47–48, 50–51; see also Pet. Reply 25–26 (summarizing relevant portions of
Petition). Patent Owner argues that this mapping is deficient because:
(1) client device information fails to qualify as UCI, (2) Petitioner does not
allege that client device information is “retrieve[d]” or used to “control
provision” of the service, as required by elements 1d and 1e, and
(3) Petitioner does not show that client device information is “update[d],” as
required by element 1f. PO Resp. 48–55; PO Sur-reply 27–31.
      Having considered the parties’ arguments and evidence, we are
persuaded that Petitioner has shown, by a preponderance of the evidence,
that Lee’s usage history teaches the claimed UCI, and Lee thereby teaches or
suggests elements 1d, 1e, 1f, 1i, and 1j.
      Lee’s client device information (also called “device character
information”) includes a list of “media codecs” playable by the client device
as well as “CPU capability, display size, bit transmission rate, media

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playable time, [and] network bandwidth.” Ex. 1004 § 3.2; see also id.
§ 2.2.2. Lee’s client device determines its information (id. § 2.2.2) and
sends it to the server when requesting connection (id. §§ 2.2.2, 2.2.3). The
client device information is received by the server’s User Manager (id.
§ 2.4.3), which stores the “user ID, password, and device information” in the
Mapping Table (id. § 2.4.2). Lee states that this Mapping Table “manages
client device information,” and a separate Active User Table that “manages
information on the currently connected user.” Id. Lee’s server uses the
client device information to divide the recommended content list into
“playable and unplayable content” before sending that list to the client (id.
§§ 3.1–3.2) and to determine whether the current client can resume
streaming content previously played on a different device (id. § 3.9).
      From this, we find that Lee’s server stores and maintains, for each
user, client device information for the devices used by the user to login to
the service. See, e.g., Ex. 1004 § 2.4.2 (“The User Manager manages the
Mapping Table that stores the user ID, password, and device information,”
and it handles a separate “Active User Table that manages information on
the currently connected user.”). Indeed, Lee’s goal is to be able to stream
content to any of a user’s devices. See id. §§ 1 (indicating that the version of
content is selected based on device character information so that “users are
assured of seamless access to the streamed content even if they switch to
another different client on the home network”), 4 (similar). We find that
Lee’s server “retrieve[s]” a user’s client device information and “control[s]
provision” of the service based on it, satisfying elements 1d and 1e. See id.
§§ 3.1–3.2, 3.9.




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      We further find that an ordinarily skilled artisan would have
understood Lee to “update” the user’s client device information based on the
provision of Lee’s service, satisfying element 1f. In particular, Lee teaches
that the client device sends its information each time it connects to the server
(Ex. 1004 § 2.2.3), and we find that an ordinarily skilled artisan would have
understood this to mean that Lee updates the client device information at
least when a new device is used or when a previously-used device’s
information has changed. Indeed, Lee’s client device information includes
data that changes, such as “media codec,” “display size,” and “network
bandwidth.” Id. § 3.2; see also Ex. 1041, 155:10–14 (explaining that a user
could install new codecs on a device), 156:5–19 (explaining that the display
resolution could change), 163:11–164:9 (explaining that network bandwidth
could change). From this, we find that Lee teaches that the server updates
the client device information associated with the user to include the correct
information for the device after login.
      In addition, we find that Lee teaches retrieving updated client device
information and controlling provision of its service based on the updated
information, satisfying elements 1i and 1j. See also, e.g., Ex. 1004 § 3.9,
Fig. 5. Lee states that storage of the client device information in the server’s
Mapping Table “mak[es] it possible to know the media codec of the
multimedia content that had been sent via streaming to client 2 or to know if
the CPU or the display can handle the playback,” and if playback is not
possible, “client 2 will be informed or will be given a recommendation on
other playable content in a created content list.” Id. § 3.9. Also, we are
persuaded that an ordinarily skilled artisan would have understood Lee to
describe a system that can be used to stop and restart content playback


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multiple times on different devices, as explained above. See supra
§ II.E.1.b.iii (addressing user conditions, i.e., stop points).
      Patent Owner’s contrary arguments are unavailing. See PO Resp. 48–
55; PO Sur-reply 27–31.
      First, Patent Owner argues that client device information does not
qualify as UCI because it “consists of static information about [the] device”
and it is not “associated with the user (rather than the currently connected
device itself)” or “used to configure anything.” PO Resp. 49–51. We
disagree. As explained above, we agree with Petitioner (see also Pet.
Reply 26–27) that Lee’s client device information is associated with the
user, is used to configure the recommended content list, and is not static.
See Ex. 1004 §§ 2.4.2, 3.2; cf. Tr. 116:15–17 (conceding that the client
device information “certainly corresponds to the user when they bring it into
the mapping table”). We give no weight to Dr. AlRegib’s testimony to the
contrary (Ex. 2018 ¶¶ 72, 75, 76). In his direct testimony, Dr. AlRegib
testifies that “Lee’s client device information consists of static information
about a device,” but on cross-examination, he admitted that at least three of
the types of information identified by Lee as client device information are
not static. See Ex. 1041, 155:10–14, 156:5–19, 163:11–164:9 (cited in Pet.
Reply 27). Patent Owner does not reconcile this inconsistency. See PO Sur-
reply 27–29. Ultimately, we find that Lee’s client device information is
information, related to a user, that is used for configuration. See supra
§ II.C (identifying construction of UCI). Thus, Lee’s client device
information teaches UCI.
      Second, Patent Owner argues that the Petition fails to allege that Lee’s
server “retrieve[s]” client device information and “control[s]” provision of


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the service using it, as required by elements 1d and 1e. PO Resp. 51–53
(citing Pet. 29–33). We disagree. Accord Inst. Dec. 19–21 (summarizing
the Petition as expressly including those contentions). In connection with
element 1d, the Petition: submits that UCI (including the client device
information) is stored at the server; contends that an ordinarily skilled artisan
“would have understood that UCI should be retrieved before it can be used”
by the server; and references the discussion of element 1e. Pet. 29; see also
id. at 25 (mapping UCI to client device information), 26–28 (asserting that
Lee’s server stores this information). In connection with element 1e, the
Petition explains how the client device information is used by the server to
control provision of the service (id. at 30–32), and it specifically explains
that Lee’s server divides a recommended content list into categories based
on the client device information (id. at 32). Although Patent Owner
criticizes the Petition as failing to provide sufficient explanation for one of
its quotes (see PO Resp. 52–53 (citing Pet. 30–31)), we do not agree that
additional explanation of this quote is required.24 The Petition’s contentions
are clear (accord Inst. Dec. 21), and as explained above, we agree with
Petitioner on these points. We have reviewed the cited portions of Dr.
AlRegib’s testimony (Ex. 2018 ¶¶ 77–78), but we assign little to no weight
to this testimony for the reasons addressed below. See infra § II.E.1.c.

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   Patent Owner appears to contend that a sentence in Lee—which states
that Lee’s server “implement[s]” the service based on client device
information—does not, by itself, show that Lee teaches that its server
“control[s] provision” of its service based on that information. PO
Resp. 52–53 (quoting Ex. 1004 § 3). This argument misses the mark. We
need not decide whether this sentence in isolation would have been
sufficient because we instead consider Lee’s entire disclosure. We do find,
however, that this sentence lends support to Petitioner’s contentions.

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      Third, Patent Owner argues that Lee does not teach “updat[ing]” the
client device information “based on the provision of the media content
streaming service,” as required by element 1f. PO Resp. 53–55. In support,
Patent Owner argues:
      Petitioner argues that the user logging in to the system from a
      client device is “the first step in providing the media content
      streaming service.” This is a curious interpretation, given that
      Petitioner earlier argues that the streaming of content itself
      constitutes the provision of media content streaming service.
      Further, neither Petitioner nor its expert attempts to explain
      how receiving login information is “the first step in providing
      the media content streaming service,” and a [person of ordinary
      skill in the art] would not understand either Lee or the ’938
      Patent to disclose or suggest this.
             Moreover, this interpretation cannot be squared with the
      claim language itself . . . According to the structure of the
      claim, provision of the media content service is controlled
      based on the UCI, and the UCI cannot be retrieved until the
      user has logged in. Then the UCI must be updated based on the
      provision of the media content streaming service. Under
      Petitioner’s formulation, the alleged UCI (client device
      information) is updated at login, before provision of any media
      content streaming service. This interpretation is inconsistent
      with the limitations of the claims.
PO Resp. 53–55 (quoting Pet. 42; citing Pet. 30; Ex. 2018 ¶¶ 80–81). These
arguments are unavailing.
      We disagree with Patent Owner’s suggestion (see PO Resp. 53–54)
that the Petition’s contentions are in conflict or insufficiently explained.
See, e.g., Pet. 30–36, 42; see also Pet. Reply 29. Petitioner maps the
“provision of the media content streaming service” to the provision of Lee’s
service, and we agree with Petitioner that this includes the login interface.
See, e.g., Pet. 30, 42; see also supra § II.C (explaining that “provision of the



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media content streaming service,” as recited by the claim, is not limited to
streaming). Patent Owner does not explain why (or even clearly contend
that) Petitioner’s contention is wrong. Patent Owner’s conclusory assertion
that an ordinarily skilled artisan would have a different understanding of Lee
(see PO Resp. 54 (citing Ex. 2018 ¶ 80)) is not sufficiently explained or
supported, and Patent Owner’s reliance on Dr. AlRegib’s conclusory
assertion is unavailing. See Ex. 2018 ¶ 80; 37 C.F.R. § 42.65(a) (conclusory
testimony is entitled to little or no weight).
      Patent Owner’s arguments regarding “the structure of the claim” (PO
Resp. 54–55) also are insufficiently explained, but appear to be premised on
the errors previously addressed. In addition, to the extent Patent Owner
assumes that the claim limitations must be performed in the order recited,
this assumption is misplaced.25 See Mformation Techs., Inc. v. Research in
Motion Ltd., 764 F.3d 1392, 1398 (Fed. Cir. 2014).
      Finally, in its Sur-reply, Patent Owner appears to advance new
arguments that are not responsive to the arguments in Petitioner’s Reply, and
such arguments are untimely and forfeited. See supra § II.A. But, even if
these arguments had been timely presented, they would not have been
persuasive. In particular, to the degree Patent Owner argues that Lee’s client
device information is stored on the client rather than the server (see PO Sur-
reply 27), we disagree. See, e.g., Ex. 1004 § 2.4.2 (disclosing that the
server’s Mapping Table stores the client device information). In addition,
Patent Owner’s argument that UCI must be unique to the user (PO Sur-
reply 28–29) is unavailing, as explained above. See supra § II.C (addressing

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   Patent Owner does not expressly contend that the claim requires
performance in the order recited. See PO Resp. 54; PO Sur-reply 30–31.

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construction of UCI). Patent Owner also advances additional arguments
regarding its understanding of the claim and associated antecedent basis
errors (see PO Sur-reply 30–31), but these arguments are insufficiently
explained. Moreover, the arguments appear to be premised on an
understanding of claim 1 that conflicts with the requirements of one of its
dependent claims, which further specifies that the user configuration
information “identif[ies] content reproduction capabilities corresponding to
the first computing device and the second computing device.” Ex. 1001,
16:58–62 (claim 10). As noted below, we agree with Petitioner that Lee
teaches (or at least suggests) this. See 1335-Pet. 62–64; infra § II.E.7
(addressing claim 10).
      Accordingly, for these reasons, we find that Lee’s client device
information teaches the claimed UCI, and Lee thereby teaches or suggests
elements 1d, 1e, 1f, 1i, and 1j.

                    c. Evidence Not Relied Upon

      There are three categories of evidence that we do not rely upon in this
Decision. First, we do not rely upon the testimony of Mr. Gray, as explained
above. See supra § II.B.2.
      Second, we do not rely upon the portions of Dr. AlRegib’s testimony
that address his understanding of the Petition or the sufficiency of
Petitioner’s contentions. We find his testimony on these matters to be
unhelpful because Dr. AlRegib is a technical expert (see Ex. 2018 ¶ 1).
Also, we do not credit Dr. AlRegib’s conclusory assertions that particular
claim terms have a particular meaning. E.g., Ex. 2018 ¶ 44; see Phillips,
415 F.3d at 1318 (stating that “conclusory, unsupported assertions by
experts as to the definition of a claim term are not useful”); cf. id.

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(explaining that expert testimony can be helpful “to provide background on
the technology at issue, to explain how an invention works, to ensure that the
court’s understanding of the technical aspects of the patent is consistent with
that of a person of skill in the art, or to establish that a particular term in the
patent or the prior art has a particular meaning in the pertinent field”). We
have, however, considered all of Dr. AlRegib’s cited testimony regarding
technical matters, such as Lee’s disclosure and an ordinarily skilled artisan’s
knowledge and understanding. But, where his testimony includes only a
conclusory assertion, we have given little to no weight to it. See 37 C.F.R.
§ 42.65(a) (conclusory testimony is entitled to little or no weight); cf. TQ
Delta, LLC v. Cisco Sys., Inc., 942 F.3d 1352, 1358–59 (Fed. Cir. 2019)
(“Conclusory expert testimony does not qualify as substantial evidence.”).
       Third, we do not rely upon the parties’ arguments regarding Patent
Owner’s contentions in district court, and we do not rely on Patent Owner’s
infringement contentions. Petitioner submits that those contentions show
that Patent Owner is taking contradictory positions (e.g. Pet. Reply 3), but
even without considering this evidence, Petitioner has shown that Lee
teaches or suggests each limitation of claim 1.

                     d. Conclusion

       For the reasons provided above, we are persuaded that each limitation
of independent claim 1 is either taught or suggested by Lee. We are also
persuaded that, an ordinarily skilled artisan would have found it obvious, in
view of Lee’s teachings, to arrive at the subject matter recited in claim 1.
Accordingly, we conclude that Petitioner has shown, by a preponderance of
the evidence, that the subject matter of claim 1 would have been obvious
over Lee.

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              2. Independent Claims 23 and 27

      Independent claims 23 and 27 include limitations that are
commensurate with limitations found in independent claim 1, and Petitioner
largely relies on its prior analysis for these claims. See Pet. 72–73; 1334-
Pet. 73–74.
      Patent Owner’s arguments regarding claim 1 apply equally to claims
23 and 27, but those arguments are not persuasive for the reasons explained
above. Supra § II.E.1.b; see PO Resp. 25, 60; see also PO Resp. 9 (stating
that these claims are “similar in scope . . . at least for purposes of this
Response”). Patent Owner does not otherwise dispute Petitioner’s
arguments, analysis, or evidence for claims 23 or 27. See PO Resp.
      For the reasons provided for claim 1, we are persuaded that Petitioner
has shown, by a preponderance of the evidence that the subject matter of
independent claims 23 and 27 would have been obvious over Lee.

              3. Independent Claim 30

      Claim 30 recites limitations similar to those found in independent
claim 1, but it also includes nine means-plus-function limitations. See PO
Resp. 25; accord Inst. Dec. 12–13. Those limitations are:
      • “means for receiving login information corresponding to a first
        user”;
      • “means for identifying the first user based on the login
        information”;
      • “means for retrieving user configuration information
        corresponding to the first user”;
      • “means for controlling provision of a media content streaming
        service to a first electronic device based on the user configuration
        information corresponding to the first user”;


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      • “means for updating the user configuration information
        corresponding to the first user based on the provision of the media
        content streaming service to the first electronic device”;
      • “means for receiving login information corresponding to the first
        user from a second electronic device”;
      • “means for identifying the first user based on the login information
        received from the second electronic device”;
      • “means for retrieving the updated user configuration information
        corresponding to the first user”; and
      • “means for controlling provision of the media content streaming
        service to the second electronic device based on the updated user
        configuration information corresponding to the first user.”
Each of these phrases begin with the words “means for,” so there is a
presumption that these are means-plus-function limitations. See Williamson
v. Citrix Online, LLC, 792 F.3d 1339, 1349 (Fed. Cir. 2015) (en banc)
(holding that “use of the word ‘means’ creates a presumption that § 112, ¶ 6
applies”). Neither party contends that this presumption has been overcome
(cf. Pet. 74–75; PO Resp. 25; Pet. Reply), and we do not discern structure in
the claim limitations themselves overcomes this presumption. Thus, we
conclude that these nine limitations are means-plus-function limitations.
      However, the Petition fails to identify corresponding structure in the
Specification for each of these limitations, as required by our rules. See
37 C.F.R. § 42.104(b)(3) (requiring a petition to “identify the specific
portions of the specification that describe the structure, material, or acts
corresponding to each claimed function”); PO Resp. 60–61; accord Inst.
Dec. 13–14. The Petition includes a conclusory assertion that “the claimed
functions” are performed by personal electronic devices and local networked
devices. See Pet. 17–18 (citing Ex. 1001, 4:30–57, 5:31–35, 7:32–8:19,



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13:42–14:12), 74. At best, this identifies structure that performs all recited
functions collectively, but not the specific portions of the Specification that
describe the corresponding structure for each function.26 Thus, we
determine that the Petition fails to comply with Rule 42.104(b)(3).
      As a result, we determine that Petitioner has not shown that claim 30
is unpatentable. See PO Resp. 61; accord Inst. Dec. 14 & n.8, 27.
Moreover, at the oral hearing, Petitioner conceded this claim. Tr. 38:5–7;
see also Pet. Reply (not addressing Institution Decisions determination that
Petitioner had not shown a reasonable likelihood of success). Accordingly,
we conclude that Petitioner has not shown, by a preponderance of the
evidence, that claim 30 is unpatentable.

             4. Dependent Claim 6

      Claim 6 depends from independent claim 1 and further recites “at
least one of the plurality of computing devices is configured to dynamically
develop the user configuration information corresponding to the first user
based on the provision of the media content streaming service to the first
computing device.” Ex. 1001, 16:34–39 (emphasis added).
      Petitioner contends that Lee teaches or suggests the additionally-
recited limitations of dependent claim 6. Pet. 57–59. Petitioner points to the
four types of UCI identified for independent claim 1 and argues that each “is
dynamically developed because it is updated automatically during the
provision of the streaming service.” Id. at 57–58 (referencing discussion of



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   Even if we were to rely on Mr. Gray’s testimony, it would be unavailing
because it suffers from the same deficiencies as the Petition. See Ex. 1003
¶¶ 62, 265; see also id. ¶¶ 59–61, 63.

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element 1f). In support, Petitioner specifically points to usage history and
user conditions (i.e., stop points). Id. (citing Ex. 1004 §§ 2.2.1–2.2.3, 2.4.2,
3.6–3.8, 4, Fig. 5).
      Patent Owner disagrees. PO Resp. 62–64. According to Patent
Owner, claim 6 “requires more” than a showing that UCI is updated
automatically because claim 1 already requires an automatic update. Id.
at 62–63. Patent Owner also argues that “Petitioner’s interpretation” is
inconsistent with the dictionary meaning of “dynamically.” Id. at 63 (citing
Ex. 2021, 339; Ex. 2022, 359; Ex. 2023, 219; Ex. 2018 ¶ 98). Although
Patent Owner does not propose a construction for the term “dynamically,” it
faults Petitioner’s examples for “at most, recording changes after provision
of the content has stopped.” Id.; see also Tr. 118:18–120:13 (discussing the
meaning of the term without providing clarification).
      Having considered the parties’ arguments and evidence, we are
persuaded that Lee teaches dynamically developing both its usage history
and its stop points. See supra § II.E.1.b.ii–iii (summarizing Lee’s teachings
regarding usage history and stop points). For the reasons previously
explained, we find that Lee automatically updates usage history and stop
points and makes changes to this UCI as needed and appropriate given the
use of the system. Accord Ex. 2023, 219 (defining “dynamic” as
“[d]ependent on changing conditions or parameters” and “[i]n computers, an
action or process which occurs when needed”).
      Patent Owner’s contrary arguments are largely premised on its
erroneous assumption that claim 1 requires automatic updates. See PO
Resp. 62–63; PO Sur-reply 31. We explained why this assumption is
incorrect in connection with claim 1. Supra § II.E.1.b.i (addressing user


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preferences). Patent Owner also points vaguely to dictionary definitions and
faults Lee for recording changes after streaming has stopped, but fails to
identify anything that is required by the claim and missing from Lee. See
PO Resp. 63. Finally, although we have considered the cited portions of Dr.
AlRegib’s testimony (see Ex. 2018 ¶¶ 94–98), we do not credit this
testimony because Dr. AlRegib does not discuss matters within his technical
expertise (see supra § II.E.1.c).
      Accordingly, we are persuaded that Petitioner has shown, by a
preponderance of the evidence, that the subject matter of claim 6 would have
been obvious over Lee.

             5. Dependent Claims 7–9 and 25

      Claim 7 depends from independent claim 1 and further recites “the
user configuration information corresponding to the first user includes media
consumption settings including at least video and audio presentation
preferences corresponding to the first computing device and the second
computing device.” Ex. 1001, 16:40–45 (emphasis added). Claim 8
depends from claim 7 and further recites “at least one of the plurality of
computing devices is configured to control provision of the media content
streaming service to the first computing device and the second computing
device based on the media consumption settings corresponding to the first
computing device and the second computing device.” Id. at 16:46–52
(emphasis added). Claim 9 depends from claim 8 and further recites “the
media consumption settings corresponding to the first computing device are
different than the media consumption settings corresponding to the second
computing device.” Id. at 16:53–57 (emphasis added). Claim 25 depends



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from independent claim 23 and recites limitations commensurate with those
required by claim 9. Compare id. at 16:40–57, with id. at 18:45–60.
      Petitioner contends that Lee teaches the additionally-recited
limitations of these dependent claims and, in support, relies upon its
contention that Lee’s client device information teaches the claimed UCI.
Pet. 59–63, 73–74. In particular, Petitioner submits that “media codec, CPU
capability, [and] display size” are “video and audio presentation preferences
because Lee explains that they are used to determine the audio/video content
playback capabilities of the client device.” Id. at 59–60 (citing Ex. 1004
§§ 2.2.2, 3.2, 3.9–3.10). Petitioner further contends that the provision of the
service is based on these media consumption settings “because they are used
to present different content lists and playback behavior to the same user on
different clients depending on the device information specific to each
client.” Id. at 61–62 (citing Ex. 1004 §§ 1, 3.2, 4; also referencing
discussion of claim 1). Finally, Petitioner contends that Lee teaches that the
settings for each client device are different. Id. at 62–63 (citing Ex. 1004
§§ 2.2.2, 3.9).
      Patent Owner argues that Lee fails to teach “media consumption
settings including at least video and audio presentation preferences,” as
required by claim 7. PO Resp. 64–68. First, Patent Owner contends that
Lee’s “client device information is static information describing the
character of the client device,” whereas “media consumption settings clearly
constitute user preferences regarding media consumption, not immutable
character device information.” Id. at 65 (emphasis omitted and added)
(citing Ex. 1001, 7:60–63). Second, Patent Owner submits that Petitioner
points to the same information from Lee to also teach “information


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identifying content reproduction capabilities,” as recited in dependent claim
10, and Patent Owner contends that “[t]he same information cannot read on
both claim terms.” Id. at 66 (citing 1335-Pet. 62). On this basis, Patent
Owner argues that Petitioner has not shown claim 7 to be unpatentable, and
consequently fails to show unpatentability of claims 8 and 9 (which depend
therefrom) and claim 25 (which includes substantially similar limitations).
Id. at 66–68.
      Having considered the parties’ arguments and evidence, we are
persuaded that Lee teaches that the client device information includes
“media consumption settings including at least video and audio presentation
preferences,” as required by claim 7. As noted above, Lee expressly states
that its client device information identifies media codecs and display size
(e.g., Ex. 1004 § 3.2), and we are persuaded that an ordinarily skilled artisan
would have understood this information to identify the codec that the server
should use when streaming to the device and preferences for display size.
See id. § 3.9; see also Pet. 60. In particular, we find that Lee’s media codecs
and display size teach the claimed media consumption settings.
      Patent Owner’s contrary arguments are unavailing. First, Patent
Owner erroneously assumes that Lee’s client device information is “static”
or “immutable” (see PO Resp. 65; PO Sur-reply 32); however, as explained
above, Lee’s client device information (particularly “media codec” and
“display size”) are not static. See supra § II.E.1.b.iv.
      Second, Patent Owner argues that “media consumption settings” are
“user preferences regarding media consumption” (see PO Resp. 65 (quoting
Ex. 1001, 7:60–63); see also id. at 67 (repeating that Lee fails to teach
“media consumption settings” for claims 8 and 9)), but we disagree. Patent


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Owner relies on a passage from the ’938 patent, which provides several
examples of “media consumption settings”:
      For example, the user configuration information may specify
      various user specific device operational preferences, comprising
      favorite broadcast channels and/or website, favorite games,
      game status information, and media consumption settings.
      Exemplary media consumption settings may comprise file types
      and/or video or audio presentation preferences, website access
      information, user interface configuration preferences, and/or
      directory information.
Ex. 1001, 7:56–63 (emphasis added to the sentence quoted by Patent
Owner). These examples do not define media consumption settings, and
they do not support an argument that those settings mean “user preferences.”
See id. at 7:60–63. Indeed, the prior sentence lists user “favorite[s]” as a
different category from “media consumption settings.” Id. at 7:56–60. As
with UCI, the Specification uses the term “media consumption settings”
broadly, and we discern no support in the intrinsic record for limiting these
settings to a “user preference,” as Patent Owner contends. Dr. AlRegib
provides a conclusory assertion agreeing with Patent Owner (see Ex. 2018
¶ 102), but we assign little weight to that testimony. See 37 C.F.R.
§ 42.65(a).
      Third, Patent Owner assumes that Lee’s device character information
cannot teach different limitations in claims 7 and 10, but we discern no basis
for this contention. A single claim is sometimes construed to require
different components for separate limitations. See, e.g., Becton, Dickinson
& Co. v. Tyco Healthcare Grp., LP, 616 F.3d 1249, 1254 (Fed. Cir. 2010).
But see, e.g., Powell v. Home Depot U.S.A., Inc., 663 F.3d 1221, 1231 (Fed.
Cir. 2011) (distinguishing Becton). But we discern no reason to conclude
that limitations in different claims must be satisfied by different components.

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      Finally, we are persuaded by Petitioner’s undisputed contentions
regarding the remaining limitations of these claims. See also supra
§ II.E.1.b.iv (summarizing Lee’s teaching regarding client device
information). Accordingly, we are persuaded that Petitioner has shown, by a
preponderance of the evidence, that the subject matter of claims 7–9 and 25
would have been obvious over Lee.

            6. Dependent Claims 17 and 18

      Claim 18 depends from claim 1 and further recites:
      at least one of the plurality of computing devices is configured
      to control provision of the media content streaming service to
      the first computing device and the second computing device
      from a server remote from the system, the first computing
      device and the second computing device.
Ex. 1001, 17:47–53 (emphasis added). Claim 17 also depends from claim 1
and includes similar requirements, except that in place of the remote server
required by claim 18, it requires “a third system[27] communicatively coupled
to the system via a network.” Id. at 17:41–46.
      Petitioner contends that Lee teaches the additionally-recited
limitations of dependent claims 17 and 18. Pet. 63–68. Specifically,
Petitioner contends that Lee’s home server is configured to control provision


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    The District Court concluded that “a third system” is indefinite because
“it is unclear if the ‘third system’ is a ‘third device’ or actually a ‘third
system.’” Ex. 1029, 59–60. Our analysis of this claim limitation would be
the same whether we considered the “third system” to be a third system or a
third device. Accordingly, we determine that we can evaluate Petitioner’s
contentions regarding claim 17. See Intel Corp. v. Qualcomm Inc., 21 F.4th
801, 812–13 (Fed. Cir. 2021) (“[I]t is not always impossible to adjudicate a
prior-art challenge, one way or the other, just because some aspect of a claim
renders the claim indefinite.”).

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of the service (e.g., by providing a recommended content list and streaming
content using that list) to clients 1 and 2 from an external server. Id. at 63–
64. Petitioner submits that Lee’s external server is the source of the content
and provides it to the home server, which in turn controls streaming of
content to the client devices. Id. at 64–65 (citing Ex. 1004 § 1, Fig. 1).
Petitioner also contends that Lee’s external server qualifies as both the
remote “server” recited in claim 17 and the “third system” recited in claim
18. Id. at 65, 67–68.
      Patent Owner disputes Petitioner’s showing for these claims. PO
Resp. 68–77. According to Patent Owner, Lee “teaches that all content to be
streamed is first stored on the home server, and then streamed from the
home server to the client devices.” Id. at 69–71 (citing Ex. 1004 §§ 1, 2;
Ex. 2018 ¶¶ 112–115); see also id. at 71–76 (Ex. 1004, Figs. 3, 5; Ex. 2018
¶ 116; Ex. 2019, 22:24–27:25). Patent Owner contends that Petitioner’s
summary of Lee “is a red herring” (id. at 69) because it “merely establishes
that the external server provides (but not that it streams) content to the home
server, and the content is streamed to the client devices from the home
server” (id. at 76 (emphasis omitted)).
      In Reply, Petitioner states that “Lee’s home server streams content—
but it must obtain that content from somewhere,” namely the external server.
Pet. Reply 37. Petitioner contends that “Lee’s home server controls
provision of the media content streaming service from the external server
(where the content originates) to the client devices.” Id. at 38. Petitioner
further argues that Patent Owner’s arguments fail to distinguish Lee from the
claim limitations:
            [Patent Owner] assumes, without any reasoning or
      support, that the claimed “provision of the media content

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       streaming service” cannot include providing content for the
       service. [Patent Owner] is incorrect. . . . Nothing in the claims
       precludes the service from using an external server where
       content originates. Nothing precludes the content from being
       stored/cached/buffered on a home server.
Id.
       In Sur-reply, Patent Owner argues that “[t]he reasoning of the Reply
rebuts itself” and contends that “Lee would have to disclose streaming from
the external server to the client devices” in order to satisfy the claim
language. PO Sur-reply 33. Patent Owner also argues that Petitioner’s
argument “flies in the face of any known definition of streaming (which
generally is taken to mean sending a file progressively to a client while the
client is playing the file).” Id.
       Having considered the parties’ arguments and evidence, we are
persuaded that Lee teaches these claims’ additionally-recited limitations.
       There appears to be no dispute regarding the relevant aspects of Lee’s
disclosure. See, e.g., Pet. 64–65; PO Resp. 69–70. Lee teaches that its
external server is the source of the multimedia content that is ultimately
streamed to the client devices. See Ex. 1004 § 1, Fig. 1. Lee’s home server
acquires the content from the external server, and the home server controls
provisioning of the service by providing a recommended list of content and
streaming content to the client devices using that list. See, e.g., id. § 1. Lee
stores (or caches) at least some of the content on the home server before
streaming it to the client devices. See, e.g., id. at Fig. 3 (showing a
“Contents DB”).
       However, the parties disagree on whether this satisfies the claim
limitations. Patent Owner’s Response contends that Petitioner’s showing
“merely establishes that the external server provides (but not that it streams)

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content to the home server, and the content is streamed to the client devices
from the home server.” PO Resp. 76. In its Reply, Petitioner argues that
this argument is premised on an erroneous understanding of the claims’
scope (Pet. Reply 38), and Patent Owner does not directly respond to this
argument in its Sur-reply (see PO Sur-reply 32–33). Instead, Patent Owner
argues that, to teach the claim, “Lee would have to disclose streaming from
the external server to the client devices” (PO Sur-reply 33), and Patent
Owner submits that it understands the claim to prohibit use of a caching
server between the external server and the client devices (Tr. 92:15–93:2).28
      In our view, Lee’s disclosure satisfies the claim limitations. The
disputed claim language is not the picture of clarity, and the intrinsic record
does not clarify it (see Tr. 91:21–92:1); however, we understand the claim
language to require that a computing device control provision of the claimed
service to the claimed first and second computing devices, and at least some
portion of that service comes from a remote server (or a third system). 29
Ex. 1001, 17:41–53. We are persuaded that Petitioner has shown that Lee
teaches this. See Pet. 63–68; Pet. Reply 37–38. Lee’s home server controls
provision of the service to client 1 and client 2, and at least some portion of
the service (namely, content) comes from a remote server (or a third


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   We specifically invited each party to address the construction of this
claim at the oral hearing. See Tr. 89:4–93:2, 111:1–16.
29
    Claim 1 recites a “system” that controls provisioning of the service to the
first and second computing devices (Ex. 1001, 15:53–55, 15:60–63, 16:8–
11), and claims 17 and 18 require that “at least one of the plurality of
computing devices is configured to control provision” of the service to the
first and second devices (id. at 17:41–45, 17:47–51). Notably, claims 17 and
18 do not use antecedent basis to indicate that the control referenced in these
claims is the same as the control recited in claim 1.

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system). We also agree that Lee’s external server qualifies as the remote
“server” recited in claim 17 and the “third system” recited in claim 18. See
Pet. 65, 67–68.
      Patent Owner’s contrary arguments are vague and unsubstantiated.
See PO Resp. 68–77; PO Sur-reply 33. We understand Patent Owner to
impliedly seek to construe these claims to require that the remote server
directly stream content to the client devices; however, we discern no basis
for imposing such a requirement on the claims. As we previously explained,
Patent Owner’s arguments are at least partially premised on an erroneous
assumption that claims are limited to streaming. See supra § II.C.
Moreover, the claim does not preclude content from being cached on Lee’s
home server after it is received from the external server and before it is
provided to the client devices.
      Accordingly, we are persuaded that Petitioner has shown, by a
preponderance of the evidence that the subject matter of claims 17 and 18
would have been obvious over Lee.

             7. Dependent Claims 2–4, 10, 11, 13–15, 19–22, 24, and 28
      Claims 2–4, 10, 11, 13–15, and 19–22 depend from independent
claim 1. Ex. 1001, 16:12–26, 16:58–17:3, 17:15–30, 17:54–18:11.
Claim 24 depends from independent claim 23 (id. at 18:37–44), and
claim 28 depends from claim 27 (id. at 19:38–46).
      Petitioner contends that the subject matter of each these claims is
rendered obvious by Lee because Lee teaches and/or suggests each claim’s
additionally-recited limitations. Pet. 54–71, 73–74; 1334-Pet. 58–72, 75–76;
1335-Pet. 62–68, 72–78. Patent Owner does not dispute these contentions.
See PO Resp. Having considered the entire record, we are persuaded that

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Petitioner has shown that each limitation of claims 2–4, 10, 11, 13–15, 19–
22, 24, and 28 is taught or suggested by Lee.
       As for claim 2, we are persuaded by Petitioner’s undisputed
arguments that Lee’s home server and client devices are distinct devices that
communicate over the home network. See Pet. 54–56; see also, e.g.,
Ex. 1004 § 1 (“The home server . . . implements data streaming in various
formats to various multimedia clients on a home network through wired or
wireless protocols . . . .”).
       As for claims 3, 4, 24, and 28, we are persuaded by Petitioner’s
undisputed arguments that, when a user logs on for the first time, Lee’s
server receives the user profile from client 1 and generates user
configuration information based on that user profile. See 1334-Pet. 58–66,
72, 75–76; see also Ex. 1004 §§ 2.1, 3.1, Figs. 5, 6*; supra § II.E.1.b.i
(finding that Lee’s user preferences teach the claimed user configuration
information).
       As for claims 10 and 11, we are persuaded by Petitioner’s undisputed
arguments that Lee’s server stores client device information (e.g., media
codec, CPU capacity, and display size) for client 1 and client 2 and controls
provision of the service to the appropriate client based on the client’s
capabilities. See 1335-Pet. 62–64, 66–67; see also Ex. 1004 §§ 3.2, 3.9;
supra § II.E.1.b.iv (finding that Lee’s client device information teaches the
claimed user configuration information).
       As for claims 13, 14, and 15, we are persuaded by Petitioner’s
undisputed arguments that Lee’s server identifies bit transmission rate and
network bandwidth (which each teach the claimed “connectivity related
information” that includes “bandwidth level”) and determines whether


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content is playable on a client based on that information. See 1335-Pet. 72–
75, 77; see also Ex. 1004 §§ 3.2, 3.9.
      As for claims 19 and 20, we are persuaded by Petitioner’s undisputed
arguments that Lee’s user configuration information identifies preferred
categories of content and that Lee’s home server controls provision of its
service to client device 1 and client device 2 based on those preferred
categories. See Pet. 68–69; see also supra § II.E.1.b.i (finding that Lee
provides a recommended content list based on user preferences).
      As for claim 21, we are persuaded by Petitioner’s undisputed
arguments that, based on a user’s login information, Lee’s server selects the
user configuration information corresponding to that particular user from a
database that stores user configuration information for several users. See
1334-Pet. 66–72; see also, e.g., Ex. 1004 §§ 2.4.2, 3.1, Fig. 4.
      As for claim 22, we are persuaded by Petitioner’s undisputed
arguments that Lee teaches or suggests updating the updated user
configuration information (e.g., usage history and user conditions) based on
the provision of the service. See Pet. 70–71; see also § II.E.1.b.iii (finding
that Lee teaches and suggests repeating its process).
      Accordingly, we conclude that Petitioner has shown, by a
preponderance of the evidence, that the subject matter of claims 2–4, 10, 11,
13–15, 19–22, 24, and 28 would have been obvious over Lee.

      F. Obviousness Ground Based on Lee and Glance

      Claim 5 depends from claim 1 and recites “at least one of the plurality
of computing devices is configured to transmit at least a portion of the user
configuration information corresponding to the first user to the first



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computing device upon identifying the first user based on the login
information received from the first computing device.” Ex. 1001, 16:27–33.
      Petitioner contends that the subject matter of dependent claim 5 would
have been obvious over Lee and Glance. 1334-Pet. 76–87. In particular,
Petitioner asserts that Lee teaches transmitting a recommended content list
to client 1 after the user logs-on (id. at 85–86), and Petitioner asserts that
Glance teaches organizing recommended content by genre (id. at 86 (citing
Ex. 1016, 3:47–51, 4:5–13, 5:23–25)). From this, Petitioner contends that it
would have been obvious to organize Lee’s recommended content list using
Glance’s genre-specific recommendations to show content in the user’s
favorite genres, which are part of the user’s preferences. Id. at 86–87; see
also id. at 76–84 (arguing that an ordinarily skilled artisan would have been
motivated to combine Lee and Glance in this way).
      Patent Owner does not dispute Petitioner’s contentions, except as
explained in connection with independent claim 1. See PO Resp. 77. Those
arguments, however, are unavailing for the reasons explained above. See
supra § II.E.1.b.
        We are persuaded by Petitioner’s undisputed contentions that the
Lee-Glance combination teaches the additionally-recited limitations of
dependent claim 5. See 1334-Pet. 76, 85–87. In particular, Lee’s server:
identifies a user (and the corresponding user configuration information)
based on the user’s login information received from client 1, and Lee’s
server then transmits a recommended content list to client 1. See, e.g.,
Ex. 1004 § 3.1; see also supra § II.E.7 (addressing similar limitation in
dependent claim 21). Lee also teaches that the user configuration
information includes user preferences (see also supra § II.E.1.b.i), and Lee


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states that the recommended content list “is based on” that those preferences,
including genre. See, e.g., Ex. 1004 § 3.1. Glance teaches providing a
recommended content list that is organized by genre. See, e.g., Ex. 1016,
3:47–51, 5:23–25.
      We are also persuaded that a person of ordinary skill in the art would
have been motivated to implement Lee’s recommended content list by
organizing Lee’s content recommendations by genre, as taught by Glance, in
order to enhance the accessibility of Lee’s recommendations. See 1334-
Pet. 76–84, 86–87. Indeed, Lee suggests such an organization by identifying
accessibility as a goal and identifying specific genres. See, e.g., Ex. 1004
§§ 1 (describing “intelligent recommendation[s] regarding the media content
[users] want based on the user preferences stored on the home server” using
preferences, including genres, so that “users themselves don’t have to search
or manage the content that they want”), 2.5 (identifying specific genres for
classifying user preferences). Moreover, Lee expressly suggests improving
its technique by determining preferred content using automatically
determined user preferences (id. § 4), and Glance describes a method for
doing so (e.g., Ex. 1016, code (57)). In addition, both Lee and Glance
provide audio and video content recommendations to users using similar
types of networked communication devices. See, e.g., Ex. 1004 § 1;
Ex. 1016, 2:37–41, 3:26–42. We are further persuaded that providing a
genre-organized recommended content list to a user would have transmitted
a portion of the user configuration information (i.e., the user’s preferred
genres), as required by claim 5. See, e.g., 1334-Pet. 86–87.
      In sum, we are persuaded that a person of ordinary skill in the art
would have been motivated to combine Lee and Glance, as proposed, and


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we are persuaded that each of the limitations of claim 5 would have been
obvious over the Lee-Glance combination. Accordingly, we conclude that
Petitioner has shown, by a preponderance of the evidence, that the subject
matter of claim 5 would have been obvious over Lee and Glance.

      G. Obviousness Ground Based on Lee and Smith

      Petitioner contends that the subject matter of claims 10–16, 26, and 29
would have been obvious over Lee and Smith. 1335-Pet. 62–82; see also id.
at 20–27 (addressing motivation to combine). Patent Owner argues that a
person of ordinary skill in the art would not have been motivated to combine
Smith and Lee, as proposed by Petitioner, to yield the subject matter recited
by claim 12 (PO Resp. 78–82) and that Petitioner’s contentions regarding
claims 16, 26, and 29 have similar deficiencies (id. at 82–83).

             1. Claims 10, 11, and 13–15

      We have already found claims 10, 11, and 13–15 to be unpatentable
(see supra § II.E.7), so we need not (and do not) address whether Petitioner
has shown these claims to be unpatentable based on this ground. See SAS
Inst. Inc. v. Iancu, 138 S. Ct. 1348, 1359 (2018) (holding a petitioner “is
entitled to a final written decision addressing all of the claims it has
challenged”); Boston Sci. Scimed, Inc. v. Cook Grp. Inc., 809 F. App’x 984,
990 (Fed. Cir. 2020) (non-precedential) (recognizing that the “Board need
not address issues that are not necessary to the resolution of the proceeding”
and, thus, agreeing that the Board has “discretion to decline to decide
additional instituted grounds once the petitioner has prevailed on all its
challenged claims”).




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             2. Claim 12

      Claim 12 depends from claim 11 and further recites “at least one of
the plurality of computing devices is configured to control provision of the
media content streaming service to the first computing device and the second
computing device by selecting a version of content, from a plurality of
stored versions of content, to be streamed to the first computing device or
the second computing device based on the information identifying content
reproduction capabilities corresponding to the first computing device or the
second computing device.” Ex. 1001, 17:4–14 (emphases added).
      For this claim, Petitioner relies on its analysis of claim 11, contending
that Lee’s server is configured to control provision of the service based on a
client device’s capabilities. 1335-Pet. 68–69; see supra § II.E.7 (addressing
claim 11). Petitioner also contends that Smith teaches “pre-materializ[ing]
alternate versions of the Internet content” that include the same content
encoded at different resolutions and/or bit rates, storing these versions at a
server, and selecting a version to deliver to a client based on the client’s
device constraints. 1335-Pet. 70–71 (quoting Ex. 1017 § 2; citing Ex. 1017
§§ 2, 3.1, 4.1, 4.1.4). Petitioner proposes modifying Lee by storing alternate
versions of content and selecting one of them for streaming, as taught by
Smith, based on client device information. Id. at 69–71.
      Patent Owner argues that an ordinarily skilled artisan would not have
been motivated to make Petitioner’s proposed combination, but does not
dispute Petitioner’s contentions that this combination would teach the
limitations of this claim. See PO Resp. 77–82.




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                    a. Additionally-Recited Limitations

      Lee’s server stores client device information (e.g., media codec, CPU
capacity, and display size) for client 1 and client 2 and controls provision of
its service to the appropriate client based on the client’s capabilities. See,
e.g., Ex. 1004 §§ 3.2, 3.9; see also supra § II.E.7 (addressing claim 11).
Smith teaches storing multiple versions of content and selecting a particular
version based on the client’s capabilities. See, e.g., Ex. 1017 §§ 2 (“The
system can pre-materialize the alternate versions of the Internet content and
store them at the server,” allowing the system to “merely select[] the
versions of the content to deliver to the client.”), 4.1.3 (stating that a
device’s “display, storage and processing capabilities” are used to select a
version of the content). We are persuaded that, in the combination of Lee
and Smith proposed by Petitioner, Lee’s home server controls provision of
the service by selecting a version of content based on the client’s
capabilities. We are also persuaded by Petitioner’s undisputed contention
that this satisfies the requirements of claim 12. See 1335-Pet. 68–71.

                    b. Rationale to Combine

      Petitioner submits that an ordinarily skilled artisan would have been
motivated to combine Lee and Smith in the manner it proposes. 1335-
Pet. 69–71 (citing id. at 20–27). According to Petitioner, “Lee seeks to
provide a seamless streaming experience across devices,” but notes that
some client devices are unable to play certain content. Id. at 20 (citing
Ex. 1004 §§ 1, 2, 3, 3.2, Figs. 3, 5). Petitioner contends that “Smith’s
teachings improve content compatibility by storing alternate versions of
content and selecting a version based on constraints.” Id. (citing Ex. 1017
§§ 2, 4.1.3, 4.1.4). Petitioner asserts that an ordinarily skilled artisan would

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have recognized that Smith would have furthered Lee’s goal of a “seamless”
streaming system (and provided known advantages) “by increasing the
likelihood the user’s client devices can playback content as the user switches
between devices.” Id. at 21–22 (citing Ex. 1004 §§ 1, 3.9, 4, Abstr.;
Ex. 1017 §§ 2, 3, 3.1, 4.1.3, 4.1.4). Petitioner further contends that Lee
provides an express motivation to combine its techniques with known
transcoding techniques. Id. at 22 (citing Ex. 1004 § 3.9). Petitioner also
contends that an ordinarily skilled artisan would have been motivated to
apply Smith’s pre-materialized teachings (rather than on-the-fly transcoding)
because it would reduce computational burden at the server and because it
was easier to store multiple versions of content than transcode them on-the-
fly. Id. at 24–25 (citing Ex. 1017 § 2; Ex. 1032, 8:25–28). Finally,
Petitioner points to various similarities between Lee and Smith (id. at 22–23,
25), and Petitioner asserts that an ordinarily skilled artisan would have had a
reasonable expectation of success and that the combination was within the
level of ordinary skill (id. at 25–27).
      Patent Owner disagrees, arguing that a person of ordinary skill in the
art “would find no reason to combine Smith with Lee in the way
contemplated by Petitioner.” PO Resp. 78. Patent Owner explains that
Smith “is generally directed to real-time transcoding of Internet content” and
asserts that an ordinarily skilled artisan would have been motivated to use
this preferred mode of operation instead of Smith’s pre-materialization
mode. Id. at 78–80 (citing Ex. 1017, 1, 3, 4; Ex. 2018 ¶¶ 123–124). Patent
Owner also argues that an ordinarily skilled artisan “would recognize that
[Smith’s] pre-materialization mode nullifies many of the advantages of
Smith’s disclosed system,” and Patent Owner contends that Lee’s home


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server “would have to store dozens of different versions of each piece of
content.” Id. at 80–81 (citing Ex. 1017, 3–4; Ex. 2018 ¶¶ 125–126); see also
id. at 79 (citing Ex. 2018 ¶ 123). Patent Owner further argues that a person
of ordinary skill in the art would recognize that “storage [in a home server]
is limited and generally at a premium, while client load is generally low.”
Id. at 81 (Ex. 2018 ¶ 127); see also id. at 79 (citing Ex. 2018 ¶ 123). Finally,
Patent Owner submits that its position is supported by Lee’s statement that a
“transcoding module plugin” can be used to transcode media formats. Id.
at 81 (quoting Ex. 1004 § 3.9).
      Having considered the parties’ arguments and the evidence of record,
we are persuaded that a person of ordinary skill in the art would have been
motivated to combine Lee and Smith in the manner proposed by Petitioner,
and would have had a reasonable expectation of success.
      Initially, we note that Lee satisfies most of the limitations of claim 12,
as explained above. Supra §§ II.E.1 (claim 1), II.E.7 (claims 10 and 11),
II.G.2.a (claim 12). There is only one difference between the subject matter
recited in this claim and Lee’s disclosure (see Graham, 383 U.S. at 17):
claim 12 requires that a computing device be operable to control provision
of the service “by selecting a version of content, from a plurality of stored
versions of content,” for streaming to a client (Ex. 1001, 17:4–14), and Lee
does not teach selecting a version of content for streaming from a plurality
of stored versions (see Ex. 1004). Importantly, claim 12 does not require
that all versions of content be stored on Lee’s home server, or that content to
be streamed always be selected from multiple stored versions of it. See
Ex. 1001, 17:4–14. As a result, the subject matter of claim 12 would have
been obvious if a person of ordinary skill in the art would have been


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motivated to configure Lee’s home server to be able to select a version of
content from two stored versions of that content for streaming to a client
based on that client’s capabilities. Given the disclosures of Lee and Smith
identified by Petitioner, we are persuaded that an ordinarily skilled artisan
would have been motivated to combine Lee and Smith in this manner.
      In particular, we agree that using Smith’s pre-materialized content
would have furthered Lee’s goal of a seamless streaming system by
increasing the likelihood the user’s client devices can playback content as
the user switches between devices. See Pet. 20–22. Lee seeks to provide a
“seamless” service “that allows [a] user . . . to switch conveniently to
another device or client without having to repeat [a] download [from] the
beginning,” and to that end, Lee stores device character information for the
user’s client devices. Ex. 1004, Abstr; see also id. § 1 (“By implementing
streaming based on user identification and device character information of
many multimedia clients on the home network, users are assured of seamless
access to the streamed content even if they switch to another different client
on the home network.”). Lee recognizes that content may or may not be
playable by a particular client device (e.g., id. §§ 1, 3.2), and Lee uses
device information to determine whether a particular client device can play
particular content (id. §§ 3.2, 3.9). Lee states that content may be able to be
transcoded if the client is missing a particular codec (id. § 3.9), but does not
explain how a seamless experience is ensured when a particular device
cannot play content.
      Smith teaches a method that also uses a device’s capabilities and
network conditions to supply a device with playable content. E.g., Ex. 1017,
§§ 2, 4.1; also compare id. § 4.1.3 (using at a device’s “processing


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capabilities” and “display” to select a version of the content), with Ex. 1004
§ 3.2 (using a client device’s CPU capacity and display size to determine
whether content is playable). Smith teaches that content can either be
transcoded in real-time or “pre-materialize[d]” and stored at the server.
Ex. 1017 § 2. We are persuaded that this would have motivated an
ordinarily skilled artisan to implement Lee by (in some situations) storing
two versions of content at the server because this would have allowed Lee to
ensure a seamless experience for a user across the user’s devices. Indeed,
the parties agree that pre-materialization was a known technique (see Pet.
Reply 39–40; Ex. 1042, 401:5–402:7), and nothing indicates that
implementing it in Lee’s server (by storing a second version of particular
content) would have required anything other than the predictable exercise of
ordinary skill in the art. See KSR, 550 U.S. at 416 (“The combination of
familiar elements according to known methods is likely to be obvious when
it does no more than yield predictable results.”).
      Moreover, we are persuaded that a person of ordinary skill in the art
would have been motivated to combine Lee and Smith to select a stored
version of content on Lee’s server because it would reduce computational
burden at the server. See Ex. 1032, 8:25–28 (“[T]ranscoding can be a very
long CPU intensive process.”); see also Ex. 1042, 410:22–412:22
(describing real-time transcoding and pre-materialization as “different”
methods, but disagreeing that one is superior to the other). Although a
disadvantage of storing multiple versions of content is that it would reduce
the amount of storage space on the home server that might be used for
different content (see PO Resp. 81), this is a predictable engineering tradeoff




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that would not have meaningfully diminished the ordinarily skilled artisan’s
motivation.
      We do not agree with Patent Owner’s contrary arguments because
they are premised on an erroneous understanding of the claim’s
requirements. See PO Resp. 80–81 (arguing that the benefits of Smith’s
optimization would be lost in the proposed implementation, “the home
server would have to store dozens of different versions of each piece of
content,” and the home server would have limited storage). As explained
above, claim 12 does not require that all versions of content be stored on
Lee’s home server, or that content to be streamed always be selected from
the stored versions. See Ex. 1001, 17:4–14. Patent Owner erroneously
assumes that Lee’s server would be required to store versions of content to
account for any situation, but neither the claim nor Petitioner’s proposal
requires this. Patent Owner similarly errs by assuming that the Lee-Smith
combination could not use of transcoding to modify content when necessary
or desirable. Ultimately, given Smith’s disclosure, we are persuaded that it
would have been obvious to implement Lee by storing two versions of a
particular piece of content so that the home server can select a version
playable by the user’s device, and this satisfies the claim.
      Also, Patent Owner’s arguments that an ordinarily skilled artisan
would have combined Lee and Smith in a different way from what Petitioner
proposes (see PO Resp. 78–82) are largely misplaced. See Pet. Reply 38–40
(identifying legal errors in Patent Owner’s arguments). The salient question
is whether Petitioner’s proposed combination would have been obvious, not
whether it would have been the only obvious combination. Relatedly, Patent
Owner’s arguments that pre-materialization mode was “not Smith’s


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preferred mode of operation” and was described in only two sentences (see
PO Resp. 79–80; PO Sur-reply 34) are inapposite. See, e.g., CRFD
Research, Inc. v. Matal, 876 F.3d 1330, 1348–49 (Fed. Cir. 2017) (“A
reference must be considered for everything that it teaches, not simply . . . a
preferred embodiment.” (quoting In re Applied Materials, Inc., 692 F.3d
1289, 1298 (Fed. Cir. 2012)). Moreover, even if we agreed that real-time
transcoding would have been better than pre-materialization (see PO
Resp. 80–81), this would not cause us to question Petitioner’s rationale. See
Novartis Pharms. Corp. v. W.-Ward Pharms. Int’l Ltd., 923 F.3d 1051, 1059
(Fed. Cir. 2019) (“[O]ur case law does not require that a particular
combination must be the preferred, or the most desirable, combination
described in the prior art in order to provide motivation for the current
invention.” (quoting In re Fulton, 391 F.3d 1195, 1200 (Fed. Cir. 2004)));
Dome Patent L.P. v. Lee, 799 F.3d 1372, 1381 (Fed. Cir. 2015) (“[J]ust
because ‘better alternatives’ may exist in the prior art ‘does not mean that an
inferior combination is inapt for obviousness purposes.’” (quoting In re
Mouttet, 686 F.3d 1322, 1334 (Fed. Cir. 2012))).
      We have considered the cited portions of Dr. AlRegib’s testimony
(see Ex. 2018 ¶¶ 123–130), but Patent Owner’s reliance on it is unavailing
because it contains the same errors as Patent Owner’s arguments.

                    c. Conclusion

      In sum, we are persuaded that a person of ordinary skill in the art
would have been motivated to combine Lee and Smith, as proposed, and we
are persuaded that the Lee-Smith combination teaches each limitation of
claim 12. Accordingly, we conclude that Petitioner has shown, by a



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preponderance of the evidence, that the subject matter of claim 12 would
have been obvious over Lee and Smith.

             3. Claim 16

      Claim 16 depends from claim 14 and recites similar limitations as
claim 12, except that in lieu of basing the selection on “the information
identifying content reproduction capabilities,” claim 16 requires the
selection to be based on “the connectivity related information” recited in
claim 14. Ex. 1001, 17:31–40.
      Petitioner contends that the subject matter of this claim would have
been obvious over the proposed combination of Lee and Smith. 1335-
Pet. 78–80. Petitioner relies on its earlier analysis of claims 12 and 14 and
its earlier explanation of the rationale to combine Lee and Smith. Id. at 78–
79. Petitioner further argues that the Lee-Smith combination also teaches
selecting a version of content based on “connectivity related information”
because Smith selects a version of content based on sensed “network
conditions” and Lee uses device character information to check
compatibility before sending a content list and when resuming playback. Id.
at 79–80 (quoting Ex. 1017 §§ 4.1; citing Ex. 1004 §§ 3.1–3.9, Fig. 5;
Ex. 1017 §§ 4.1, 4.1.4).
      Patent Owner disputes Petitioner’s showing for the reasons explained
above with respect to claim 12. See PO Resp. 82–83.
      Having considered the parties arguments, we are persuaded that a
person of ordinary skill in the art would have been motivated to combine
Lee and Smith as proposed, notwithstanding Patent Owner’s arguments to
the contrary. See supra § II.G.2.b. Moreover, we are persuaded that the
limitations of claim 16 would have been obvious over the Lee-Smith

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combination. E.g., Ex. 1004 § 3.2; Ex. 1017 § 4.1.4. Accordingly, we
conclude that Petitioner has shown, by a preponderance of the evidence, that
the subject matter of claim 16 would have been obvious over Lee and Smith.

             4. Claims 26 and 29

      Claims 26 and 29 depend from independent claims 23 and 27,
respectively, and they recite limitations substantially similar to those in
claim 12. Ex. 1001, 18:61–19:8. Petitioner contends that the subject matter
of these claims would have been obvious over the proposed combination of
Lee and Smith for the reasons explained in connection with claim 12 (1335-
Pet. 80–82), and Patent Owner also relies on its earlier arguments regarding
claim 12 (PO Resp. 82–83).
      For the reasons explained above regarding claim 12, we are persuaded
that a person of ordinary skill in the art would have been motivated to
combine Lee and Smith as proposed, notwithstanding Patent Owner’s
arguments to the contrary, and we are persuaded that the limitations of
claims 26 and 29 would have been obvious over the Lee-Smith combination.
See supra § II.G.2. Accordingly, we conclude that Petitioner has shown, by
a preponderance of the evidence, that the subject matter of claims 26 and 29
would have been obvious over Lee and Smith.

      H. Anticipation Ground Based on Lee

      Petitioner contends that the claims 1–4, 6–9, 17–25, 27, 28, and 30 are
anticipated by Lee. Pet. 18–53; 1334-Pet. 58–76.
      For the reasons previously explained in connection with Petitioner’s
obviousness ground, we determine that Petitioner fails to show that claim 30
is unpatentable as anticipated. See supra § II.E.3. We have already found


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claims 1–4, 6–9, 17–25, 27, and 28 to be unpatentable (see supra §§ II.E.1–
2, 4–7), so we need not (and do not) address whether Petitioner has shown
these claims to be unpatentable as anticipated by Lee. See SAS Inst., 138 S.
Ct. at 1359; Boston Sci. Scimed, 809 F. App’x at 990.

              III.   OBJECTION TO DEMONSTRATIVES

      Petitioner objects to slides 46–51 of Patent Owner’s oral hearing
demonstratives, arguing that they include improper new argument raised for
the first time in Patent Owner’s Sur-reply. Paper 42 (citing Papers 33, 38).
      We dismiss this objection as moot. Demonstratives are neither
evidence nor a mechanism for making new arguments. See Paper 37 (Order
Setting Oral Argument), 3–4. In this Final Written Decision, we only rely
on the arguments properly presented in the parties’ briefs and the evidence
of record, not on the demonstratives. Moreover, even considering the
allegedly new arguments in Patent Owner’s slides, the outcome here would
not change, for the reasons explained above in connection with the
discussion of the corresponding argument in Patent Owner’s Sur-reply. See
supra § II.E.1.b.ii (addressing “usage history”).




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                            IV.   CONCLUSION 30

          On this record, Petitioner has shown by a preponderance of the
evidence that claims 1–29 of the ’938 patent are unpatentable, and Petitioner
has not shown that claim 30 of the ’938 patent is unpatentable.
          In summary:
                        35                   Claims      Claims Not
                             Reference(s)/
          Claims      U.S.C.                 Shown         Shown
                                Basis
                         §                 Unpatentable Unpatentable
     1–4, 6–9, 17–
                      102(a) Lee 31                             30
     25, 27, 28, 30
     1–4, 6–11,                                1–4, 6–11,
     13–15, 17–25, 103(a) Lee                  13–15, 17–25, 30
     27, 28, 30                                27, 28
     5                103(a) Lee, Glance       5

     10–16, 26, 29    103(a) Lee, Smith32      12, 16, 26, 29
     Overall
                                               1–29             30
     Outcome


30
   Should Patent Owner wish to pursue amendment of the challenged claims
in a reissue or reexamination proceeding subsequent to the issuance of this
decision, we draw Patent Owner’s attention to the April 2019 Notice
Regarding Options for Amendments by Patent Owner Through Reissue or
Reexamination During a Pending AIA Trial Proceeding, 84 Fed. Reg.
16,654 (Apr. 22, 2019). If Patent Owner chooses to file a reissue application
or a request for reexamination of the challenged patent, we remind Patent
Owner of its continuing obligation to notify the Board of any such related
matters in updated mandatory notices. See 37 C.F.R. § 42.8(a)(3), (b)(2).
31
   We do not address the contention that claims 1–4, 6–9, 17–25, 27, and 28
are anticipated by Lee. See supra § II.H.
32
  We do not address the contention that claims 10, 11, and 13–15 would
have been obvious over Lee and Smith. See supra § II.G.1.

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                                 V. ORDER
      Accordingly, it is
      ORDERED that claims 1–29 of U.S. Patent No. 10,911,938 B2 are
determined to be unpatentable;
      FURTHER ORDERED that claim 30 of the ’938 patent is not
determined to be unpatentable;
      FURTHER ORDERED that Petitioner’s Objections to Patent Owner’s
Demonstratives (Paper 42) are dismissed as moot; and
      FURTHER ORDERED that, because this is a Final Written Decision,
parties to the proceeding seeking judicial review of the decision must
comply with the notice and service requirements of 37 C.F.R. § 90.2.




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          Case: 23-1750                                                               Document: 10                              Page: 174                                  Filed: 07/24/2023

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                                                                                                                                                             US010911938B2


c12)   United States Patent                                                                                                     (IO) Patent No.:                               US 10,911,938 B2
       Karaoguz et al.                                                                                                          (45) Date of Patent:                                  Feb.2,2021

(54) METHOD AND SYSTEM FOR A                                                                                                (58)     Field of Classification Search
     NETWORKED SELF-CONFIGURING                                                                                                      USPC ......................................... 709/222, 201, 203
     COMMUNICATION DE V ICE UTILIZING                                                                                                See application file for complete search history.
     USER PREFERENCE INFORMATION
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(71) Applicant: Avago Technologies International
                Sales Pte. Limited, Singapore (SG)                                                                                              U.S. PATENT DOCUMENTS
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(72) Inventors: Jeyhan Karaoguz, Irvine, CA (US);                                                                                  6,898,623 Bl                   5/2005 Williams et al.
                Arya Behzad, Poway, CA (US); Mark
                                                                                                                                                                          (Continued)
                Buer, Gilbert, AZ (US); Alexander G.
                Macinnis, Ann Arbor, MI (US);
                Thomas Quigley, Franklin, NC (US);                                                                                                   OTHER PUBLICATIONS
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                                                                                                                            Experience) Transform the consumer digital content experience
(73) Assignee: AVAGO TECHNOLOGIES
                                                                                                                            with the Seagate D.A.V.E. design concept, Data Sheet, 2007.
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               LIMITED, Singapore (SG)                                                                                                                                    (Continued)

( *) Notice:        Subject to any disclaimer, the term ofthis                                                              Primary Examiner - Jude Jean Gilles
                    patent is extended or adjusted under 35                                                                 (74) Attorney, Agent, or Firm - Morgan, Lewis &
                    U.S.C. 154(b) by O days.                                                                                Bockius LLP

(21) Appl. No.: 16/834,723                                                                                                  (57)                                          ABSTRACT
                                                                                                                            A first electronic device may enable generation, updating,
(22)   Filed:       Mar. 30, 2020                                                                                           and/or storage of user configuration information. The user
                                                                                                                            configuration information may comprise information per­
(65)                        Prior Publication Data                                                                          taining to device configuration and/or operational prefer­
       US 2020/0228961 Al                                       Jul. 16, 2020                                               ences specific to the device user and/or various use settings,
                                                                                                                            connectivity, and/or use of available resources. The genera­
                Related U.S. Application Data                                                                               tion, updating, and/or storage of the user configuration
                                                                                                                            information may be performed manually and/or automati­
(63)   Continuation of application No. 15/916,808, filed on
                                                                                                                            cally, and may be performed directly within the first elec­
       Mar. 9, 2018, now Pat. No. 10,609,547, which is a
                                                                                                                            tronic device and/or via networked devices, which may
                        (Continued)                                                                                         communicatively coupled to the first electronic device. A
                                                                                                                            second electronic device may be enabled to be communi­
(51) Int. Cl.                                                                                                               catively coupled to the first electronic device and/or the
     H04W8/18                           (2009.01)                                                                           networked devices. The second electronic device may then
     H04W8/24                           (2009.01)                                                                           be enabled to download existing user configuration infor­
                                   (Continued)                                                                              mation from the first electronic device and/or the networked
(52) U.S. Cl.                                                                                                               device, and the downloaded user configuration may be
     CPC ............... H04W8/18 (2013.01); H04W8/20                                                                       utilized to configure the second electronic device.
                (2013.01); H04W8/205 (2013.01); H04W
                    8124 (2013.01); H04W81245 (2013.01)                                                                                        30 Claims, 4 Drawing Sheets




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                                                                IPR2021-01298 (Netflix, Inc. v. Avago Technologies International Sales PTE. Limited)


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        continuation of application No. 12/138,249, filed on                  10,609,547 B2 * 3/2020      Karaoguz                    H04W 8/20
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                                                                           2004/0205772 Al 10/2004        Uszok et al.
(51)    Int. Cl.                                                           2005/0021694 Al   1/2005       Yuan
        H04W8/20                  (2009.01)                                2006/0173974 Al * 8/2006       Tang ..................... H04L 63/029
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                                                                                                         Netflix, Inc. - Ex. 1001, Page 000002



                                                                Appx91
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                                                                                        FIG. 18                                                                             \0
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                                 302_ /       Develop L1ser c��fi��;�t;�� ;
                                           I information in 1st PE device
                                                                          I




                                 304 / I Couple the 1st PE device to
                                       ·
                                            networked devices




                                 306              Upload user configuration
                                                      information to the
                                                     networked devices




                                 308              Couple 2nd PE device to
                                                  the 1st PE device and/or
                                                    the networked devices
                                           ! ______________________________________________________ !




                                 310




                                                            ................
                                                                   DONE




                                                      FIG. 3




                                                                                                  Netflix, Inc. - Ex. 1001, Page 000006



                                 Appx95
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                                                   US 10,911,938 B2
                              1                                                                  2
         METHOD AND SYSTEM FOR A                                 including business and personal, on a constant and daily
       NETWORKED SELF-CONFIGURING                                basis. Society is truly becoming a mobile and wireless one.
      COMMUNICATION DEVICE UTILIZING                             Numerous wireless solutions have been introduced, and
       USER PREFERENCE INFORMATION                               have made a tremendous impact on everyday life.
                                                                    For example, the use of Wireless Personal Area Networks
           CROSS-REFERENCE TO RELATED                            (WPAN) has been gaining popularity in a great number of
         APPLIC ATIONS/INCORPORATION BY                          applications because of the flexibility and convenience in
                        REFERENCE                                connectivity they provide. WPAN systems generally replace
                                                                 cumbersome cabling and/or wiring used to connect periph-
   This patent application is a continuation of U.S. patent 10 era! devices and/or mobile terminals by providing short
application Ser. No. 15/916,808, filed Mar. 9, 2018, which is    distance wireless links that allow connectivity within very
a continuation of U.S. patent application Ser. No. 14/949,       narrow spatial limits (typically, a IO-meter range). WPAN
396, filed Nov. 23, 2015 (now U.S. Pat. No. 9,918,218),          may be based on standardized technologies, for example
which is a continuation of U.S. patent application Ser. No.      Bluetooth (BT) technology. While WPAN may be very
12/138,249, filed Jun. 12, 2008 (now U.S. Pat. No. 9,198, 15 beneficial for certain applications, other applications may
030), which makes reference to, claims priority to and           require larger service areas and/or capabilities.
claims benefit from U.S. Provisional Application Ser. No.           To satisfy such needs, other technologies have been
60/943,484, filed on Jun. 12, 2007; the entire contents of       developed to provide greater wireless service. Wireless
each of which are incorporated herein by reference.              Local Area Networks (WLAN) systems may operate within
                                                              20 a 100-meter range, for example. In contrast to the WPAN
   This application also makes reference to:
U.S. patent application Ser. No. 11/864,184-U.S. Pat. No.        systems, WLAN provide connectivity to devices that are
8,331,294, issued Dec. 11, 2012 filed on Sep. 28, 2007;          located within a slightly larger geographical area, such as the
U.S. patent application Ser. No. 11/861,224-U.S. Pat. No.        area covered by a building or a campus, for example. WLAN
8,027,668 issued Sep. 27, 2011 filed on Sep. 25, 2007;           systems are generally based on specific standards, for
U.S. patent application Ser. No. 11/861,786-U.S. Pat. No. 25 example IEEE 802.11 standard specifications, and typically
8,457,595, issued Jun. 4, 2013 filed on Sep. 26, 2007;           operate within a 100-meter range, and are generally utilized
U.S. patent application Ser. No. 11/861,220 filed on Sep. 25,    to supplement the communication capacity provided by
2007;                                                            traditional wired Local Area Networks (LANs) installed in
U.S. patent application Ser. No. 11/864,202-U.S. Pat. No.        the same geographic area as the WLAN system.
9,509,795, issued Nov. 29, 2016 filed on Sep. 28, 2007:       30    Other forms of wireless solutions have evolved from
U.S. patent application Ser. No. 11/864,562-U.S. Pat. No.        traditional land-based communication technologies. For
8,442,015, issued May 14, 2013 filed on Sep. 28, 2007;           instance, cellular phones have become just about an absolute
U.S. patent application Ser. No. 11/864,407-U.S. Pat. No.        necessity in today's world. While cellular technology was
8,331,334, issued Dec. 11, 2012 filed on Sep. 28, 2007;          merely intended to add an element of mobility to the
U.S. patent application Ser. No. 11/864,255-U.S. Pat. No. 35 traditional telephony service, this technology has grown
9,232,042, issued Jan. 5, 2016 filed on Sep. 28, 2007;           beyond that initial purpose. Many modem cellular technolo­
U.S. patent application Ser. No. 11/865,799-U.S. Pat. No.        gies, including such technologies as GSM/GPRS/EDGE,
7,953,038, issued May 31, 2011 filed on Oct. 2, 2007;            UMTS, and CDM A2000, incorporate substantial data capa­
U.S. patent application Ser. No. 11/864,095-U.S. Pat. No.        bilities. Most of today's cellular services include such fea-
8,553,623, issued Oct. 8, 2013 filed on Sep. 28, 2007; and 40 tures as text messaging, video streaming, and web browsing,
U.S. patent application Ser. No. 11/864,383 filed on Sep. 28,    for example.
2007.                                                               Placing various wireless technologies in a single commu­
   Each of the above stated applications is hereby incorpo­      nication device is another trend in the wireless world. For
rated herein by reference in its entirety.                       instance, some wireless devices such as cell phones may
                                                              45 include WLAN and WPAN functionalities. For example,
       FEDER ALLY SPONSORED RESEARCH OR                          Bluetooth technology may be utilized to connect a laptop
                      DEVELOPMENT                                computer or a handheld wireless terminal to a peripheral
                                                                 device, such as a keyboard, mouse, headphone, and/or
   [Not Applicable].                                             printer, while the laptop computer or the handheld wireless
                                                              50 terminal is also connected to a campus-wide WLAN net­
        MICROFICHE/COPYRIGHT REFERENCE                           work through an access point (AP) located within the
                                                                 building.
   [Not Applicable].                                                Further limitations and disadvantages of conventional and
                                                                 traditional approaches will become apparent to one of skill
               FIELD OF THE INVENTION                         55 in the art, through comparison of such systems with some
                                                                 aspects of the present invention as set forth in the remainder
   Certain embodiments of the invention relate to commu­         of the present application with reference to the drawings.
nication devices. More specifically, certain embodiments of
the invention relate to a method and system for a networked               BRIEF SUMM ARY OF THE INVENTION
self-configuring communication device utilizing user pref- 60
erence information.                                                 A system and/or method is provided for a networked
                                                                 self-configuring communication device utilizing user pref­
          B ACKGROUND OF THE INVENTION                           erence information, substantially as shown in and/or
                                                                 described in connection with at least one of the figures, as set
   The field of mobile and/or wireless communication has 65 forth more completely in the claims.
seen dramatic growth the last few years. In today's world,          These and other advantages, aspects and novel features of
most people use wireless devices for various purposes,           the present invention, as well as details of an illustrated
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embodiment thereof, will be more fully understood from the          102 may be enabled to communicate with one or more of
following description and drawings.                                 supported wireless and/or wired networks, and may also
                                                                    enable use of local and/or remote resources, to perform tasks
     BRIEF DESCRIPTION OF SEVERAL VIEWS OF                          requested via the PE device 102 for example. A user of the
                      THE DRAWINGS                               5 PE device 102 may utilize the PE device 102 directly, via
                                                                    supported user interfaces within the PE device 102, and/or
   FIG. lA is a block diagram that illustrates exemplary            indirectly via available networks and/or via other devices,
setup comprising a personal electronic (PE) device, which           such as the PAN device 124, which may interact with the PE
may be utilized in accordance with an embodiment of the             device 102 via a communication interface. For example, the
invention.                                                       10 PE device 102 may comprise a portable handheld commu­
   FIG. lB is a block diagram that illustrates an exemplary         nication device, such as a Smartphone, a cellphone, a PD A,
system that may be integrated within a personal electronic          a multimedia device, which may be communicatively
(PE) device to enable management of user configuration,             coupled to plurality of available networks, resources, and/or
and utilization of plurality of communication interfaces            other communication devices which may exist locally and/or
and/or devices, in accordance with an embodiment of the 15 remotely.
invention.                                                             The PE device 102 may comprise functionality that may
   FIG. 2 is a block diagram that illustrates use of stored user    enable utilizing one or more of available networks, to
preference information to configure a secondary personal            connect to available devices and/or resources for example.
electronic (PE) device, in accordance with an embodiment            The network connectivity may be achieved directly, wherein
of the invention.                                                20 the PE device 102 may be connected via wired connections,
   FIG. 3 is a flow chart that illustrates use of stored user       including, for example, use of a cable and/or optical inter­
preference information to configure a secondary personal            face, to LAN and/or WAN networks. The PE device 102
electronic (PE) device, in accordance with an embodiment            may also comprise one or more wireless communication
of the invention.                                                   interfaces, including, for example, WPAN, WLAN, and/or
                                                                 25 cellular interfaces, which may be operable to provide con­
            DETAILED DESCRIPTION OF THE                             nectivity to corresponding networks and/or devices. The PE
                         INVENTION                                  device 102 may comprise a user interface functionality that
                                                                    may enable one or more users to utilize the PE device 102
   Certain embodiments of the invention may be found in a           as an end user device and/or as an end user terminal device.
method and system for a networked self-configuring com- 30             The PE device 102 may comprise functionality that
munication device utilizing user preference information. A          enables generation, storage, modification, and/or utilization
first personal electronic (PE) device may enable generation,        of user configuration information during use of the PE
updating, and/or storage of user configuration information.         device 102 by a user. The user configuration information
The user configuration information may comprise informa­            may comprise information pertaining to device configura-
tion pertaining to device configuration and/or operational 35 tion and/or operational preferences specific to the device
preferences specific to the device user and/or various use          user(s) and/or various use settings, connectivity, and/or use
settings, connectivity, and/or use of available resources. The      of available resources. Additionally, the PE device 102 may
generation, updating, and/or storage of the user configura­         also comprise functionality that may enable performing user
tion information may be performed manually and/or auto­             identification, for authentication and/or security purposes for
matically, and may be performed directly within the first PE 40 example. The identification may be performed, for example,
device and/or via networked devices, which may be com­              based on login information, based on compiled association
municatively coupled to the first PE device. A second PE            information, between particular user and particular tasks
device may be enabled to be communicatively coupled to              and/or resource, and/or based on determined physical attri­
the first PE device and/or the networked devices. The second        butes of the user. The physical attributes of the user may be
PE device may then be enabled to download existing user 45 determined utilizing, for example, biometric based mecha­
configuration information from the first PE device and/or the       nisms within or coupled to the PE device 102. For example,
networked device, and the downloaded user configuration             the PE device 102 may comprise a biometric data acquisi­
may be utilized to configure the second PE device.                  tion subsystem which may enable performing acquisition,
   FIG. 1 is a block diagram that illustrates exemplary setup       validation, and modification of physiological and/or behav-
for a personal electronic (PE) device, which may be utilized 50 ioral biometric data. Biometric data, which may comprise
in accordance with an embodiment of the invention. Refer­           finger prints, retina data, or behavioral patterns, may be
ring to FIG. 1, there is shown a personal electronic (PE)           unique to a person; and thus it may be utilized to identify a
device 102, a local wireless device 104a, a local networked         particular user. The PE device 102 may be utilized to enable
device 104b, a remote device 104c, and an access point 106.         use of plurality of the local and/or remote devices, for
FIG. 1 also shows a distribution network 108, a wireless 55 example, the local wireless device 104a, the local networked
network 110, a cellular transceiver 112, a cellular network         device 104b, and/or the remote device 104c to perform tasks
114, a backbone network 116, a local network 118, a                 requested by a user via the PE device 102.
wireless link 120, a cellular link 122, a Personal Area                The local wireless device 104a may comprise suitable
Networks (PAN) device 124, and a Wireless Personal Area             logic, circuitry and/or code that is enabled to communicate
Networks (WPAN) link 126.                                        60 with the PE device 102 to perform a function that may be
   The personal electronic (PE) device 102 may comprise             pertinent to a task requested via the PE device 102, and for
suitable logic, circuitry and/or code that enables performing       which the local wireless device 104a may be better suited to
one or more tasks requested via users of the PE device 102.         perform. The invention may not be limited to a specific
For example, the PE device 102 may enable personal                  device, and may comprise, for example, a general purpose
communication, audio/video recording and/or playing, gam­ 65 processing device, a specialized processing device, a spe­
ing operations, and/or various other tasks, which may be            cialized peripheral device, or any combination of suitable
requested via the PE device 102 by a user. The PE device            hardware, and/or code, which may be enabled to perform a
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task requested via the PE device 102. For example, the local      cellular technologies. Exemplary cellular technologies may
wireless device 104a may comprise a high-definition tele­         comprise CDMA, WCDMA, CDMAl000, HSDPA, GSM,
vision (HDTV) set, a dedicated audio system, and/or a             GPRS, EDGE, and UMTS. The cellular transceiver 112 may
digital video player device, which may be optimized to            comprise suitable hardware, logic, circuitry, and/or code that
provide improved audio and/or video output quality.            5 may be utilized to enable transmission and/or reception of
   The local wireless device 104a may be enabled to com­          cellular based communications between the cellular network
municate with the PE device 102 directly via wireless             114 and cellular capable devices, for example the PE device
connections. The local wireless device 104a may be enabled        102. For example, the cellular transceiver 112 may corre­
to communicate with the PE device 102 via one or more the         spond to cellular towers and/or base stations within a
wireless protocols supported via the PE device 102, includ­ 10 cellular communication system.
ing, for example, WLAN, WiMAX, and/or WPAN such as                   The PAN device 124 may comprise suitable logic, cir­
ZigBee, Ultra-wideband (UWB), and/or Bluetooth. Alterna­          cuitry and/or code that may enable performing some acces­
tively, the communication between the local wireless device       sory functionality in conjunction with the use of the PE
104a and the PE device 102 may be performed directly              device 102 based on a PAN protocol. For example, the PAN
based on device-specific interface, which may comprise 15 device 124 may comprise a hands-free headset that may be
suitable functionality that enables forming connections           utilized, in conjunction with the PE device 102 to facilitated
between specific devices. For example, the local wireless         conducting cellular based calls. The PE device 102 may
device 104a and the PE device 102 may be enabled to utilize       interact with the PAN device 124 via one or more PAN
a proprietary standard of wireless communication between          interfaces, which may be based on wired and/or wireless
these devices.                                                 20 PAN protocols. For example, the PE device 102 may com­
   The local networked device 104b may be substantially           municate with the PAN device 124 via the WPAN link 126.
similar to the local wireless device 104a. However, the local     The WPAN link 126 may be based on a standardized
networked device 104b may be enabled to communicate               technology for inter-device short range communication. For
with the PE device 102 indirectly via one or more of              example, the WPAN link 126 may correspond to Bluetooth,
available local networks that the PE device 102 may be 25 ZigBee, and/or Ultra-Wideband (UWB) connections
coupled with, including, for example, wireless network 110,       between the PAN device 124 and the PE device 102.
to provide a service that may be pertinent to a task requested       The backbone network 116 may comprise suitable hard-
via the PE device 102. For example, the local networked           ware, logic, circuitry, and/or code that may be operable to
device 104b may comprise a personal computer (PC), a              provide overall system connectivity among local and/or
printer, scanner, and/or fax device, a dedicated memory 30 remote sub-networks. The backbone network 116 may be
storage device, and/or a digital video recorder device. Con­      enabled to interact with, and connect different wired and/or
sequently, the local service resource 104a may be utilized,       wireless technologies. For example, the backbone network
for example, as a media service device which may provide          may comprise a standard telephony network (POTS) that
multimedia streaming that may be read via the PE device           may enable data connectivity between different interface
102.                                                           35 nodes linking wired and/or wireless networks comprising
   The remote device 104c may be comprised substantially          WLAN networks, WiMAX networks, cellular networks,
similar to the local networked device 104b and/or the local       and/or LAN networks.
wireless device. However, the remote device 104c may also            The local network 118 may comprise suitable logic,
comprise functionality to enable remote communication             circuitry and/or code that may enable local connectivity.
with the PE device 102, via, for example, the cellular 40 This local connectivity may comprise use of Local Area
network 110, the backbone network 116, and the local              Network (LAN) technologies that enable data services,
network 118. For example, the remote device 104c may              including but not limited to, IEEE 802.3 Ethernet. Other
comprise a home PC, which may comprise improved pro­              technologies may comprise WiMAX. The local network 118
cessing subsystems and/or increased memory space. Such            may be accessed, for example, by the PE device 102, via
home PC may be better suited to perform processing and/or 45 wireless network 110 and/or the cellular network 114, and
storage intensive tasks. The PE device 102 may utilize the        the backbone network 116.
remote device 104c, for example, for secure storage of data          In operation, the PE device 102 may be utilized to
that may be created and/or maintained in the PE device 102,       perform one or more tasks requested via users of the PE
and/or as a backup depository for media files.                    device 102. For example, the PE device 102 may enable
   The wireless network 110 may comprise a plurality of the 50 personal communication, playing and/or recording audio/
access point 106, the distribution network 108, and suitable      video streams, and/or may be utilized as a gaming counsel.
logic, circuitry and/or code that may enable implementing a       The PE device 102 may also enable connectivity via a
functional block corresponding to a wireless technology.          plurality of available networks and/or communication inter­
Exemplary wireless technology may comprise for example            faces, which may be necessary to perform requested tasks.
the WLAN (IEEE 802.11) or the WiMAX (IEEE 802.16) 55 For example, the PE device 102 may utilize the wireless link
architecture. The access point 106 may comprise suitable          120 to access the wireless network 110 via the access point
hardware, logic, circuitry, and/or code that may provide          106. The PE device 102 may also utilize the cellular link 122
access network to the wireless network 110 for wireless           to access the cellular network 114 via the cellular transceiver
capable devices, for example the PE device 102. The dis­          112. The PE device 102 may communicate with the local
tribution network 108 may comprise suitable hardware, 60 networked device 104b via the wireless network 110 through
logic, circuitry, and/or code that may be enabled to operate      the access point 106 and the distribution network 108. The
as a backbone network that may be responsible for transport       distribution network 108 and/or the cellular network 114
and link functionality for a plurality of access points in the    may also enable forwarding messages and/or data sent from,
wireless network 110.                                             and to the PE device 102.
   The cellular network 114 may comprise plurality of the 65         The backbone network 116 may enable connectivity
cellular transceiver 112, and suitable logic, circuitry and/or    between local networks, for example wireless network 110
code that may enable communication via one or more                and/or the cellular network 114, and remote networks,
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comprising, for example, the local network 118. Protocol­        configuration information may also specify connectivity
based operations may be performed to facilitate the trans­       related information comprising, for example, types of net­
mission of information through all the different components.     works to be connectively coupled to, the wireless network
This may comprise use of exemplary protocols such as TCP,        110 for example, and/or other performance related criteria
IP, UPD, and/or SS7. Network connectivity and/or commu­ 5 such as cost, availability, bandwidth level, QoS capabilities,
nication interfaces supported via the PE device 102 may          security, and reliability. The PE device 102 may also enable
enable communicating with other devices. For example, the        a set of the plurality of supported users to share user
PE device may communicate with the local networked               configuration information, wherein such set of users may be
device 104b via the wireless network 110. The remote             treated as a specific group.
device 104c may be enabled to communicate with the PE 10            The PE device 102 may also be enabled to identify a
device 102 through the backbone network 116, via the local       particular user in a variety of manners. For example, the PE
network 118. The PE device 102 may also be enabled to            device 102 may identify a particular user by login informa­
communicate directly with other devices and/or resources.        tion, which may be determined based on user configuration
For example, the PE device 102 may communicate directly          information; physical attributes of the person, which may be
with the PAN device 124 via the WP AN link 126. The PE 15 derived from biometric functionality that may integrated
device 102 may also communicate directly with the local          within the PE device 102 or utilized externally to it; and/or
wireless device 104a, and such communication may be              based on predetermined associations between particular user
based on existing wireless and/or wired interfaces, and/or       and peripheral devices, resources, and/or communication
the communication may be based on device-specific inter­         interfaces.
faces that may be limited to class of devices comprising the 20     FIG. 1B is a block diagram that illustrates an exemplary
PE device 102 and the local wireless device 104a.                system that may be integrated within a personal electronic
   A user of the PE device 102 may request tasks that may        (PE) device to enable management of user configuration,
be performed directly via the PE device 102, and/or via the      and utilization of plurality of communication interfaces
connectivity of PE device 102 to available networks,             and/or devices, in accordance with an embodiment of the
devices, and/or resources. For example, the PE device 102 25 invention. Referring to FIG. 1B, there is shown a system
may be enabled to communicate with the local networked           150, a processing subsystem 152, a memory subsystem 154,
device 104b and/or the remote device 104c to facilitate          a network access manager 156, a plurality of PHY layers
accessing services provided by the local networked device        158, a wired front-end 160, a wireless front-end 162, a
104b and/or the remote device 104c. The PE device 102 may        communication interface module 164, a user interface mod-
be enabled, for example, to access media, storage, process­ 30 ules 166, a user configuration manager 168, a plurality of
ing, and/or gaming services based on one or more tasks           devices 170, . . . , 172, a cellular network 174, a wireless
requested by a user of the PE device 102. The PE device 102      local area network (WLAN) 176, a Wireless Metropolitan
may also be enabled to utilize devices available directly via    Area Networks (WMAN) 178, a Personal area network
communication interfaces within the PE device 102. In an         (PAN) 180, and an internet network 182.
exemplary embodiment of the invention, when requested by 35         The system 150 may comprise the processing subsystem
a user, the PE device 102 may communicate multimedia files       152, the memory subsystem 154, the network access man­
received from the local networked device 104b and/or the         ager 156, the plurality of PHY layers 158, the wired front­
remote device 104c to the local wireless device 104c, which      end 160, the wireless front-end 162, the communication
may enable, improved output quality of audio and/or video        interface modules 164, the user interface modules 166, the
contents of the multimedia files.                             40 user configuration manager 168. The system 150 may also
   The PE device 102 may be enabled to generate, store,          comprise additional suitable logic, circuitry, and/or code that
and/or update user configuration information that may be         may enable management of user configuration, and utiliza­
utilized in facilitating use of the PE device 102 by a           tion of plurality of communication interfaces and/or devices.
particular user to perform requested tasks, and/or in identi­       The processing subsystem 152 may comprise suitable
fying and/or authenticating the user. The user configuration 45 logic, circuitry and/or code that enables performing process­
information may also be generated, stored, and/or updated        ing operations. The invention may not be limited to a
remotely, in the remote device 104c for example, based on        specific processor, but may comprise for example, a general
communications via the PE device 102, to ensure security         purpose processor, a specialized processor or any combina­
and/or efficiency. The user configuration information may        tion of suitable hardware, firmware, software and/or code,
comprise, for example, information pertaining to device 50 which may be enabled to provide particular processing
configuration and/or operational preferences specific to the     operations. For example, the processing subsystem 152 may
device user and/or various use settings, network connectiv­      comprise a plurality of processors that may enable perform­
ity, service access, secure access information, network and      ing various processing operations, comprising general con­
service access information and/or preferences that are           trol and/or processing functionality, and/or processing per-
unique to particular users, and/or manner of use of available 55 tinent to particular tasks and/or operations. The memory
resources. For example, the user configuration information       subsystem 154 may comprise suitable logic, circuitry and/or
may specify various user specific device operational pref­       code that may enable storage and/or retrieval of data and/or
erences, comprising favorite broadcast channels and/or web­      code in the system 150. For example, the memory subsystem
site, favorite games, game status information, and media         154 may comprise a plurality of memory components which
consumption settings. Exemplary media consumption set­ 60 may be utilized by the processing subsystem 152 and/or the
tings may comprise file types and/or video or audio presen­      remaining subsystems and/or components in system 150
tation preferences, website access information, user inter­      during various operations in the system.
face configuration preferences, and/or directory information.       The network access manager 156 may comprise suitable
The user configuration information may also specify par­         logic, circuitry, and/or code that may enable performing
ticular devices, for example, the remote device 104c, which 65 management and/or control operations that may facilitate
may be accessed to perform certain type of operations and/or     access to available networks. For example, the network
to store and retrieve specific category of data. The user        access manager 156 may be utilized within the system 200
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to enable access to one or more of the cellular network 174,     manager 168 may enable generation, storage, updating,
the WLAN network 176, the WMAN network 178, the PAN              and/or use of user configuration information, substantially as
network 180, and/or the internet network 182. Each of the        described with respect to FIG. 1.
plurality of PHY layers 158 may correspond to the physical          Each of the plurality of devices 170, . . . , 172, may
layer within the Open System Interface (OSI) model, which 5 comprise suitable logic, circuitry and/or code that is enabled
may enable transmitting raw bits via communication links         to provide, external to device comprising the system 150,
based on a wired or wireless interface. For example, one of      various services and/or functionality that may be necessary
the plurality of PHY layers 158 may correspond to the            to perform a requested task via the system 150. For example,
physical layer within the Bluetooth stack, which may com­        the plurality of devices 170, . . . , 172, may comprise the
prise functionality that enable transmission and/or reception 10 local wireless device 104a, the local networked device 104b,
of raw bits via Bluetooth based communication links.             and/or the remote device 104c, substantially as described
   The wired front-end 160 may comprise suitable logic,          with respect to FIG. 1.
circuitry and/or code that may enable transmission and/or           The cellular network 174 may comprise suitable logic,
reception of communication via one or more wired inter­          circuitry and/or code that may enable implementing a func-
faces, based on, for example, one or more of the plurality of 15 tional block corresponding to a cellular technology, com­
PHY layers 158. For example, the wired front-end 160 may         prising, for example, but not limited to, CDMA, WCDMA,
enable communications via USB terminals, modem connec­           CDMAl000, HSDPA, GSM, GPRS, EDGE, and/or UMTS.
tivity, external memory devices interfaces, and/or FireWire      The WLAN network 176 may comprise suitable logic,
interface. The wireless front-end 162 may comprise suitable      circuitry and/or code that may enable implementing a func-
logic, circuitry and/or code that may enable transmission 20 tional block corresponding to a WLAN protocol, including,
and/or reception of communication via one or more wireless       for example, IEEE 802.11. The WMAN network 178 may
based interface, based on, for example, one or more of the       comprise suitable logic, circuitry and/or code that may
plurality of PHY layers 158. For example, the wireless           enable implementing a functional block corresponding to a
front-end 162 may comprise antenna systems that may              WMAN protocol, comprising, for example, IEEE 802.16.
enable transmission and/or reception of communication via 25 The PAN network 180 may comprise suitable logic, circuitry
WLAN, Bluetooth, WiMAX, and/or cellular based inter­             and/or code that may enable implementing a functional
faces.                                                           block corresponding to a PAN interface. The PAN network
   The communication interface modules 164 may comprise          180 may comprise wired based connectivity, via buses such
suitable logic, circuitry and/or code that enables, via the      as Universal Serial Bus (USB), for example. Additionally,
system 150, utilization, control, and/or management of 30 wireless personal area network (WPAN) may be utilized,
communication via plurality of communication interfaces,         comprising, for example, WPAN protocols such as Blu­
for example via the wired front-end 160 and/or the wireless      etooth (IEEE 802.15), UWB, and/or ZigBee. The Internet
front-end 162, based on one or more corresponding layers in      network 182 may comprise suitable logic, circuitry and/or
the plurality of the PHY layer 158. For example, the             code that may enable implementing a functional block
communication interface modules 164 may comprise mod­ 35 corresponding to an internet protocol, including Internet
ules to enable communication via various wireless and/or         Protocol (IP) for example.
wired communication interface, comprising, Bluetooth                In operation, the system 150 may be integrated within a
interface, other WPAN (IEEE 802. 15) interface, WLAN             device, for example the PE device 102, to enable manage­
(IEEE 802.11) interface, WiMAX (IEEE 802.16) interface,          ment of user configuration, and utilization of plurality of
Mobile Broadband Wireless Access (MBWA, IEEE 802.20) 40 communication interfaces and/or devices. The processing
interface, Time Division Multiple Access (TDMA) inter­           subsystem 152 and/or the memory subsystem 152 may be
faces, GSM/GPRS/EDGE interfaces, CDMA/CDMA200/                   utilized to enable overall control and management, and/or to
WCDMA interfaces, H.323 interface, USB interface, and/or         enable management and/or control during particular opera­
Modem interface.                                                 tions within the system 150, for example, during DSP, audio,
   The user interface modules 166 may comprise suitable 45 and/or video processing.
logic, circuitry and/or code that enables utilization of vari­      The system 150 may enable connectivity related opera­
ous user interfaces that may be available via the system 150.    tions to facilitate performing tasks requested via the PE
For example, the system 150 may be integrated within a           device 102. For example, network connectivity may be
device, for example the PE device 102, to enable supporting      performed via the network access manager 156, which may
user interfaces in the device to enable direct interactions 50 enable managing access to one or more of the cellular
with the device by users of the device. The user interface       network 174, the WLAN network 176, the WMAN network
modules 166 may enable utilization of video based input/         178, the PAN network 180, and/or the internet network 182.
output (I/O) interfaces, via display and/or digital camera       During network accessibility operations, the system 150
components in the system 150 for example; the user inter­        may utilize appropriate PHY functionality, within the plu-
face modules 166 may also enable of audio based I/O 55 rality of PHY layers 158, to enable transmission and/or
interfaces, via speaker and/or microphone components in the      reception of communication between the system 150 and the
system 150 for example. The user interfaces modules 166          corresponding network. For example, to facilitate connec­
may also enable utilization of physical based input/output       tivity with the WLAN network 176, the network access
(I/O) interfaces, via touch screen, vibration, gyroscopic        manager 156 may be enabled to utilize a WLAN PHY within
and/or keypad components in the system 150 for example. 60 the plurality of PHY layers 158 to enable the system 150 to
   The user configuration manager 168 may comprise suit­         perform WLAN based communications. The system 150
able logic, circuitry and/or code that enables performing of     may also enable the PE device 102 to utilize one or more of
management and/or control operations pertaining to the user      the plurality of devices 170, . . . , 172, which may be utilized
configuration information corresponding to a supported           to perform specific operations that may not be available, or
user, or a group of users, of a device that may comprise the 65 optimal, directly via the PE device 102. Network connec­
system 150. For example, where the system 150 may be             tivity, via the network access manager 156, may be utilized
integrated within the PE device 102, the user configuration      to enable access to the desired devices. Additionally, the
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system 150 may be enabled to utilize appropriate PHY                PE device 202a, a second PE device 202b, a networked
functionality within the plurality of PHY layers 158, to            device 204, a plurality of communication interfaces 206, a
enable direct transmission and/or reception of messaging            personal area network (PAN) interface 208, a Wireless Local
between the system 150 and the corresponding device(s).              Area Network (WLAN) interface 210, a cellular interface
   The system 150 may enable a user of the PE device 102 5 212, and a device-based interface 214, and a network 216.
to interact indirectly via the user interface modules 166. For         Each of the PE devices 202a and 202b may be substan­
example, the user interface modules 166 may enable users of         tially similar to the PE device 102. For example, each of the
the PE device 102 via video based I/O interfaces, audio             PE devices 202a and 202b may comprise an instance of the
based I/O interfaces, and/or physical based I/O interfaces.         system 150 to enable management of user configuration, and
The system 150 may also enable the user to communicate 10 utilization of plurality of communication interfaces and/or
indirectly, via network connectivity. For example, commu­           devices. The networked device 204 may comprise a device
nications between users and the system 150 may be trans­            that may be enabled to communicate with the PE devices
mitted and/or received via the wireless front-end 256 and/or        202a and/or 202b, via the plurality of communication inter­
the wired front-end 258, based on one or more of the various        faces 206 and/or the network 216 for example, to enable
interfaces supported via the communication modules 164. 15 performing tasks requested via the PE devices 202a and/or
   The user configuration manager 168 may enable perform­           202b. For example, the networked device 204 may be
ing user configuration operation via the system 150, includ­        substantially similar to the local wireless device 104a, the
ing, for example, generation, storage, and/or update of user        local networked device 104b, and/or the remote device 104c.
configuration information. The user configuration operations           The plurality of communication interfaces 206 may com-
may be performed directly via system 150. For example, the 20 prise one or more interfaces that may enable direct commu­
user configuration manager 168 may enable performing                nications between PE devices 202a and 202b, and/or may
generation, storage, and/or updating of user configuration          enable connectivity to the networked device 204, via the
information within the system 150, via the processing sub­          network 216 for example. The plurality of communication
system 152 and/or the memory subsystem 154. In some                 interfaces 206 may comprise one or more wireless inter-
instances, at least a portion of the user configuration opera­ 25 faces. The invention may not be limited to a specific type of
tions may be performed external to the system 150, utilizing,       wireless interface, but may comprise for example, the PAN
for example, network connectivity and/or accessibility to           interface 208, the WLAN interface 210, and/or the cellular
available devices and/or resources via various communica­           interface 212. The plurality of communication interfaces
tion interfaces. For example, the user configuration manager        206 may also comprise the device-based interface 214,
168 may be enabled to communicate with one or more of the 30 which may enable communication between specific types of
plurality of devices 170, . . . , 172, via the network access       devices. The PAN interface 208 may comprise suitable
manager 156 and/or the communication interface modules              functionality that enables forming connections based on the
166, to enable performing at least a portion of the genera­         PAN protocol, including, for example, Bluetooth (IEEE
tion, storage, and/or updating of user configuration infor­         802.15), ZigBee, and/or UWB. The WLAN interface 210
mation via such devices.                                         35 may comprise suitable functionality that enables forming
   The generation of the user configuration information, via        connections based on the WLAN standard (IEEE 802.11).
the user configuration manager 168, may be performed                The cellular interface 212 may comprise suitable function­
automatically, during initial setup on a device comprising          ality that enables forming connections based on one or more
the system 150 for example. The generation of the user              cellular standards comprising GSM/GPRS/EDGE, CDMA,
configuration information may also be perform manually, 40 HSDPA, UMTS, LTE and CDMA2000. The device-based
based on user commands, for example, which may commu­               interface 214 may comprise suitable functionality that
nicated directly into the system 150 via the user interface         enables forming connections between specific devices. For
166, and/or indirectly via the communication interface mod­         example, the PE device 202a, the PE device 202b, and/or the
ules 164 for example. The generated user configuration              networked device 204 may be enabled to utilize a propri-
information may be updated. The updating of the user 45 etary standard of wireless protocol to facilitate communica­
configuration information may be performed manually,                tion between these devices.
based on user commands for example, which may commu­                   The network 216 may comprise suitable hardware, logic,
nicated directly into the system 150 via the user interface         circuitry, and/or code that is operable to provide connectivity
166, and/or indirectly via the communication interface mod­         among local and/or remote sub-networks. The network 216
ules 164. In some instances, the updating of the user 50 may be enabled to interact with, and connect to different
configuration information may be performed automatically,           wired and/or wireless interfaces. For example, the network
based on pre-determined conditions. For example, the user           216 may comprise a telephony network such as a plain old
configuration information may be updated and/or modified            telephone system (POTS) and/or an a packet based network
at pre-determined periodic intervals, when a device com­            that may enable data connectivity between different inter-
prising the system 150 is used in manner different than 55 face nodes linking wired and/or wireless networks compris­
existing operational preferences, and/or when an update is          ing WLAN networks, WiMAX networks, PAN networks,
triggered by specified use and/or operating conditions.             cellular networks, and/or LAN networks. The network 216
   Generated and/or updated user configuration information          may enable use of the networked device 204, via the
may be stored within the system 150, for example via the            plurality of communication interfaces 206, by the PE
memory subsystem 154. Alternatively, the generated and/or 60 devices 202a and/or 202b, to perform various requested
updated user configuration information may be uploaded              tasks, including, for example, storage and/or retrieval of user
into a remote storage entity, within one or more of the             configuration information.
plurality of devices 170, . . . , 172 for example.                     In operation, the PE device 202a may be enabled to
   FIG. 2 is a block diagram that illustrates use of stored user    develop user configuration information. For example, the
preference information to configure a secondary personal 65 202a may comprise the system 150, and may be able
electronic (PE) device, in accordance with an embodiment            generate, store, and/or update the user configuration infor­
of the invention. Referring to FIG. 2, there is shown a first       mation, substantially as described with respect to FIG. lA.
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                                                          Appx101
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The user configuration information may be developed            tions. For example, initiating download and configuration of
directly within the PE device 202a, utilizing, for example,    the PE device 202b utilizing existing user configuration
the system 150, substantially as described with respect to     information may be performed via user commands commu­
FIG. 18.                                                       nicated into the PE device 202b, via the user interface
   The user configuration information development, main­ 5 modules 166 in the system 150 for example, substantially as
tenance and/or administration may also be performed            described in FIG. 1B. In some instances, it may be deter­
remotely, in the networked device 204, based on communi­       mined whether a match may exist between a user of the PE
cation transmitted and/or received by the PE device 202a,      device and identity of user corresponding to user configu­
via the plurality of communication interfaces 206 and/or the   ration information stored within the PE device 202a. The
network 216 for example. The user configuration informa­ 10 networked device 204 may be operable to automatically
tion may be stored directly within the PE device 202a, via     trigger download and configuration of the PE device 202b
the memory subsystem 154 in the system 150 for example.        utilizing existing user configuration information.
The user configuration information may also be uploaded,          FIG. 3 is a flow chart that illustrates use of stored user
downloaded and/or otherwise communicated to the net­           preference information to configure a secondary personal
worked device 204 device, via network connectivity 15 electronic (PE) device, in accordance with an embodiment
between the PE device 202a and networked device 204, to        of the invention. Referring to FIG. 3, there is shown a flow
enable remote and/or secure storage, utilizing, for example,   chart 300 comprising a plurality of exemplary steps, which
the system 150, substantially as described in FIG. 1B. The     may enable.
uploading of user configuration information may be per­           In step 302, user configuration information may be devel-
formed manually, based on user commands, which may be 20 oped via a first personal electronic (PE) device. For
communicated into the PE device 202a via the user interface    example, user configuration information may be generated
modules 166 in the system 150, substantially as described in   and/or updated via the PE device 202a, substantially as
FIG. 1B. The uploading of the user configuration informa­      described in FIG. 2. In step 304, the PE device may be
tion may also be performed automatically, based on speci­      communicatively coupled to networked devices to enable
fied intervals and/or conditions for example. The user con­ 25 generation, updating, and/or storage of user configuration
figuration information may be updated, via the PE device       information. For example, the PE device 202a may be
202a for example, and the updated user configuration infor­    communicatively coupled to the networked device 204,
mation may be uploaded into the networked device 204. The      substantially as described in FIG. 2, to enable uploading of
updating of the user configuration information may be          user configuration information. In an embodiment of the
performed manually, based on user commands, and/or it 30 invention, the coupled networked device may also be uti­
may be performed automatically, during use of the PE           lized to perform the generation and/or updating of the user
device 202a, based on, for example, specific use conditions.   configuration information based on communication by the
   Where a user of the PE device 202a may initiate use of a    PE device.
secondary PE device, for example the PE device 202b, it           In step 306, user configuration information may be
may be advantageous to import into the PE device 202b, 35 uploaded from the PE device to the networked device. For
existing user configuration information generated and/or       example, user configuration information may be uploaded
updated via the PE device 202a. The existing user configu­     from the PE device 202a to the networked device 204. In
ration information may be downloaded into the PE device        step 308, a second PE device may be communicatively
202b, and may be utilized, for example, to configure the PE    coupled to the first PE device and/or the networked devices.
device 202b with similar operations preferences as with the 40 For example, the PE device 202b may be communicatively
PE device 202b, which are specific to the user of both         coupled to the PE device 202a, and/or the networked device
devices. The PE device 202b may be enabled to receive the      204, via the network 216 and/or the plurality of communi­
user configuration information directly from the PE device     cation interface 206, substantially as described in FIG. 2. In
202a. For example, the PE devices 202s and 202b may be         step 310, the second PE device may download and use user
enabled to communicate directly via the plurality of com- 45 configuration information. For example, the PE device 202b
munication interfaces 206. The PE device 202b may be           may download the user configuration information from the
enabled, for example, to request and/or receive the user       PE device 202a and/or the networked device 204, and the
configuration information from the PE device 202a via the      downloaded user configuration information may be utilized
PAN interface 208, the WLAN interface 210, the cellular        to enable configuring the PE device 202b using, for
interface 212, and/or the device-specific interface 214. In 50 example, existing user operational preferences.
some instances, the device 202b may also be enabled to            Various embodiments of the invention may comprise a
receive the user configuration information via a networked     method and system for a networked self-configuring com­
device, for example the networked device 204, which may        munication device utilizing user preference information.
be utilized and a centralized depository for user configura­   The personal electronic (PE) device 202a may enable gen­
tion information accessible by one or more users. For 55 eration, updating, and/or storage of user configuration infor­
example, user configuration information developed, stored,     mation. The user configuration information may comprise
and/or updated by the PE device 202a via the networked         information pertaining to device configuration and/or opera­
device 204 may be received by PE device 202b from the          tional preferences specific to the device user and/or various
networked device 204.                                          use settings, connectivity, and/or use of available resources.
   The PE device 202b may be enabled, for example, to 60 The generation, updating, and/or storage of the user con­
request and/or receive the user configuration information      figuration information may be performed manually and/or
from the networked device 204 via the network 216 and/or       automatically, and may be performed directly within the PE
the plurality of communication interfaces 206. The down­       device 202a and/or via the networked device 204. The
loading and/or use of the user configuration information by    generation, updating, and/or storage of the user configura­
the PE device 202b may be performed manually, based on 65 tion information may also be performed directly within the
user commands for example; and/or it may be performed          PE device 202a, and/or via the networked device 204, which
automatically, based on, for example, specific use condi-      may be communicatively coupled to the PE device 202a.
                                                                                             Netflix, Inc. - Ex. 1001, Page 000013



                                                       Appx102
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The P E device 202b may b e enabled t o communicatively                receive login information corresponding t o the first user
couple to the PE device 202a and/or the networked device                  from a second computing device of the plurality of
204. The PE device 202b may then be enabled to download                   computing devices;
existing user configuration information from the PE device             identify the first user based on the login information
202a and/or the networked device 204; and the downloaded 5                received from the second computing device;
user configuration may be utilized to configure the PE                 retrieve the updated user configuration information
device 202b.                                                              corresponding to the first user; and
   Another embodiment of the invention may provide a                   control provision of the media content streaming ser­
machine and/or computer readable storage and/or medium,                   vice to the second computing device based on the
having stored thereon, a machine code and/or a computer 10                updated user configuration information correspond­
program having at least one code section executable by a                  ing to the first user.
machine and/or a computer, thereby causing the machine              2. The system of claim 1, wherein
and/or computer to perform the steps as described herein for        the plurality of computing devices are distinct devices
a networked self-configuring communication device utiliz-              configured to be communicatively coupled via the one
ing user preference information.                               15      or more networks.
   Accordingly, the present invention may be realized in            3. The system of claim 1, wherein
hardware, software, or a combination of hardware and                at least one of the plurality of computing devices is
software. The present invention may be realized in a cen­              configured to receive preference information corre­
tralized fashion in at least one computer system, or in a              sponding to the first user from the first computing
distributed fashion where different elements are spread 20             device.
across several interconnected computer systems. Any kind            4. The system of claim 3, wherein
of computer system or other apparatus adapted for carrying          at least one of the plurality of computing devices is
out the methods described herein is suited. A typical com­             configured to generate the user configuration informa­
bination of hardware and software may be a general-purpose             tion corresponding to the first user based on the pref­
computer system with a computer program that, when being 25            erence information corresponding to the first user
loaded and executed, controls the computer system such that            received from the first computing device.
it carries out the methods described herein.                        5. The system of claim 1, wherein
   The present invention may also be embedded in a com­             at least one of the plurality of computing devices is
puter program product, which comprises all the features                configured to transmit at least a portion of the user
enabling the implementation of the methods described 30                configuration information corresponding to the first
herein, and which when loaded in a computer system is able             user to the first computing device upon identifying the
to carry out these methods. Computer program in the present            first user based on the login information received from
context means any expression, in any language, code or                 the first computing device.
notation, of a set of instructions intended to cause a system       6. The system of claim 1, wherein
having an information processing capability to perform a 35         at least one of the plurality of computing devices is
particular function either directly or after either or both of         configured to dynamically develop the user configura­
the following: a) conversion to another language, code or              tion information corresponding to the first user based
notation; b) reproduction in a different material form.                on the provision of the media content streaming service
   While the present invention has been described with                 to the first computing device.
reference to certain embodiments, it will be understood by 40       7. The system of claim 1, wherein
those skilled in the art that various changes may be made and       the user configuration information corresponding to the
equivalents may be substituted without departing from the              first user includes media consumption settings includ­
scope of the present invention. In addition, many modifica­            ing at least video and audio presentation preferences
tions may be made to adapt a particular situation or material          corresponding to the first computing device and the
to the teachings of the present invention without departing 45         second computing device.
from its scope. Therefore, it is intended that the present          8. The system of claim 7, wherein
invention not be limited to the particular embodiment dis­          at least one of the plurality of computing devices is
closed, but that the present invention will include all                configured to control provision of the media content
embodiments falling within the scope of the appended                   streaming service to the first computing device and the
claims.                                                        50      second computing device based on the media consump­
                                                                       tion settings corresponding to the first computing
  The invention claimed is:                                            device and the second computing device.
  1. A system comprising:                                           9. The system of claim 8, wherein
  a plurality of computing devices connected via one or             the media consumption settings corresponding to the first
    more networks, wherein the system is configured to 55              computing device are different than the media con­
    receive login information corresponding to a first user;           sumption settings corresponding to the second comput­
    identify the first user based on the login information;            ing device.
    retrieve user configuration information corresponding           10. The system of claim 1, wherein
       to the first user;                                           the user configuration information corresponding to the
    control provision of a media content streaming service 60          first user includes information identifying content
       to a first computing device of the plurality of com­            reproduction capabilities corresponding to the first
       puting devices based on the user configuration infor­           computing device and the second computing device.
       mation corresponding to the first user;                      11. The system of claim 10, wherein
    update the user configuration information correspond­           at least one of the plurality of computing devices is
       ing to the first user based on the provision of the 65          configured to control provision of the media content
       media content streaming service to the first comput­            streaming service to the first computing device and the
       ing device;                                                     second computing device based on the information
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                                                        Appx103
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   identifying content reproduction capabilities corre­           at least one o f the plurality o f computing devices i s
   sponding to the first computing device and the second             configured to select the user configuration information
   computing device.                                                 corresponding to the first user, from among the plural­
12. The system of claim 11, wherein                                  ity of configuration information, based on the login
at least one of the plurality of computing devices is 5              information received from the first computing device.
   configured to control provision of the media content           22. The system of claim 1, wherein
   streaming service to the first computing device and the        at least one of the plurality of computing devices is
   second computing device by selecting a version of                 configured to update the updated user configuration
   content, from a plurality of stored versions of content,          information corresponding to the first user based on the
  to be streamed to the first computing device or the 10            provision of the media content streaming service to the
   second computing device based on the information                  second computing device.
   identifying content reproduction capabilities corre­           23. A system comprising:
   sponding to the first computing device or the second           a plurality of computing devices connected via one or
   computing device.                                                more networks, wherein the system is configured to
13. The system of claim 1, wherein                          15       receive login information corresponding to a first user;
at least one of the plurality of computing devices is                identify the first user based on the login information;
   configured to identify connectivity related information          retrieve user configuration information corresponding
   corresponding to the first computing device and the                  to the first user;
   second computing device.                                          control provision of a media content streaming service
14. The system of claim 13, wherein                         20          to a first electronic device based on the user con­
at least one of the plurality of computing devices is                   figuration information corresponding to the first
   configured to control provision of the media content                 user;
   streaming service to the first computing device and the          update the user configuration information correspond­
   second computing device based on the connectivity                    ing to the first user based on the provision of the
  related information corresponding to the first comput- 25             media content streaming service to the first elec­
   ing device and the second computing device.                          tronic device;
15. The system of claim 14, wherein                                 receive login information corresponding to the first user
the connectivity related information includes at least one              from a second electronic device;
   of a network type, bandwidth level and quality of                 identify the first user based on the login information
   service capabilities.                                    30          received from the second electronic device;
16. The system of claim 14, wherein                                 retrieve the updated user configuration information
at least one of the plurality of computing devices is                   corresponding to the first user; and
   configured to control provision of the media content              control provision of the media content streaming ser­
   streaming service to the first computing device and the              vice to the second electronic device based on the
   second computing device by selecting a version of 35                 updated user configuration information correspond­
   content, from a plurality of stored versions of content,             ing to the first user.
  to be streamed to the first computing device or the             24. The system of claim 23, wherein at least one of the
   second computing device based on the connectivity           plurality of computing devices is configured to:
  related information corresponding to the first comput-         receive preference information corresponding to the first
   ing device and the second computing device.              40       user from the first electronic device; and
17. The system of claim 1, wherein                                generate the user configuration information correspond­
at least one of the plurality of computing devices is                ing to the first user based on the preference information
   configured to control provision of the media content              corresponding to the first user received from the first
   streaming service to the first computing device and the           electronic device.
   second computing device from a third system commu- 45          25. The system of claim 23, wherein
  nicatively coupled to the system via a network.                the user configuration information corresponding to the
18. The system of claim 1, wherein                                   first user includes media consumption settings includ­
at least one of the plurality of computing devices is                ing at least video and audio presentation preferences
   configured to control provision of the media content              corresponding to the first electronic device and the
   streaming service to the first computing device and the 50        second electronic device,
   second computing device from a server remote from              at least one of the plurality of computing devices is
  the system, the first computing device and the second              configured to control provision of the media content
   computing device.                                                 streaming service to the first electronic device and the
19. The system of claim 1, wherein                                   second electronic device based on the media consump­
the user configuration information identifies preferred 55          tion settings corresponding to the first electronic device
  categories of content corresponding to the first user.            and the second electronic device, and
20. The system of claim 19, wherein                              the media consumption settings corresponding to the first
at least one of the plurality of computing devices is                electronic device are different than the media consump­
   configured to control provision of content of the media          tion settings corresponding to the second electronic
  content streaming service to the first computing device 60         device.
  and the second computing device based on the pre­               26. The system of claim 23, wherein
  ferred categories of content corresponding to the first        the user configuration information corresponding to the
  user.                                                              first user includes information identifying content
21. The system of claim 1, further comprising:                      reproduction capabilities corresponding to the first
memory configured to store user configuration informa- 65            electronic device and the second electronic device, and
  tion corresponding to a plurality of users including the        at least one of the plurality of computing devices is
   first user, wherein                                               configured to control provision of the media content
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                                                      Appx104
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     streaming service t o the first electronic device and the       29. The method of claim 27, wherein
     second electronic device by selecting a version of              the user configuration information corresponding to the
     content, from a plurality of stored versions of content            first user includes information identifying content
     to be streamed to the first electronic device or th�               reproduction capabilities corresponding to the first
     second electronic device based on the information 5                electronic device and the second electronic device and
     identifying content reproduction capabilities corre­
                                                                     the method further comprises performing, by the pl�ality
     sponding to the first electronic device or the second
     electronic device.                                                 of computing devices connected via one or more net­
   27. A content provision method performed by a content                works controlling provision of the media content
provision system comprising a plurality of computing 10                 streaming service to the first electronic device and the
devices connected via one or more networks, the method                  second electronic device by selecting a version of
comprising:                                                             content, from a plurality of stored versions of content,
   performing, by the plurality of computing devices con­               to be streamed to the first electronic device or the
     nected via one or more networks                                    second electronic device based on the information
     receiving login information corresponding to a first 15            identifying content reproduction capabilities corre­
        user;                                                           sponding to the first electronic device or the second
     identifying the first user based on the login information·         electronic device.
     retrieving user configuration information correspond�           30. A system comprising:
        ing to the first user;                                       a plurality of computing devices connected via one or
     controlling provision of a media content streaming 20              more networks;
        service to a first electronic device based on the user          means for receiving login information corresponding to
        configuration information corresponding to the first               a first user;
        user;                                                           means for identifying the first user based on the login
     updating the user configuration information corre­                    information;
        sponding to the first user based on the provision of 25         means for retrieving user configuration information
        the media content streaming service to the first                   corresponding to the first user;
        electronic device;                                              means for controlling provision of a media content
     receiving login information corresponding to the first                streaming service to a first electronic device based on
        user from a second electronic device·                              the user configuration information corresponding to
     identifying the first user based on the lo�in information 30          the first user;
        received from the second electronic device·                     means for updating the user configuration information
     retrieving the updated user configuration inf�rmation                 corresponding to the first user based on the provision
        corresponding to the first user; and                               of the media content streaming service to the first
     controlling provision of the media content streaming                  electronic device;
        service to the second electronic device based on the 35         means for receiving login information corresponding to
        updated user configuration information correspond-                 the first user from a second electronic device·
        ing to the first user.                                          means for identifying the first user based on th� login
   28. The method of claim 27, further comprising perform­                 information received from the second electronic
.                                                                          device;
mg, by the plurality of computing devices connected via one
or more networks:                                                       means for retrieving the updated user configuration
                                                                40         information corresponding to the first user; and
  receiving preference information corresponding to the
     first user from the first electronic device· and                   means for controlling provision of the media content
   generating the user configuration informatio� correspond­               streaming service to the second electronic device
     ing to the first user based on the preference information             based on the updated user configuration information
     corresponding to the first user received from the first               corresponding to the first user.
     electronic device.                                                                  * * * * *




                                                                                                Netflix, Inc. - Ex. 1001, Page 000016



                                                         Appx105
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FORM 19. Certificate of Compliance with Type-Volume Limitations                               Form 19
                                                                                             July 2020


                    UNITED STATES COURT OF APPEALS
                       FOR THE FEDERAL CIRCUIT

  CERTIFICATE OF COMPLIANCE WITH TYPE-VOLUME LIMITATIONS

            Case Number: 2023-1750

  Short Case Caption: Avago Technologies International Sales Pte. Ltd. v. Netflix, Inc.

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